  Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 1 of 193




         FACEBOOK EXHIBIT AC

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      Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 2 of 193




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC


This document relates to:                      PLAINTIFFS’ RESPONSE TO
                                               DEFENDANT’S MOTION TO DEPOSE
ALL ACTIONS                                    FORMER NAMED PLAINTIFFS

                                               Judge: Hon. Vince Chhabra
                                               Hon. Jacqueline Scott Corley
                                               Special Master Daniel Garrie
                                               Courtroom: 4, 17th Floor

                                               JAMS Ref. No.: 1200058674




PLAINTIFFS’ RESPONSE TO                                                         MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                         CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
        Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 3 of 193




                                      I.      INTRODUCTION
          Before taking the depositions of any of the named Plaintiffs in this action, let alone all,

Facebook seeks to take the depositions of five absent class members. Granting Facebook’s

request would be contrary to Judge Corley’s clear guidance. It would also be contrary to the

standard that both sides agree governs Facebook’s request. Under that standard, discovery from

absent class members is allowed only when necessity requires it. That standard is not satisfied

here. The depositions Facebook wants are unnecessary and should not proceed.

                                       II.     BACKGROUND
          In September 2020, there were still 23 named Plaintiffs in this case. That month, Judge

Corley held a hearing in which the parties discussed Facebook’s interrogatories to the named

Plaintiffs, among other topics. When Plaintiffs noted the large number of interrogatories

propounded to the named Plaintiffs, Judge Corley suggested having fewer named Plaintiffs. “If

you don’t want to answer all of” the interrogatories, she said, “have fewer named plaintiffs then.

. . . You’re never going to move for class cert with 23 anyway. Right? I mean, that’s going to be

unreasonable for Judge Chhabria. So maybe pick your five or whatever it’s going to be now, and

then you don’t have to answer it.” 9/4/20 Tr. at 13:20–25 (emphasis added); see also id. at

11:24–25 (“If you eliminate someone, you eliminate someone. They don’t have to answer a rog

then.”).
          Plaintiffs’ counsel quickly responded to Judge Corley’s suggestion. In a filing later that

same month, they stated that, “pursuant to the Court’s recent guidance regarding streamlining

Plaintiffs’ discovery, Plaintiffs have reduced the number of individuals who will be class

representatives to ten.” Dkt. No. 526 at 2.1 And in a December 2020 joint filing, Plaintiffs

reported that they anticipated reaching a stipulation with Facebook on voluntary dismissal of the

other named Plaintiffs. Dkt. No. 583 at 4. At a hearing that same month, Judge Corley noted that

the voluntary dismissal would not “depriv[e] Facebook of any discovery because if those people


1
    There are presently nine named Plaintiffs.
PLAINTIFFS’ RESPONSE TO                             1                                     MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                                   CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
      Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 4 of 193



are put up later, then they get the discovery as to those named Plaintiffs.” 12/9/20 Tr. at 48:19–

21 (emphasis added). She also noted that the Plaintiffs had “narrowed the class reps” to “get

through the burden arguments” that Plaintiffs had asserted against certain of Facebook’s

discovery. Id. at 49:13–14. Not long after the hearing, the parties filed a stipulation of voluntary

dismissal without prejudice for certain named Plaintiffs. Dkt. No. 590.

        For five of these former named Plaintiffs, Facebook has now noticed depositions. It has

also taken the position that these depositions need not wait until the depositions of the current

named Plaintiffs have been taken.

                                       III.   ARGUMENT

A.      Allowing Depositions of Absent Class Members Would Be Inconsistent with Judge
        Corley’s Guidance.
        When Judge Corley encouraged Plaintiffs to consider reducing the number of named

Plaintiffs, she did so precisely to eliminate the need for discovery from (or about) those

Plaintiffs. If Plaintiffs didn’t want to answer so many interrogatories, she said, they should “have

fewer named Plaintiffs.” 9/4/20 Tr. at 13:20–21. In her view, moving for class certification with

all 23 class representatives would be “unreasonable.” Id. at 13:23. “So,” she advised Plaintiffs,

“maybe pick your five or whatever it’s going to be now, and then you don’t have to answer it”—

i.e., answer an interrogatory directed to a dismissed Plaintiff. Id. at 13:23–25. Her message was

clear: “If you eliminate someone, you eliminate someone. They don’t have to answer a rog

then.” Id. at 11:24–25 (emphasis added).

        The premise of Judge Corley’s suggestions was that discovery from or about dismissed

Plaintiffs would not be necessary. Former named Plaintiffs would not “have to answer a rog.” Id.

Plaintiffs followed Judge Corley’s advice and voluntarily dismissed a number of named

Plaintiffs.

        The discovery that Facebook seeks is contrary to Judge Corley’s guidance. Facebook

does not merely want to force former named Plaintiffs to answer interrogatories—something that

Judge Corley said they would not have to do. Rather, Facebook wants to impose an even greater


PLAINTIFFS’ RESPONSE TO                           2                                     MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                                 CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
      Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 5 of 193



burden by forcing them to sit for depositions. See Clark v. Universal Builders, Inc., 501 F.2d

324, 341 (7th Cir. 1974) (holding that “the burden confronting the party seeking deposition

testimony” from absent class members “should be more severe than that imposed on the party

requesting permission to use interrogatories”); Manual for Complex Litigation § 21.41 (4th ed.)

(noting that even after certification, “[d]eposing absent class members requires greater

justification than written discovery”). That should not be permitted.

       To justify its position, Facebook misrepresents what Judge Corley said. Facebook asserts

that Judge Corley herself believed Facebook’s desire to retain deposition rights was

“understandable and valid,” and credits her for “explaining that” it is “‘not too burdensome on’”

the absent class members to be deposed. Mot. at 3 (citation omitted). But Judge Corley did not

characterize Facebook’s desire as understandable or valid. Rather, she was channeling her

understanding of what Facebook believed: “[T]he Defendants often want to go beyond the

named Plaintiffs and take a few [depositions] . . . they say: This person was a named Plaintiff. It

is not too burdensome on them.” 12/9/20 Tr. at 50:17-20. Further, the assertion that Plaintiffs

formally agreed to depositions of the absent class members, Mot. at 3, is not a serious reading of

the exchange that Facebook cites. See 12/9/20 Tr. at 48:12-50:21.

B.     Facebook Fails to Show That Taking Depositions of Absent Class Members Is
       Necessary or Proportionate.

       1. A Showing of Necessity Is Required Before Courts Will Allow Discovery from
          Absent Class Members.
       Different district courts in the Ninth Circuit have articulated differently phrased tests for

when discovery from absent class members will be allowed. See Def.’s Mot. to Depose Former

Named Plaintiffs (“Mot.”) at 9. The common thread running through those tests, however, is that

discovery from absent class members is limited and will not be allowed without an exceptional

justification, typically phrased as a showing of necessity. See, e.g., McPhail v. First Command

Financial Planning, Inc., 251 F.R.D. 514, 517 (S.D. Cal. 2008) (requiring, among other things, a

showing that the discovery sought is “necessary”) (citing Clark, 501 F.2d at 340–42); Moreno v.

Autozone, Inc., No. C-05-4432 MJJ EMC, 2007 WL 2288165, at *1 (N.D. Cal. Aug. 3, 2007)

PLAINTIFFS’ RESPONSE TO                          3                                      MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                                 CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
      Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 6 of 193



(requiring a showing that discovery is “necessary”).

       This requirement of necessity has several ramifications. It means, for example, that the

discovery tool that a party seeks to use must be necessary to elicit the information sought. See

Baldwin & Flynn v. Nat’l Safety Assocs., 149 F.R.D. 598, 601 (N.D. Cal. 1993) (depositions

unnecessary where they would add “only minor additions” to the documentary evidence);

Laborers Local 17 Health & Ben. Fund v. Morris, No. 97CIV.4550(SAS)(MHD), 1998 WL

241279, at *1 (S.D.N.Y. May 12, 1998) (“The requirement of tailoring has also led a number of

courts to deem document requests and interrogatories as preferable to depositions of class

members.”). The necessity requirement also means that discovery should be denied where the

information sought “is available elsewhere.” In re Worlds of Wonder Sec. Litig., No. C-87-5491

SC (FSL), 1992 WL 330411, at *6 (N.D. Cal. July 9, 1992); see also Holman v. Experian Info.

Sols., Inc., No. C 11-00180 CW DMR, 2012 WL 2568202, at *5 (N.D. Cal. July 2, 2012)

(“Experian has not met its burden of demonstrating that the information is not readily obtainable

from other sources.”). This requirement applies with additional weight when the information

sought is available from the proponent of discovery itself. More than perhaps any other

defendant in any case, Facebook possesses deeply intimate knowledge about the people it now

seeks to depose. It knows better than they how and to whom it disclosed their content and

information and how much it profited from those disclosures.

       The requirement of necessity, finally, means that a defendant’s desire to challenge the

typicality or adequacy of the named Plaintiffs cannot be enough on its own to justify discovery

from absent class members. Typicality and adequacy, after all, are contested in nearly every

proposed class action. Moreover, they are contested by focusing on the class representative or the

defendant, and without the need for discovery from absent class members. See, e.g., Just Film,

Inc. v. Buono, 847 F.3d 1108, 1117 (9th Cir. 2017) (class representatives were typical because

their claims were based on the same course of conduct by the defendant).




PLAINTIFFS’ RESPONSE TO                          4                                    MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                               CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
      Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 7 of 193



        2. Facebook Has Failed to Show That the Depositions It Seeks Are Necessary or
           Proportionate.
        Facebook offers several reasons in support of its request for depositions. These proffered

reasons fall far short of justifying the request. As an initial matter, however, Plaintiffs note two

deficiencies that are common to each argument Facebook advances.

        First, Facebook proposes taking the depositions of five former Plaintiffs before it has

even deposed one current Named Plaintiff, let alone all of them. It does not explain why the

Named Plaintiffs cannot provide the information it seeks. Nor does it explain why the

depositions of the noticed former Plaintiffs are immediately necessary when it has not yet

attempted to gather the discovery it seeks from the current Named Plaintiffs. Indeed, it has

rejected the opportunity to depose other named Plaintiffs in favor of pursuing the depositions of

absent class members. See Email from Matt Buongiorno to Cari Laufenberg et al. (Nov. 29,

2021) (“We do not understand why Plaintiffs are providing Terry Fischer’s availability for a

deposition on December 17, as Ms. Fischer was not included in our list of 10 proposed deponents

for Phase I.”).

        Second, each of Facebook’s justifications ignores that this is a class action, not an

individual one. Even if the asserted justifications were convincing—and, as Plaintiffs explain

below, they’re not—each would support the proposition that all absent class members are

possibly subject to deposition. That ignores the whole point of the class action device. See, e.g.,
Groth v. Robert Bosch Corp., No. 1:07-CV-962, 2008 WL 2704709, at *1 (W.D. Mich. July 9,

2008) (“The court must keep in mind that one of the principal advantages of class actions would

be lost if all class members were routinely subject to discovery. The party seeking discovery

therefore has the burden of showing the necessity of its proposed discovery.” (quotation marks

and citation omitted)).

        Plaintiffs now turn to the individual justifications that Facebook offers to support the

depositions it seeks.

        a. Expectations of privacy. Facebook asserts that the depositions are necessary to


PLAINTIFFS’ RESPONSE TO                           5                                     MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                                 CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
      Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 8 of 193



determine whether class members have “similar privacy expectations.” Mot. at 10; see also Mot.

at 12. This assertion lacks merit. To the extent “privacy expectations” are relevant to Plaintiffs’

claims, relevance extends only to whether class members have a reasonable expectation of

privacy, which is an objective inquiry that does not depend on individual expectations of privacy.

See Hill v. NCAA, 7 Cal. 4th 1, 26, 865 P.2d 633, 648 (1994) (“[T]he common law right of

privacy is neither absolute nor globally vague, but is carefully confined to specific sets of

interests . . . . A plaintiff's expectation of privacy in a specific context must be objectively

reasonable under the circumstances . . . .”) And since individual expectations of privacy are not

relevant to Plaintiffs’ claims, they are not, in this context, relevant to class certification. See Just

Film, 847 F.3d at 1116 (noting that “[t]ypicality focuses on the class representative’s claim,” not

“the specific facts from which the claim arose”). Further, Facebook fails to explain why the

depositions of the nine Named Plaintiffs will not be sufficient to probe class members’ privacy

expectations. Moreover, the asserted justification ignores claims unrelated to privacy

expectations, such as Plaintiffs’ contract, quasi-contract, unjust enrichment, and federal statutory

claims.

          b. “[C]onducted themselves similarly.” Facebook maintains the depositions are

necessary to determine whether the absent class members “conducted themselves similarly on

Facebook and elsewhere.” Mot. at 10. To the extent Facebook wishes to determine class

members’ conduct on Facebook, Facebook’s own records seem the most logical place to look for

an answer. To the extent Facebook wishes to determine whether class members were injured

because Facebook shared their off-Facebook conduct with third parties, Facebook’s own

records—i.e., its own trove of collected data on users’ off-platform conduct—are again the best

source of information on class members’ relevant conduct. And to the extent Facebook wants to

determine the information that absent class members have publicly disseminated, whether on

Facebook or elsewhere, that information’s public dissemination would make a deposition

inherently unnecessary: the information would be publicly available to Facebook by definition.

In addition, what absent class members did off-platform is meaningless altogether for at least

PLAINTIFFS’ RESPONSE TO                            6                                      MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                                   CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
      Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 9 of 193



certain of Plaintiffs’ claims, including those based on federal statutes and contract and quasi-

contract law.

       Regardless, even if Facebook has some basis for exploring whether users conducted

themselves similarly on Facebook and elsewhere, it has the depositions of the nine Named

Plaintiffs through which to gather that discovery. Before it has taken their depositions, there is no

basis to argue that the testimony of absent class members is needed for this purpose.

       c. Article III standing. Next, Facebook argues that the depositions are necessary to test

the absent class members’ Article III standing. Mot. at 10. For this argument, it relies on Olean

Wholesale Grocery Cooperative, Inc. v. Bumble Bee Foods LLC, 993 F.3d 774 (9th Cir. 2021),

an opinion holding that only a de minimis number of class members can be uninjured. The Ninth

Circuit subsequently vacated this opinion, Olean Wholesale Grocery Coop., Inc. v. Bumble Bee

Foods LLC, 5 F.4th 950 (9th Cir. 2021), but even if the vacated opinion remained good law, it

would not support Facebook’s request for depositions. Facebook proposes to depose five absent

class members. Assuming a class size of 300,000,000 Facebook users, the depositions of these

five absent class members would comprise approximately 0.0000017% of the total class. To

prove that more than a de minimis number of class members are uninjured, Facebook would have

to take thousands of depositions. See Olean, 993 F.3d at 792 (positing the outer limits of the

percentage of de minimis uninjured class members to be somewhere around 5% to 6% of the

class). Facebook’s reliance on the vacated Olean opinion, therefore, has one of two logical

implications. Either (1) the depositions that Facebook seeks will be useless under its own legal

theory, or (2) Facebook is really asking to take thousands of absent class members’ depositions.

In either case, Facebook’s request for depositions should be denied.

       Facebook also relies on TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021), but that

case undermines Facebook’s position. That case concerned whether two subclasses were

damaged by TransUnion’s inclusion of misleading alerts in their credit files labeling the

plaintiffs as terrorists. The Court found that one subclass, whose credit files were disseminated to

third parties, had standing, while the other subclass, comprised of individuals who stipulated that

PLAINTIFFS’ RESPONSE TO                          7                                     MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                                CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
     Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 10 of 193



their credit files had not been disseminated to third parties, did not. Id. at 2208-09. Here,

however, Plaintiffs claims necessarily involve disclosure to third parties. See Dkt. No. 298 at 1

(the case concerns whether Facebook made users’ information available to countless companies

and individuals without the users’ consent, and whether Facebook failed to prevent those

companies and individuals from selling or misusing the information). The class is therefore

similarly situated to the individuals in Ramirez that had standing.

       If Facebook is citing Ramirez because it wants to show that it didn’t share absent class

members’ information with third parties, depositions of absent class members are wholly

unnecessary. If Facebook wishes to argue that it didn’t share absent class members’ information,

the best resource for that argument is Facebook’s own records. It is not as if absent class

members know better than Facebook whether Facebook shared their information with, or made it

available to, third parties. And again, Facebook has the depositions of the nine Named Plaintiffs

in which it can explore this discovery. Facebook cannot establish that the depositions of absent

class members are necessary when it has not yet attempted to gather the information it seeks

from the Named Plaintiffs.

       d. Other reasons. Facebook says the depositions are necessary to determine whether the

absent class members “are similarly situated” and “adequately represented.” Mot. at 10. The

phrases “similarly situated” and “adequately represented,” however, are simply legal conclusions

that are the result of concrete facts. These legal conclusions do not explain what concrete facts

Facebook believes will be unearthed by the depositions of absent class members. Facebook also

says it wants to determine “what steps” the absent class members took “to protect their privacy

off of Facebook.” Mot. at 12. This just rehashes the incorrect argument that absent class

members’ individual expectations of privacy are relevant. Facebook says it wants to figure out

how the absent class members “believe they were harmed.” Id. Why absent class members’

beliefs on this legal question are relevant, Facebook does not explain. Nor does it explain why

the depositions of the nine named Plaintiffs would be insufficient to explore this issue.



PLAINTIFFS’ RESPONSE TO                           8                                     MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                                 CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
       Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 11 of 193



         3.   The Cases on Which Facebook Relies Feature Dispositively Different Facts.
         To try to bolster its position, Facebook relies heavily on two district court orders: In re

Drassinower, No. 3:21-cv-1370-JLS-AHG, 2021 WL 3772328 (S.D. Cal. Aug. 25, 2021), and

Burnett v. Ford Motor Co., No. 3:13-cv-14207, 2015 WL 3540886 (S.D. W. Va. June 4, 2015).

See Mot. at 6–7, 10, 12. Facebook asserts that the facts here are “virtually indistinguishable”

from those cases. Not so.

         In neither case had the former named Plaintiffs been voluntarily dismissed because the

Court had encouraged it in an effort to streamline discovery. Here, the whole point of the

voluntary dismissal that Judge Corley encouraged was to make further discovery from the

dismissed Plaintiffs unnecessary. That procedural history appears absent from both Drassinower

and Burnett.

         In Drassinower and Burnett, moreover, the former named Plaintiffs had been dismissed

under suspicious circumstances. In Drassinower, the former Plaintiff withdrew nine days after

service of the notice of deposition. Drassinower, 2021 WL 3772328, at *1–2. In Burnett, the

facts were similar. See Burnett, 2015 WL 3540886, at *1 (“The four former plaintiffs filed

voluntary notices of dismissal on November 26, 2014, . . . after Ford had served written

discovery on them and orally requested dates for their depositions.”). Under those circumstances,

allowing the defendant to depose the recently dismissed Plaintiffs was found to be reasonable. 2

         No such circumstances are present here. Here, the former Plaintiffs were voluntarily
dismissed in December 2020—nearly a year before Facebook issued its notices of deposition of

the five former Plaintiffs—because Judge Corley had encouraged it. Facebook notes that it

served Plaintiffs with notices of deposition for all the named Plaintiffs in January 2020, Mot. at

8, but neither at the time of the notices in January 2020 nor at the time of the dismissal in

December 2020 were any depositions realistically imminent. And, more to the point, Facebook

cannot credibly dispute that Judge Corley encouraged Plaintiffs to decrease the number of


2
    Further, in Drassinower, there were fewer named Plaintiffs (three) from which discovery could
    be taken than in this case. 2021 WL 3772328, at *1. Here there are nine.
PLAINTIFFS’ RESPONSE TO                            9                                     MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                                  CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
      Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 12 of 193



Named Plaintiffs in the case, and Plaintiffs followed her guidance, which the Parties discussed

and acknowledged in open court.

                                    IV.     CONCLUSION
       Facebook’s motion should be denied.

                                                        Respectfully submitted,

Dated: December 9, 2021
                                                        BLEICHMAR FONTI & AULD LLP

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PLAINTIFFS’ RESPONSE TO                        10                                     MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                               CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
     Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 13 of 193




               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)


        I, Derek W. Loeser, attest that concurrence in the filing of this document has been

obtained from the other signatory. I declare under penalty of perjury that the foregoing is true

and correct.

        Executed this 9th day of December, 2021, at Seattle, Washington.


                                              /s/ Derek W. Loeser
                                              Derek W. Loeser



4886-7156-9670, v. 4




PLAINTIFFS’ RESPONSE TO                         12                                     MDL NO. 2843
DEFENDANT’S MOTION TO DEPOSE                                                CASE NO. 18-MD-02843-VC
FORMER NAMED PLAINTIFFS
  Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 14 of 193


                                            Pages 1 - 18

                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable Jacqueline Scott Corley, Judge

                                   )
                                   )
IN RE:   FACEBOOK, INC.            )   NO. 18-MD-02843 VC
         CONSUMER PRIVACY USER     )
         PROFILE LITIGATION.       )
                                   )
                                   )



                              San Francisco, California
                              Friday, September 4, 2020

             TRANSCRIPT OF REMOTE VIDEO PROCEEDINGS

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Reported By:   Ruth Levine Ekhaus, RDR, FCRR
               Official Reporter, CSR No. 12219
       Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 15 of 193    11
                                 PROCEEDINGS

1    different plaintiffs.     But, we did want to make sure that that

2    was available to us in light of the fact that plaintiffs with

3    our RFPs had asked us to do interrogatories instead, and there

4    is information to be accessed.

5             THE COURT:    Can you give me an example of what a rog

6    would look like?

7             MS. STEIN:    Yes, Your Honor.

8         Well, in response into the last hearings or several

9    hearings ago, there were rogs that were in line with:          What is

10   the -- what documents that were produced by Facebook were you

11   relying on in your -- to make the allegations in your

12   complaint?

13        And those documents produced by Facebook were from

14   plaintiffs' account.

15            THE COURT:    Okay.

16            MS. STEIN:    There are other -- things of that nature.

17            THE COURT:    So let me ask the plaintiffs:       Why

18   shouldn't I do what I did?     As long as they are identical for

19   each named -- how many named plaintiffs do we have?

20            MR. MONTGOMERY:     23.

21            THE COURT:    23.   And at the moment, you still intend

22   to put up each of them as a potential class representative.

23            MR. MONTGOMERY:     Yes, Your Honor.

24            THE COURT:    Okay.   If you eliminate someone, you

25   eliminate someone.    They don't have to answer a rog then.
       Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 16 of 193     12
                                 PROCEEDINGS

1         As long as they are all there, I mean, why shouldn't I do

2    what I did with them which is say:       All right, up to 75, but if

3    within with those 75 there is something that's objectionable or

4    burdensome, well, then you bring that to my attention.

5         But if they are identical, right -- if they are identical,

6    then, you know, the answers for each plaintiff or named

7    plaintiffs are going to be different.

8              MR. MONTGOMERY:    Yes, Your Honor.     I have to say that

9    this is a different version than what we heard before.          When we

10   were negotiating originally we said:       We'll take 75

11   interrogatories.    You get 75 identical interrogatories.

12        And Facebook insisted on the right to have 75 different

13   interrogatories for every one of our plaintiffs.

14             THE COURT:    Oh, well, I came up with -- look at that

15   we are on the same page.

16        Ms. Stein --

17             MS. STEIN:    Well, Your Honor, I --

18             THE COURT:    I don't care.    Doesn't matter.    Doesn't

19   matter.   It doesn't matter.

20             MR. LOESER:   Your Honor, if I could just suggest

21   something that maybe you'll accept, maybe you won't.         But, you

22   know, the notion of 75, we came up with 75 because Facebook is

23   a massive company with a massive number of custodians and, as

24   they keep talking about, an incredible of information in a

25   complex case.   The 75 answer from Facebook was a reflexive
       Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 17 of 193     13
                                 PROCEEDINGS

1    response to, well, you're asking us 75 --

2             THE COURT:    I agree.    So they might not be able to

3    come up with 75.    Right and if within their 75 there is

4    something that's stupid, then don't answer it; bring it to my

5    attention.    And that's not going to look good for them.        So

6    that's all I'm -- that's all I'm saying.

7         I mean, I actually don't like doing limits at all because

8    I think it really should just depend on this is an effective

9    way to get this information that is needed.        I'm just trying to

10   get past this impasse that the parties seem to have and so

11   that's all.

12        So, you know, they are not going to do it.         If they ask a

13   question that's burdensome -- but they are named plaintiffs,

14   you know --

15            MR. LOESER:    Right.    Absolutely right.     And I hope

16   that my measure of what is stupid and yours end up being the

17   same and not Facebook.     Because, frankly, it's -- you know,

18   it's 1,700 or something interrogatories we've used.

19            THE COURT:    No.   I wouldn't look at it that way.        If

20   you don't want to answer all of them, then have fewer named

21   plaintiffs then.    You have done your investigation.       You're

22   never going to move for class cert with 23 anyway.         Right?     I

23   mean, that's going to be unreasonable for Judge Chhabria.           So

24   maybe pick your five or whatever it's going to be now, and then

25   you don't have to answer it.
       Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 18 of 193    14
                                 PROCEEDINGS

1               MR. LOESER:   Okay.

2               MS. WEAVER:   We don't have an objection to answering

3    them all.   We will do that work.     That's fine.

4               THE COURT:    Okay.

5               MS. WEAVER:   I think the issue is more on the other

6    end, and I think that's what Mr. Montgomery is going to

7    address.

8               MR. MONTGOMERY:   Your Honor, if I may.      The concern

9    is, even if we have 75, the way that Facebook has decided to

10   count every subpart as a separate interrogatory means that we

11   are at 75, by their version of counting, at number 12.          And so

12   the standard is --

13              THE COURT:    Give me -- so present to me -- present to

14   me an example, and I'll rule.      I just think that's what I have

15   to start doing, is just ruling.      So present to me and I'll

16   rule.

17        But, again, if you have a need and that is an efficient

18   and effective way of getting information that actually gets you

19   over 75, then I'll order it.      It's not going to be some

20   arbitrary matter.    What's going to matter is:      Is this an

21   effective way to get information which you actually need?          Is

22   it proportional?

23        That's how, in the end, how I'll be looking at it.

24              MR. MONTGOMERY:   Just to be clear, Your Honor, if

25   there is an interrogatory where we have a dispute, we can bring
     Case
       Case
          3:18-md-02843-VC
             3:18-md-02843-VCDocument
                               Document
                                      906-13
                                        526 Filed
                                             Filed 09/28/20
                                                   04/01/22 Page
                                                            Page 119ofof20193




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC


This document relates to:                         PLAINTIFFS’ OPPOSITION TO
                                                  DEFENDANT FACEBOOK, INC.’S
ALL ACTIONS                                       REQUEST TO ENFORCE THE PARTIAL
                                                  STAY OF DISCOVERY IN PRETRIAL
                                                  ORDER NO. 20 AND CROSS-MOTION
                                                  TO COMPEL DISCOVERY RELATED
                                                  TO REQUESTS FOR PRODUCTION
                                                  NOS. 9 THROUGH 13

                                                  Judges: Hon. Vince Chhabria
                                                  Hon. Jacqueline S. Corley
                                                  Courtroom: 4, 17th Floor




PLS’ OPP’N FB REQUEST ENFORCE                 1                                   MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                              CASE NO. 18-MD-02843-VC
       Case
         Case
            3:18-md-02843-VC
               3:18-md-02843-VCDocument
                                 Document
                                        906-13
                                          526 Filed
                                               Filed 09/28/20
                                                     04/01/22 Page
                                                              Page 220ofof20193




                                              TABLE OF CONTENTS

I.      INTRODUCTION ........................................................................................................... 1

II.     ARGUMENT .................................................................................................................. 2

                  The Order does not limit discovery to users’ platform activity. ............................. 2

                  The discovery requests at issue and Facebook’s response ..................................... 6

                  Relevant sensitive information is not limited to platform activity, but also
                  includes sensitive information Facebook derives and collects from business
                  partners, app developers, apps, and other sources. ................................................ 7

                  1.        User data includes, in Facebook’s words, “native, appended and
                            behavioral data” that Facebook collects from business partners, apps
                            and other activity. ..................................................................................... 8

                  2.        Internal documents confirm that Facebook’s description of data
                            “associated” with users is misleading. ..................................................... 11

                  Facebook has not established that the burden of producing the data relating
                  to ten Plaintiffs is disproportional to the needs of this case. ................................ 12

III.    CONCLUSION ............................................................................................................. 14




PLS’ OPP’N REQUEST ENFORCE                                       i                                              MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                                            CASE NO. 18-MD-02843-VC
       Case
         Case
            3:18-md-02843-VC
               3:18-md-02843-VCDocument
                                 Document
                                        906-13
                                          526 Filed
                                               Filed 09/28/20
                                                     04/01/22 Page
                                                              Page 321ofof20193




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Doe v. Gangland Prods., Inc.,
   730 F.3d 946 (9th Cir. 2013) ............................................................................................... 10

Harris v. Best Buy Stores, L.P.,
   No. 3:15-cv-00657-HSG (KAW), 2016 WL 6024556 (N.D. Cal. Oct. 14, 2016).................. 13

Polaris Innovations Ltd. v. Kingston Tech. Co.,
   No. CV1600300CJCRAOX, 2017 WL 3275615 (C.D. Cal. Feb. 14, 2017).......................... 14

Shulman v. Grp. W. Prods., Inc.,
   18 Cal.4th 200 (1998).......................................................................................................... 10

SPS Techs., LLC v. Briles Aerospace, Inc.,
   No. CV 18-9536 MWF, 2020 WL 4341717 (C.D. Cal. June 25, 2020) ................................ 14

Sullivan v. Personalized Media Commc’ns, LLC,
    No. 16-MC-80183-MEJ, 2016 WL 5109994 (N.D. Cal. Sept. 21, 2016) .............................. 14

Statutes

18 U.S.C. § 2702(a) ...................................................................................................... 3, 4, 5, 10

18 U.S.C. § 2710(b)(2) .................................................................................................. 3, 4, 5, 10

Other Authorities

Fed. R. Civ. P. 26(b)(1) ............................................................................................................. 13

Local Rule 5-1(i)(3) .................................................................................................................. 16




PLS’ OPP’N REQUEST ENFORCE                                          ii                                             MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                                               CASE NO. 18-MD-02843-VC
        Case
          Case
             3:18-md-02843-VC
                3:18-md-02843-VCDocument
                                  Document
                                         906-13
                                           526 Filed
                                                Filed 09/28/20
                                                      04/01/22 Page
                                                               Page 422ofof20193




                                      I.      INTRODUCTION
          Facebook does not want Plaintiffs to obtain discovery showing the full breadth of its

wrongful disclosure of its users’ sensitive information. Accordingly, Facebook seeks to limit

discovery in this case to a single category of improperly shared information: users’ activity on

the Facebook platform. The sensitive information that Facebook collects and shares with third

parties is much more extensive than this. It collects users’ sensitive information from a variety of

sources—including from third parties—then pools the information with user-posted activity and

generates additional information from the full data set it accumulates. It then shares this

information about users and their friends with third parties. All of this information, including

who has access to it and how it is used, is relevant to Plaintiffs’ claims.

          As a result, there are at least three compelling reasons that Facebook’s motion should be

denied and Plaintiffs’ cross-motion to compel production of documents responsive to Requests

for Production (“RFPs”) Nos. 9 through 131 should be granted.

          First, contrary to Facebook’s tortured reading of Pretrial Order No. 20 (“Order” or “PTO

20”), Dkt. No. 298, the Court did not limit discovery in this case only to information regarding

user activity on Facebook. While that information—and Facebook’s subsequent disclosure of

it—is of course relevant, that is not the only type of sensitive information relevant to Plaintiffs’

claims or the four categories of wrongdoing recognized by the Order.

          Second, the universe of data Facebook collects and shares about users is also not limited

to user activity on Facebook, but instead consists of a sea of information obtained from a wide

variety of sources, including from business partners, app developers, apps, and other third

parties. Indeed, as Facebook’s own documents show, it collects information about users far

beyond what Facebook has produced in this case. And discovery produced to date further

confirms that Facebook not only collects this information, but links it to users and shares it with

third parties—putting to rest Facebook’s nonsensical suggestions that Plaintiffs have failed to

articulate what additional evidence exists or that Facebook cannot “associate” certain data with a

1
    For details on these RFPs, see infra § II.B.
PLS’ OPP’N REQUEST ENFORCE                         1                                     MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                     CASE NO. 18-MD-02843-VC
        Case
          Case
             3:18-md-02843-VC
                3:18-md-02843-VCDocument
                                  Document
                                         906-13
                                           526 Filed
                                                Filed 09/28/20
                                                      04/01/22 Page
                                                               Page 523ofof20193



user.

          Third, there is no justification for Facebook’s claims of undue burden. Such an argument

should be accorded minimal weight in a case of this size and complexity involving a company

whose business model is premised upon the collection and production of electronic information

about billions of users. Facebook has come nowhere near meeting its burden of demonstrating

why data regarding solely Named Plaintiffs—relative to the hundreds of millions of potential

class members whose information is ultimately at issue in this case—is not proportional to the

needs of the case. In fact, pursuant to the Court’s recent guidance regarding streamlining

Plaintiffs’ discovery, Plaintiffs have reduced the number of individuals who will be class

representatives to ten, down from the twenty-three. Plaintiffs only seek the discovery at issue

here related to these ten Plaintiffs (for purposes of this motion, the “Named Plaintiffs.”)

                                        II.     ARGUMENT

          The Order does not limit discovery to users’ platform activity.
          PTO 20 does not directly address the question raised by Facebook in its motion—whether

this case is limited to user activity on the Facebook platform or includes all the sensitive

information about users that Facebook improperly shared with third parties. But the Order

nowhere expressly limits the case to user activity. Cf. Mot.2 at 1. Nor does it make sense to read

the Order that way. That sort of limitation would conflict not only with claims and theories that

the Order upheld, but also with the grounds on which they were allowed to proceed to discovery.

          Facebook, under the guise of enforcing a discovery stay that was never issued in the first

place, spends many pages straining to read the Order to limit discovery to data relating only to

users’ on-platform activity. This provides a misleading picture of what the Order says and

inaccurately ascribes to the Court a set of internally inconsistent views.

          1. The Order. The Order summarizes its understanding of Plaintiffs’ claims in a two-

sentence précis near the beginning: “Broadly speaking, this case is about whether Facebook


2
    Def. Facebook, Inc,’s Opening Brief in Supp. of Its Req. to Enforce the Partial Stay of
    Discovery in Pretrial Order No. 20 (“Mot.”), Dkt. No. 515.
PLS’ OPP’N REQUEST ENFORCE                         2                                    MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                    CASE NO. 18-MD-02843-VC
     Case
       Case
          3:18-md-02843-VC
             3:18-md-02843-VCDocument
                               Document
                                      906-13
                                        526 Filed
                                             Filed 09/28/20
                                                   04/01/22 Page
                                                            Page 624ofof20193



acted unlawfully in making user information widely available to third parties. It’s also about

whether Facebook acted unlawfully in failing to do anything meaningful to prevent third parties

from misusing the information they obtained.” Order at 3. This description focuses on

Facebook’s unlawful disclosure of information about users and their friends to third parties—not

on whether that information was originally posted, shared, or generated by users on the Facebook

platform.

        The Order then discusses the four categories of Facebook’s wrongdoing. These categories

are: (1) “[g]iving app developers access to sensitive user information”; (2) “[c]ontinued

disclosure to whitelisted apps”; (3) “[s]haring sensitive user information with business partners”;

and (4) “[f]ailure to restrict the use of sensitive information.” Order at 6-9. These categories line

up neatly with the earlier description of the action as alleging that “Facebook acted unlawfully in

making user information widely available to third parties” (the first three categories) and that

Facebook “fail[ed] to do anything meaningful to prevent third parties from misusing the

information they obtained” (the fourth category). Id. at 3.

        Using these four categories of wrongdoing as a framework, the Order analyzed whether

Plaintiffs had standing to bring their claims and whether they stated valid claims. It ruled that

Plaintiffs had standing because they alleged that their “sensitive information was disseminated to

third parties in violation of their privacy.” Id. at 14. It upheld nearly all of Plaintiffs’ claims (e.g.,

three privacy-based tort claims under California law, a claim under the Stored Communications

Act (“SCA”), a claim for breach of contract, and a claim for unjust enrichment) except to the

extent they were based on the first category of wrongdoing, the disclosure of user information to

app developers. Id. at 30-34, 38-41. It upheld in its entirety Plaintiffs’ claim under the Video

Privacy Protection Act (“VPPA”). Id. at 34-35. And it upheld Plaintiffs’ claim for negligence,

which was based on the fourth category of wrongdoing. Id at 35-36.

        2. The Order’s rationale. Why did the Order conclude that Plaintiffs had standing and

had stated valid claims? On these points, the Order is clear. Plaintiffs had standing because “their

“sensitive information was disseminated to third parties in violation of their privacy.” Id. at 14.


PLS’ OPP’N REQUEST ENFORCE                          3                                      MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                       CASE NO. 18-MD-02843-VC
     Case
       Case
          3:18-md-02843-VC
             3:18-md-02843-VCDocument
                               Document
                                      906-13
                                        526 Filed
                                             Filed 09/28/20
                                                   04/01/22 Page
                                                            Page 725ofof20193



This reasoning focuses not on where the user information was originally generated—whether on

the Facebook platform or off it—but on its nature (“sensitive”) and on what Facebook did with it

(“disseminated” it “to third parties”).

       Similarly, when discussing the claims, the Order focused not on the original provenance

of the information about users, but on its nature and on what Facebook did with it. So, for

example, the Order ruled that:

              Plaintiffs had stated valid privacy torts because Facebook had disseminated
               information that was “sensitive” and as to which Plaintiffs had a reasonable
               expectation of privacy. Id. at 30-33.

              Plaintiffs had stated a claim under the Stored Communications Act because
               Facebook had disseminated the content of their electronic communications and
               had not gained their consent to do so. Id. at 33-34.

              Plaintiffs had stated a claim under the Video Privacy Protection Act because
               Facebook had disseminated “information which identifies a person as having
               requested or obtained specific video materials or services,” id. at 34 (citation
               omitted), and Facebook qualified as a “video tape services provider” under the
               statute, id. at 35.
       3. “Sensitive information” is not defined by where Facebook collects that information.

       The Order repeatedly notes that Facebook shares “sensitive” user information without

consent. Facebook pins its argument to this one word, maintaining that the Order “defined”

sensitive user information to mean only information about what users post on Facebook, Mot. at

1, or users’ platform activity, Mot. at 8. But the common-sense meaning of “sensitive

information” encompasses more than just what users did on the platform. Consider, for example,

a Facebook user’s Amazon.com order for an over-the-counter contraceptive or another user’s

entry of “alcoholic support group in Tower District, Fresno” into a search engine. “Sensitive

information” also includes information that Facebook can infer from on-platform information—a

category of information it has not produced. (Think of the inferences that Facebook can draw

from weekly photographs of a user taken at M.D. Anderson Cancer Center.) Facebook’s

objection that such information is categorically not “sensitive” is false.

       It is true that when the Order gave examples of sensitive user information, the examples it

PLS’ OPP’N REQUEST ENFORCE                        4                                     MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                    CASE NO. 18-MD-02843-VC
     Case
       Case
          3:18-md-02843-VC
             3:18-md-02843-VCDocument
                               Document
                                      906-13
                                        526 Filed
                                             Filed 09/28/20
                                                   04/01/22 Page
                                                            Page 826ofof20193



used concerned information generated on the Facebook platform. E.g., Order at 1, 17. Nowhere,

however, did the Order define or limit sensitive information to users’ platform activity only. And

the Order’s reasoning certainly is not limited to such information. Rather, as noted above,

Plaintiffs’ standing to bring their claims, and the validity of many of those claims, depends on

the nature rather than the provenance of the information, and on whether Facebook shared that

information with third parties. And, as Plaintiffs have learned through discovery, the sensitive

information about users that Facebook collects and shares with business partners and app

developers includes both information originally generated outside the Facebook platform and

information derived from on- and off-platform activity.

        It also is farfetched for Facebook to argue that the Order rules that all of Plaintiffs’

claims—including their federal statutory claims—rise or fall depending on whether the

information that Facebook shared is “sensitive” in the sense of being embarrassing or deeply

intimate. The validity of Plaintiffs’ claim under the SCA, for example, does not turn on how

embarrassing or intimate the information is that Facebook shared, but on whether the shared

information includes the contents of an electronic communication. 18 U.S.C. § 2702(a)(1).

Similarly, Plaintiffs VPPA claim turns on whether the information that Facebook shared includes

“information which identifies a person as having requested or obtained specific video materials

or services from a video tape service provider.” Id. § 2710(a)(3). If, for example, Facebook

collected and shared a user’s video-watching queue from a different platform, that would

constitute a VPPA violation.

        In sum, while the Order does not explicitly address the issue posed by Facebook’s

motion, it certainly does not limit discovery in this case to on-platform user activity and reading

it that way is inconsistent with the Court’s reasoning. It is also inconsistent with statements by

the Court during the motion to dismiss hearing about the breadth of user data that is relevant to

Plaintiffs’ claims:

        For example, if – I’m a Facebook user. And, you know, I’m trying to assess the
        likelihood that my sensitive information got into the hands of third parties and, if
        so, how many third parties and, if so, what kinds of third parties. If I have a full

PLS’ OPP’N REQUEST ENFORCE                         5                                     MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                     CASE NO. 18-MD-02843-VC
        Case
          Case
             3:18-md-02843-VC
                3:18-md-02843-VCDocument
                                  Document
                                         906-13
                                           526 Filed
                                                Filed 09/28/20
                                                      04/01/22 Page
                                                               Page 927ofof20193




          understanding of the third parties that had access to the information, and a full
          understanding of what type of information they had access to, and a full
          understanding of who they were, and what they – and what restrictions were
          placed on them, we then have a better understanding of what was likely to have
          happened to me.

Nov. 4, 2019 Tr. at 15:20-16:4. It is the “full understanding” referred to by the Court that

Plaintiffs seek, and that Facebook refuses to allow.

          Finally, this reading prevents Named Plaintiffs from discovering even the general policies

and practices of Facebook governing the sharing of their sensitive information, policies and

practices that are critical for this case. See Pretrial Order No. 30 at 2, Dkt. No. 347 (“[T]he best

way to assess the merits and to determine whether class certification is appropriate is almost

certainly to conduct discovery on Facebook’s general practices.”). Plaintiffs submit that

Facebook’s exclusion of this information from discovery is not what the Order intended.

          4. The Order stayed claims, not discovery. Plaintiffs organized their claims into three

categories: prioritized claims, prioritized consumer protection act claims alleged in the

alternative, and non-prioritized claims. First Am. Consolidated Compl. (“FACC”) at 317-411,

Dkt. No. 257. The Order made the simple observation that “[a]ll other prioritized claims not

addressed by this ruling will be stayed (effectively, relegated to non-prioritized status) and

adjudicated, if necessary, at a later state in the proceedings with the other non-prioritized

claims.” Order at 6. Facebook’s claim that this holding somehow imposed a stay of discovery is

baffling. The Order does not, and does not purport to, stay discovery in any fashion.3

          The discovery requests at issue and Facebook’s response
          The present dispute arises from five discovery requests, each of which asks for data that

Facebook possesses about Named Plaintiffs, the third parties that Facebook disclosed this data

to, and the types of information that was disclosed to them. See Ex. A, Def. Facebook, Inc.’s

Resps. & Objs. to Pls.’ Second Set of Reqs. for Produc. In particular, RFP No. 9 requests “[a]ll


3
    Even if it were, the Order observed that “[o]f course, dismissal of a subset of claims with
    prejudice does not preclude a plaintiff from seeking revival if discovery reveals a factual basis
    that justifies reconsideration[.]” Order at 37 n.21 (citations omitted).
PLS’ OPP’N REQUEST ENFORCE                          6                                    MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                     CASE NO. 18-MD-02843-VC
       Case
         Case
            3:18-md-02843-VC
              3:18-md-02843-VCDocument
                                Document
                                       906-13
                                         526 Filed
                                              Filed09/28/20
                                                    04/01/22 Page
                                                              Page10
                                                                   28ofof20
                                                                          193



Documents relating to each of the Named Plaintiffs, including but not limited to all Content and

Information collected about each of them or gained from business relationships or any other

source.”4 Id. RFP No. 10 asks Facebook to produce, “[f]or each of the Named Plaintiffs,

Documents sufficient to show the categories of Content and Information Facebook collects,

tracks, and maintains about them.” Id. RFP Nos. 11-13 then request documents requesting

Facebook to identify the third parties that were able to access this information, including the

categories of data that were disclosed to them and how they accessed it. Id. Plaintiffs propounded

these requests nearly one year ago in November 2019.

         In response to these requests, Facebook produced information collected by the DYI

(“Download Your Information”) tool. This limited tool allows downloads of some, but not all,

information relating to users’ activity on the platform. And Facebook freely acknowledges that

Plaintiffs can access this information themselves. Id. (“[A]ll Facebook users are free to download

their DYI file if they wish.”). In addition to the DYI production, Facebook has produced an

undefined category of “additional information associated with [users’] accounts” for each

Plaintiff. Mot. at 6. But Facebook does not describe what the “additional information” is, likely

because it is extremely limited—it consists solely of information users can access through their

account in the form of their privacy settings and information reflecting user activity on

Facebook. Critically, the form of production also obscures whether some of the activity was

public or private. Thus, virtually all of Facebook’s 850,000-page production relating to the

original Named Plaintiffs in this case was already accessible to Plaintiffs and tells only part of

the story.

         Relevant sensitive information is not limited to platform activity, but also includes
         sensitive information Facebook derives and collects from business partners, app
         developers, apps, and other sources.
         Facebook acknowledges that it collects and shares substantial amounts of additional

sensitive information about users beyond their platform activity. See, e.g., Aug. 14, 2020 Hr’g


4
    The requests use the definition of “Content and Information” from Facebook’s Statement of
    Rights of Responsibilities—a definition that is not limited to on-platform data.
PLS’ OPP’N REQUEST ENFORCE                        7                                     MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                    CASE NO. 18-MD-02843-VC
       Case
         Case
            3:18-md-02843-VC
              3:18-md-02843-VCDocument
                                Document
                                       906-13
                                         526 Filed
                                              Filed09/28/20
                                                    04/01/22 Page
                                                              Page11
                                                                   29ofof20
                                                                          193



Tr. 8:10-13 (“[T]here’s Facebook-generated information, information generated by third parties,

information received from third parties. We have not represented that that is comprehensively

included in our production.”); see also Mot. at 10-15 (describing off-platform activity and

internal analytics it has not produced). However, Facebook contends that this other information

is not relevant to this case. This is false.

        1.      User data includes, in Facebook’s words, “native, appended and behavioral
                data” that Facebook collects from business partners, apps and other activity.


                                                         . See Ex. B, FB-CA-MDL-00213424-

439.



              Id.

                                                                   Id.




                                                                          Id.




                      Id.




PLS’ OPP’N REQUEST ENFORCE                      8                                    MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                 CASE NO. 18-MD-02843-VC
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 30 of 193
     Case
       Case
          3:18-md-02843-VC
            3:18-md-02843-VCDocument
                              Document
                                     906-13
                                       526 Filed
                                            Filed09/28/20
                                                  04/01/22 Page
                                                            Page13
                                                                 31ofof20
                                                                        193




                                                                         Id..

       Another internal document,




                                                                                              These

documents make clear that Facebook collects sensitive user information in a variety of different

ways and discloses it to third parties.

       Facebook’s insistence that it need only produce on-platform Native Data makes even less

sense when considering Plaintiffs’ claims. Plaintiffs’ statutory and common law claims are not

limited to information generated from users’ activities on Facebook. For example, under the

VPPA, Plaintiffs must prove that Facebook disclosed “personally identifiable information

concerning any consumer” to “any person” absent written or informed consent. 18 U.S.C. §

2710(b)(2). Under the SCA, Plaintiffs must prove that Facebook “knowingly divulge[d] to any

person or entity the contents of any communication” users did not intend for Facebook to

divulge. 18 U.S.C. § 2702(a). The source of the information—that is, whether it was the result of

on- or off- platform activity, gleaned directly from users’ posts, or inferred from them—is

irrelevant. Disclosure of any of this information without consent is actionable.

       Similarly, Plaintiffs’ Public Disclosure of Private Acts claim requires Plaintiffs to prove

that Facebook disclosed a private fact about the plaintiff that is objectionable and offensive to a

reasonable person. Doe v. Gangland Prods., Inc., 730 F.3d 946, 958 (9th Cir. 2013). Likewise,

Plaintiffs’ Intrusion into Private Affairs claim requires Plaintiffs to prove an intrusion by

Facebook into a private matter that is highly offensive to a reasonable person. Shulman v. Grp.

W. Prods., Inc., 18 Cal.4th 200, 231 (1998). In order to prove these claims, Plaintiffs must


PLS’ OPP’N REQUEST ENFORCE                        10                                       MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                       CASE NO. 18-MD-02843-VC
       Case
         Case
            3:18-md-02843-VC
              3:18-md-02843-VCDocument
                                Document
                                       906-13
                                         526 Filed
                                              Filed09/28/20
                                                    04/01/22 Page
                                                              Page14
                                                                   32ofof20
                                                                          193



ascertain the private facts about them that Facebook is collecting and disclosing, whether they

originate from platform activity or not.

          Across many claims, the Order sustained Plaintiffs’ allegations about Facebook’s

undisclosed data reciprocity programs with business partners. Plaintiffs are thus entitled to know

what sensitive user data, of any type or source, Facebook shared with its business partners.

Plaintiffs are further entitled to any data that Facebook received from its business partners in

return, since the value of that data constitutes the benefit Facebook received in the transaction, a

benefit that Plaintiffs are entitled to recover under, inter alia, the unjust enrichment claim that

the Court sustained. Order at 41;5 see also Order at 8 (noting the allegation that “Facebook and

its [business] partners agreed to exchange information about users’ activities with each other”).

          Facebook notes repeatedly that targeted advertising and psychographic marketing are not

part of this case. See, e.g., Mot. at 9. This argument misses the point. The question is not whether

Facebook should or should not have engaged in targeted advertising and psychographic

marketing. The question is whether, when doing so, Facebook shared sensitive user and friend

information without consent. Plaintiffs are entitled to obtain the discovery necessary to

substantiate the allegation that improper sharing has occurred in the context of these activities.

          2.     Internal documents confirm that Facebook’s description of data “associated”
                 with users is misleading.
          Facebook claims it has produced all data it possesses that is “associated” with Named

Plaintiffs. That is, while it generated and collected reams of data about Named Plaintiffs,

Facebook claims that most of that data, including Appended and Behavioral Data, is anonymized

and cannot be connected to Named Plaintiffs. This is false.

          Facebook explains that Appended and Behavioral Data cannot be associated with

Plaintiffs’ Facebook accounts because such data is “disassociated from the user’s ID within 90


5
    Facebook’s position blocking discovery of what it possesses and shares is in tension with
    Facebook’s own discovery requests to Named Plaintiffs. Facebook’s Interrogatory No. 8 asks
    Plaintiffs to “Identify all entities other than Cambridge Analytica that You believe have
    “misused sensitive information from Your Facebook Account.” But Facebook itself will not
    identify with whom it shared that sensitive information, let alone what information it possesses.
PLS’ OPP’N REQUEST ENFORCE                        11                                     MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                     CASE NO. 18-MD-02843-VC
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 33 of 193
     Case
      Case3:18-md-02843-VC
            3:18-md-02843-VCDocument 906-13
                              Document      Filed09/28/20
                                       526 Filed  04/01/22 Page
                                                            Page16
                                                                 34ofof20
                                                                        193



case. In assessing proportionality, Federal Rule of Civil Procedure 26 directs consideration of

“the importance of the issues at stake in the action, the amount in controversy, the parties’

relative access to relevant information, the parties’ resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit.” Fed. R. Civ. P. 26(b)(1). Helpfully, Judge Chhabria provided further guidance at

the March 5, 2020 Case Management Conference, stating:

       I am concerned that Facebook has, you know, often made statements reflecting an
       unduly narrow view of what should be turned over to the Plaintiffs. And, you
       know, this is a big case. I mean, there is often a lot of talk about proportionality
       and whatnot. This is a big case. It is a significant issue. You know, and there is --
       this is not the type of case where we are going to be saying: Well, that might end
       up -- that effort might end up uncovering some relevant information; but, you
       know, it is just too expensive or difficult, and so we are not going to make
       Facebook do it. This is really not one of those cases where that is very -- that type
       of argument is likely to carry the day. You know, and, as I have said a number of
       times, you know, the best way to figure out what happened as it relates to the
       claims that are going forward now is to -- for Facebook to produce all
       information, all documents about the practices associated with giving third parties
       access to friends' information and friends' of friends information.

Tr. at 28:25-29:18. Judge Chhabria’s observations regarding the size of this case remain on

point. The proposed class period extends from 2007 to the present, the potential class members

number in the hundreds of millions, and the third parties with whom Facebook shared user data

appear to number in the tens of thousands. In that context, Plaintiffs’ request for the data

concerning ten individual users seems not only proportional to the needs of the case but modest.

       Furthermore, Facebook’s claims of burden are unsupported. “[T]he party opposing

discovery has the burden of showing that discovery should not be allowed, and also has the

burden of clarifying, explaining and supporting its objections with competent evidence.” Harris

v. Best Buy Stores, L.P., No. 3:15-cv-00657-HSG (KAW), 2016 WL 6024556, at *1 (N.D. Cal.

Oct. 14, 2016) (quoting La. Pac. Corp. v. Money Mkt. 1 Institutional Inv. Dealer, 285 F.R.D.
481, 485 (N.D. Cal. 2012)). A party claiming undue burden or expense “ordinarily has far better

information—perhaps the only information—with respect to that part of the determination.” Fed.

R. Civ. P. 26(b)(1) advisory committee’s note (2015). Therefore, the “party claiming that

PLS’ OPP’N REQUEST ENFORCE                       13                                    MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                   CASE NO. 18-MD-02843-VC
       Case
        Case3:18-md-02843-VC
              3:18-md-02843-VCDocument
                               Document906-13
                                         526 Filed
                                              Filed09/28/20
                                                    04/01/22 Page
                                                              Page17
                                                                   35ofof20
                                                                          193



discovery imposes an undue burden must ‘allege specific facts which indicate the nature and

extent of the burden, usually by affidavit or other reliable evidence.’” Sullivan v. Personalized

Media Commc’ns, LLC, No. 16-MC-80183-MEJ, 2016 WL 5109994, at *3 (N.D. Cal. Sept. 21,

2016) (quoting Nationstar Mortg., LLC v. Flamingo Trails No. 7 Landscape Maint. Ass’n, No.

2:15-cv-01268-RFB-NJK, 2016 WL 4071988, at *4 (D. Nev. July 28, 2016)).8 Facebook has

furnished no evidentiary support for its objections of undue burden and its objections should be

overruled.

         Plaintiffs emphasize that they are seeking discovery about ten Named Plaintiffs—not

millions, not thousands, and not hundreds of users. Based on the information Plaintiffs obtain

about themselves, and about Facebook’s general practices and procedures, they will seek to

prove their class claims. Facebook’s contention that Plaintiffs are not even entitled to obtain in

discovery the evidence necessary to show what Facebook collects about them, and with whom it

shares the information is impossible to square with Facebook’s basic discovery obligations under

the Federal Rules.

                                      III.    CONCLUSION
         For the reasons set forth above, Plaintiffs respectfully request that the Court deny

Facebook’s motion to impose a discovery stay and grant Plaintiffs’ motion to compel discovery

responsive to Requests for Production Nos. 9 through 13.




8
    See also SPS Techs., LLC v. Briles Aerospace, Inc., No. CV 18-9536 MWF (ASx), 2020 WL
    4341717, at *2-3 (C.D. Cal. June 25, 2020) (overruling objection to requests for production of
    documents and noting that the party resisting discovery must describe “in specific detail, how
    each Request is overly broad and unduly burdensome by submitting affidavits or other
    evidence describing the nature of the burden”); Polaris Innovations Ltd. v. Kingston Tech. Co.,
    No. CV1600300CJCRAOX, 2017 WL 3275615, at *6 (C.D. Cal. Feb. 14, 2017) (court grants
    motion to compel production of documents by defendant Kingston in part because “[r]egarding
    its assertion that the requests are overly burdensome, Kingston has not submitted any
    evidentiary declaration to support this objection.”).
PLS’ OPP’N REQUEST ENFORCE                        14                                    MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                    CASE NO. 18-MD-02843-VC
      Case
        Case
           3:18-md-02843-VC
             3:18-md-02843-VCDocument
                               Document
                                      906-13
                                        526 Filed
                                             Filed09/28/20
                                                   04/01/22 Page
                                                             Page18
                                                                  36ofof20
                                                                         193




Dated: September 28, 2020                              Respectfully submitted,


KELLER ROHRBACK L.L.P.                                 BLEICHMAR FONTI & AULD LLP

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PLS’ OPP’N REQUEST ENFORCE                     15                                     MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                  CASE NO. 18-MD-02843-VC
     Case
       Case
          3:18-md-02843-VC
            3:18-md-02843-VCDocument
                              Document
                                     906-13
                                       526 Filed
                                            Filed09/28/20
                                                  04/01/22 Page
                                                            Page19
                                                                 37ofof20
                                                                        193




               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)


       I, Derek W. Loeser, attest that concurrence in the filing of this document has been

obtained from the other signatory. I declare under penalty of perjury that the foregoing is true

and correct.

       Executed this 28th day of September, 2020, at Seattle, Washington.


                                              /s/ Derek W. Loeser
                                              Derek W. Loeser




PLS’ OPP’N REQUEST ENFORCE                      16                                    MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                  CASE NO. 18-MD-02843-VC
     Case
       Case
          3:18-md-02843-VC
            3:18-md-02843-VCDocument
                              Document
                                     906-13
                                       526 Filed
                                            Filed09/28/20
                                                  04/01/22 Page
                                                            Page20
                                                                 38ofof20
                                                                        193




                                   CERTIFICATE OF SERVICE
          I, Sarah Skaggs, hereby certify that on September 28, 2020, I electronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.

          In addition, the following were served via email:


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4846-4415-9180, v. 4




PLS’ OPP’N REQUEST ENFORCE                         17                                   MDL NO. 2843
PARTIAL STAY OF DISCOVERY                                                    CASE NO. 18-MD-02843-VC
Case
 Case3:18-md-02843-VC
       3:18-md-02843-VCDocument
                        Document906-13
                                  526-1 Filed
                                        Filed04/01/22
                                              09/28/20 Page
                                                       Page39
                                                            1 of
                                                              of43
                                                                 193




        Plaintiffs’ Exhibit A
     Case
      Case3:18-md-02843-VC
            3:18-md-02843-VCDocument
                             Document906-13
                                       526-1 Filed
                                             Filed04/01/22
                                                   09/28/20 Page
                                                            Page40
                                                                 2 of
                                                                   of43
                                                                      193




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Attorneys for Defendant Facebook, Inc.




                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                              SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                         CASE NO. 3:18-MD-02843-VC
PRIVACY USER PROFILE LITIGATION,
                                                       DEFENDANT FACEBOOK, INC.’S
                                                       RESPONSES AND OBJECTIONS TO
This document relates to:                              PLAINTIFFS’ SECOND SET OF
                                                       REQUESTS FOR PRODUCTION
ALL ACTIONS




   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
            3:18-md-02843-VCDocument
                             Document906-13
                                       526-1 Filed
                                             Filed04/01/22
                                                   09/28/20 Page
                                                            Page41
                                                                 3 of
                                                                   of43
                                                                      193




       Defendant Facebook, Inc. (“Defendant” or “Facebook”), by and through its attorneys,

and pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, the Local Civil Rules of

the U.S. District Court for the Northern District of California, the Court orders in this action, and

the parties’ agreements and conferences among counsel, provides the following responses and

objections to Plaintiffs’ Second Set of Requests for Production (the “Requests”).

                                 PRELIMINARY STATEMENT
                 Facebook’s responses to the Requests are made to the best of Facebook’s current

knowledge, information, belief, and understanding of Plaintiffs’ requests. Facebook’s factual

and legal investigation of this matter is ongoing. Facebook reserves the right to supplement or

amend any responses should future investigation indicate that such supplementation or

amendment is necessary.

                 Facebook’s responses to the Requests are made solely for the purpose of and in

relation to this action. Each response is given subject to all appropriate objections (including,

but not limited to, objections concerning privilege, competency, relevancy, materiality, propriety,

and admissibility). All objections are reserved and may be interposed at any time.

                 Facebook’s responses are premised on its understanding that Plaintiffs seek only

that information that is within Facebook’s possession, custody, and control.

                 Facebook incorporates by reference each and every general objection set forth

below into each and every specific response. From time to time, a specific response may repeat

a general objection for emphasis or some other reason. The failure to include any general

objection in any specific response shall not be interpreted as a waiver of any general objection to

that response.

                 Nothing contained in these Responses and Objections or provided in response to

the Requests consists of, or should be construed as, an admission relating to the accuracy,

relevance, existence, or nonexistence of any alleged facts or information referenced in any

Request.



   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
      Case
       Case3:18-md-02843-VC
             3:18-md-02843-VCDocument
                              Document906-13
                                        526-1 Filed
                                              Filed04/01/22
                                                    09/28/20 Page
                                                             Page42
                                                                  4 of
                                                                    of43
                                                                       193




                                    GENERAL OBJECTIONS
                Facebook objects to each Request, including the Definitions and Instructions, to

the extent that it purports to impose obligations beyond those imposed by the Federal Rules of

Civil Procedure, the Federal Rules of Evidence, the Local Civil Rules of the U.S. District Court

for the Northern District of California, and any agreements between the parties.

                Facebook objects to each Request to the extent it seeks information unrelated or

irrelevant to the claims or defenses in this litigation. In particular, the Court has held that

individuals who joined Facebook in or after 2009 consented to data sharing policies described in

Facebook’s “Statement of Rights and Responsibilities” and “Data Use Policy,” and dismissed

Plaintiffs’ claims to the extent they are based on data-sharing practices disclosed in these

documents. Facebook will not produce documents relevant only to dismissed claims or theories

of relief. Nor will Facebook produce documents related only to individuals who are not parties

to this case.

                Facebook objects to each and every Request to the extent that the Request seeks

information that is neither relevant nor reasonably likely to lead to the discovery of admissible

evidence.

                Facebook objects to each Request as overly broad and unduly burdensome,

particularly in view of the disproportionate cost necessary to investigate as weighed against

Plaintiffs’ need for the information. For example, many of the Requests seek “all documents”

regarding particular subject matters, which would require Facebook to conduct searches broader

than a reasonable and diligent search of reasonably accessible files (including electronic files)

where responsive documents reasonably would be expected to be found. Such Requests are not

proportional to the needs of the case.

                Facebook objects to each Request to the extent it purports to request the

identification and disclosure of information or documents that were prepared in anticipation of

litigation, constitute attorney work product, reveal privileged attorney-client communications, or

are otherwise protected from disclosure under any applicable privileges, laws, or rules.

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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
            3:18-md-02843-VCDocument
                             Document906-13
                                       526-1 Filed
                                             Filed04/01/22
                                                   09/28/20 Page
                                                            Page43
                                                                 5 of
                                                                   of43
                                                                      193




Facebook hereby asserts all such applicable privileges and protections, and excludes privileged

and protected information from its responses to each Request. See generally Fed. R. Evid. 502;

Cal. Code Evid. § 954. Inadvertent production of any information or documents that are

privileged or otherwise immune from discovery shall not constitute a waiver of any privilege or

of any other ground for objecting to the discovery with respect to such information or documents

or the subject matter thereof, or the right of Facebook to object to the use of any such

information or documents or the subject matter thereof during these or any other proceedings. In

the event of inadvertent disclosure of any information or inadvertent production or identification

of documents or communications that are privileged or otherwise immune from discovery,

Plaintiffs will return the information and documents to Facebook and will be precluded from

disclosing or relying upon such information or documents in any way.
                Facebook objects to each and every Request to the extent it is argumentative,

lacks foundation, or incorporates allegations and assertions that are disputed or erroneous. In

furnishing the responses herein, Facebook does not concede the truth of any factual assertion or

implication contained in any Request, Definition, or Instruction. The production of documents in

response to any Request shall not be construed as adopting a legal position.

                Facebook objects to each and every Request to the extent that the information

sought is more appropriately pursued through another means of discovery, such as responses to

interrogatories.

                Facebook objects to each and every Request, Definition, and Instruction to the

extent that it seeks information outside of Facebook’s possession, custody, and control.

                Facebook objects to each Request to the extent that it requests information

protected by the right of privacy of Facebook and/or third parties, or information that is

confidential, proprietary, or competitively sensitive.

                Facebook objects to each Request to the extent that it seeks documents or

information already in Plaintiffs’ possession or available in the public domain. Such information

is equally available to Plaintiffs.
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   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
            3:18-md-02843-VCDocument
                             Document906-13
                                       526-1 Filed
                                             Filed04/01/22
                                                   09/28/20 Page
                                                            Page44
                                                                 6 of
                                                                   of43
                                                                      193




               Facebook objects to each Request to the extent that it calls for the production of

“each,” “every,” “any,” or “all” documents in cases where such a demand is overly broad and/or

causes undue burden and expense.

                               OBJECTIONS TO DEFINITIONS
               Facebook incorporates by references the responses and objections to Definitions

and Instructions contained in its Responses and Objections to Plaintiffs’ First Set of Requests for

Production of Documents.

               Facebook generally objects to any definitions or terms defined by reference to

capitalized terms and acronyms relied upon in Plaintiffs’ First Amended Complaint, which

themselves may be vague, ambiguous, unduly broad, or unduly burdensome.

               Facebook objects to Plaintiffs’ definition of “App” as vague, ambiguous,

overbroad, and unduly burdensome on the ground that it includes any “application developed to

utilize the core technologies of the Facebook social networking platform” without identifying or

defining what the “core,” rather than peripheral, technologies of the Facebook are or were at any

given time. Facebook further objects to this definition as vague and ambiguous on the ground

that Facebook cannot identify what any online applications are or were “developed to” do or

presume the intent of any third parties that Facebook does not control.

               Facebook objects to Plaintiffs’ definitions of “App Developer Investigation” and

“ADI” as overly broad and unduly burdensome on the ground that these definitions include

investigations into persons, entities, applications, and/or developers that are not relevant to

Plaintiffs’ remaining claims. Facebook further objects to these definitions to the extent they seek

documents or information protected by the attorney-client privilege and/or the work product

doctrine.

               Facebook objects to Plaintiffs’ definition of “Apps Others Use” as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including “App,” “App Developers,” and “API.” Facebook further objects to


                                                  4
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
            3:18-md-02843-VCDocument
                             Document906-13
                                       526-1 Filed
                                             Filed04/01/22
                                                   09/28/20 Page
                                                            Page45
                                                                 7 of
                                                                   of43
                                                                      193




this definition as overly broad and unduly burdensome on the ground that the applicable account

settings available to Facebook members have changed over time and this definition is not limited

to a particular time period or particular settings.

                Facebook objects to Plaintiffs’ definition of “App Settings” as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including “App,” “User,” “Content and Information,” “Apps Others Use,”

“Granular Data Permissions,” and “Platform Opt Out.” Facebook further objects to this

definition as overly broad and unduly burdensome on the ground that the applicable account

settings available to Facebook members have changed over time and this definition is not limited

to a particular time period or particular settings.
                Facebook generally objects to Plaintiffs’ definitions of “Communication,”

“Computer System,” “Content and Information,” “Document(s),” “Electronic Media,” “ESI,”

“Electronically Stored Information,” and “Identify” to the extent that Plaintiffs purport to use

these defined terms to request the identification and disclosure of documents or information that:

(a) were prepared in anticipation of litigation; (b) constitute attorney work product; (c) reveal

privileged attorney-client communications; or (d) are otherwise protected from disclosure under

any applicable privileges, laws, and/or rules. Facebook further objects to the extent that these

definitions purport to impose obligations that go beyond the requirements of the Federal and

Local Rules.

                Facebook objects to Plaintiffs’ definition and use of the terms “You,” “Your,” or

“Facebook” as vague, ambiguous, overly broad, and unduly burdensome to the extent the terms

are meant to include “directors, officers, employees, partners, members, representatives, agents

(including attorneys, accountants, consultants, investment advisors or bankers), and any other

Person purporting to act on [Facebook, Inc.’s] behalf. . . . parents, subsidiaries, affiliates,

predecessor entities, successor entities, divisions, departments, groups, acquired entities and/or

related entities or any other entity acting or purporting to act on its behalf” over which Facebook


                                                      5
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
            3:18-md-02843-VCDocument
                             Document906-13
                                       526-1 Filed
                                             Filed04/01/22
                                                   09/28/20 Page
                                                            Page46
                                                                 8 of
                                                                   of43
                                                                      193




exercises no control, and to the extent that Plaintiffs purport to use these terms to impose

obligations that go beyond the requirements of the Federal and Local Rules.

               Facebook objects to Plaintiffs’ definition of “Granular Data Permissions” as

vague and ambiguous on the ground that it is defined by reference to other vague, ambiguous,

and/or undefined terms, including “App,” “User,” “Content and Information,” and “App

Developer.” Facebook further objects to this definition as overly broad and unduly burdensome

on the ground that the applicable account settings available to Facebook members have changed

over time and this definition is not limited to a particular time period or particular settings.
               Facebook objects to Plaintiffs’ definitions of “Internal Policy” or “Internal

Policies” as overly broad and unduly burdensome to the extent that Plaintiffs purport to seek the

identification and disclosure of documents or information that: (a) was prepared in anticipation

of litigation; (b) constitute attorney work product; (c) reveal privileged attorney-client

communications; or (d) are otherwise protected from disclosure under any applicable privileges,

laws, and/or rules. Facebook further objects to these definitions as unduly broad and unduly

burdensome to the extent they seek statements or directives which are implicit, informal,

unwritten, or unofficial. For the purposes of these Responses and Objections, Facebook will

interpret and use “Internal Policy” or “Internal Policies” as referring to the final, written, non-

privileged version of any relevant policy, procedure, or directive provided to Facebook

employees that is relevant to this litigation.

               Facebook objects to Plaintiffs’ definition of “Misuse of Data” as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including “App,” “User,” and “Content [or] Information,” and “App

Developer.” Facebook further objects to this definition to the extent it assumes disputed facts or

legal conclusions, particularly that Facebook members’ data was “misused.”

               Facebook objects to Plaintiffs’ definitions of “Person” as vague, ambiguous,

overly broad, and unduly burdensome to the extent that Plaintiffs intend to use the terms to


                                                   6
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
            3:18-md-02843-VCDocument
                             Document906-13
                                       526-1 Filed
                                             Filed04/01/22
                                                   09/28/20 Page
                                                            Page47
                                                                 9 of
                                                                   of43
                                                                      193




include “any natural person or any business, legal or governmental entity or association” over

which Facebook exercises no control.

                Facebook objects to Plaintiffs’ definitions of “[i]dentify,” “[i]ncluding,”

“[r]elating to,” “relate to,” “referring to,” “refer to,” “reflecting,” “reflect,” “[c]oncerning,” and

“concern” on the ground that the definitions make the Requests overly broad and unduly

burdensome and impose obligations that go beyond the requirements of the Federal and Local

Rules. Facebook shall construe these terms as commonly and ordinarily understood.

                Facebook objects to Plaintiffs’ definition of “Platform Opt Out” as vague and

ambiguous on the ground that it is defined by reference to other vague, ambiguous, and/or

undefined terms, including “App,” “User,” and “Content and [I]nformation.” Facebook further

objects to this definition as overly broad and unduly burdensome on the ground that the

applicable account settings available to Facebook members have changed over time and this

definition is not limited to a particular time period or particular settings
                Facebook objects to Plaintiffs’ definition of “Privacy Controls” as vague,

ambiguous, overly broad, and unduly burdensome on the ground that the applicable account

settings available to Facebook members have changed over time and this definition is not limited

to a particular time period or particular settings.

                Facebook objects to Plaintiffs’ definition of “Privacy Controls” as vague,

ambiguous, overly broad, and unduly burdensome to the extent the terms are meant to include

applications, application developers, and/or “[a]ny person that develops an application, software

experience, game, or website that accesses Content and Information from Facebook’s API or

other Facebook software,” and to the extent it encompasses individuals or entities outside of

Facebook’s knowledge and/or who may not be relevant to this litigation.

                Facebook objects to Plaintiffs’ “Relevant Time Period,” which dates back to

January 1, 2007, as overly broad, unduly burdensome, and disproportionate to the needs of the

litigation. In response to Plaintiffs’ requests, Facebook will produce the following categories of

documents dating back to January 1, 2007: (i) documents reflecting Facebook’s platform
                                               7
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 10
                                                                48 of 43
                                                                      193




policies and user terms, (ii) Facebook’s 2009 revisions to its user terms, and (iii) Documents

reflecting privacy-related disclosures, communications, and other materials provided to users

relating to Facebook’s pre-2009 user terms and 2009 revisions to those terms. For all other

categories of materials, Facebook will produce documents dating back to March 20, 2012 in

response to Plaintiffs’ requests.

                              OBJECTIONS TO INSTRUCTIONS
               Facebook objects to Plaintiffs’ Instructions to the extent that they impose

obligations that go beyond the requirements of the Federal and Local Rules.

               Facebook objects to Plaintiffs’ Instruction No. 2 as ambiguous as to the meaning

of “available.” Facebook further objects to the Instruction to the extent it exceeds the

requirements of the Federal Local Rules.

               Facebook objects to Plaintiffs’ Instruction No. 3 as unduly burdensome to the

extent it requires Facebook to describe detailed information about documents which are no

longer in existence or in Facebook’s possession, custody, or control, which likely amounts to an

extremely large volume of documents given the scope of Plaintiffs’ claims and document

requests. Facebook will comply with Instruction No. 3 only to the extent it can ascertain the

requested information about the subject documents through reasonable, good-faith investigation

and inquiry.

               Facebook objects to Plaintiffs’ Instruction No. 7 to the extent that it imposes

obligations that go beyond the requirements of the Federal and Local Rules.

               Facebook objects to Plaintiffs’ Instruction No. 12 as ambiguous and unduly

burdensome. Facebook further objects to the Instruction to the extent it exceeds the

requirements of the Federal and Local Rules.




                                                 8
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 11
                                                                49 of 43
                                                                      193




                        SPECIFIC RESPONSES AND OBJECTIONS
REQUEST FOR PRODUCTION NO. 6:

        All Documents provided to or received from any governmental entity or regulator in the

United States and United Kingdom in response to any formal or informal inquiry or investigation

relating to whether Users’ Content and Information was accessed or obtained by any Third

Parties without proper consent or authorization, including but not limited to all inquiries or

investigations arising out of the Cambridge Analytica Scandal, the FTC Consent Order, and any

inquiry or investigation related to the settlement agreement with the FTC announced on July 24,

2019.

RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks all documents provided to or received from

any governmental entities or regulators in broad categories of “inquir[ies]” and investigation[s]”

without regard for whether such information relates to Plaintiffs’ claims.

        (D) Facebook objects to this Request as overbroad as to time to the extent it seeks document

predating March 20, 2012.



                                                 9
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 12
                                                                50 of 43
                                                                      193




        Subject to and without waiving the foregoing objections, Facebook will produce

documents in response to this Request to the extent that those documents are responsive to

Plaintiffs’ other Requests, identified by a reasonable, good-faith search, and by December 26,

2019, Facebook will produce all document demand letters from the FTC associated with its 2018-

2019 investigation into Facebook along with correspondence regarding the scope of those

demands.

REQUEST FOR PRODUCTION NO. 7:

        All organizational charts, personnel directories, or other documents sufficient to show

Your organizational structure, including:

        (a)     the identity of subsidiaries, affiliates, and joint ventures, and your ownership

interest, control of, or participation in any subsidiary or affiliate or joint venture related to

agreements, engineering, access, use, transmission, receipt, collection or analysis of Facebook

Users’ Content and Information by Third Parties;

        (b)     the organization of any division, department, unit or subdivision of your company

that has responsibilities relating to agreements, engineering, access, use, transmission, receipt,

collection or analysis of Users’ Content and Information by Third Parties; and

        (c)     the names, titles, job descriptions, and employment periods for your present and

former employees who has or had responsibilities relating to agreements, engineering, access,

use, transmission, receipt, collection or analysis of Users’ Content and Information by Third

Parties; and

        (d)     the names, titles, job descriptions, and employment periods of Your present or

former directors, officers, or senior managers, as well as any secretaries or administrative

assistants assigned to these directors, officers, or senior managers.

RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:
                                                10
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 13
                                                                51 of 43
                                                                      193




          (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

          (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

          (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks “all” organizational charts, personnel

directories, or other documents sufficient to show Facebook’s organizational structure, including

the categories of entities, divisions, or individuals described in the Request, which are merely

“related” or “relating” to agreements, engineering, access, use, transmission, receipt, collection or

analysis of Facebook Users’ Content and Information by Third Parties, including those which may

have no bearing on any issues in this Action and the names, titles, job descriptions, and

employment periods of all present or former Facebook directors, officers, or senior managers, as

well as any secretaries or administrative assistants assigned to these directors, officers, or senior

managers, including those which may have no involvement with or knowledge of issues in this

Action.

          (D) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

          Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request. Facebook is willing to meet and confer with

Plaintiffs regarding the documents being sought by this Request, their relevance to the Plaintiffs’

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
                                                  11
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 14
                                                                52 of 43
                                                                      193




REQUEST FOR PRODUCTION NO. 8:

       All versions (including each updated or amended version thereof) of Facebook’s

“Platform Policies,” which have been called the “Developer Principles and Policies,” the

“Platform Guidelines,” or the “Developer Terms of Service” (collectively, the “Platform

Policies”).

RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks “all” versions of certain documents without

any limitation as to the relevant time period or whether the versions sought are in final form.

       (D) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       (E) Facebook further objects to this Request to the extent that the Request seeks materials

that are cumulative or duplicate of materials produced to Plaintiffs previously.

       Subject to and without waiving the foregoing objections, Facebook will produce the final,

written versions of Facebook’s Platform Policies issued to users dating back to January 1, 2007,

to the extent that those policies have not been produced to Plaintiffs previously.
                                                 12
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 15
                                                                53 of 43
                                                                      193




REQUEST FOR PRODUCTION NO. 9:

       All Documents relating to each of the Named Plaintiffs, including but not limited to all

Content and Information collected about each of them or gained from business relationships or

any other source.

RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks all Documents merely “relating” to each

of the Named Plaintiffs, including all Content and Information collected about each of them from

any business relationship or any other source, including those which may have no bearing on any

issues in this Action, and including those that are outside of Facebook’s possession, custody, or

control.

       (D) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks “all” Content and Information “collected

about each” Named Plaintiffs, which could include automated logs of actions taken, transaction-

level date, and high-level summary documents used only for technical purposes, including those

which may have no bearing on any issues in this Action.
                                              13
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 16
                                                                54 of 43
                                                                      193




       (E) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving the foregoing objections, Facebook will produce

documents that are responsive to this Request and which are uniquely associated with Content and

Information related to the Named Plaintiffs’ accounts or specifically relate to the sharing of the

Named Plaintiffs’ Content and Information with third-parties, identified by a reasonable, good-

faith search of documents that are in Facebook’s possession, custody, or control, to the extent the

Named Plaintiffs have provided information sufficient to identify their accounts.
REQUEST FOR PRODUCTION NO. 10:

       For each of the Named Plaintiffs, Documents sufficient to show the categories of Content

and Information Facebook collects, tracks, and maintains about them.

RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks Documents sufficient to show all categories

of Content and Information Facebook collects, tracks, and maintains about each of the Named


                                                 14
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 17
                                                                55 of 43
                                                                      193




Plaintiffs, including, for example, Content and Information that Facebook did not share with any

third parties and that does not relate to any issue in this Action.

       (D) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Request 9.

       (E) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving the foregoing objections, Facebook will produce

documents that are responsive to this Request and which are uniquely associated with Content and

Information related to the Named Plaintiffs’ accounts, identified by a reasonable, good-faith search

of documents that are in Facebook’s possession, custody, or control, to the extent the Named

Plaintiffs have provided information sufficient to identify their accounts.
REQUEST FOR PRODUCTION NO. 11:

       Documents sufficient to identify all Third Parties to which Facebook granted access to

Named Plaintiffs’ Content and Information, what categories of Content and Information

Facebook granted access to, how Facebook allowed these Third Parties to access the Named

Plaintiffs’ Content and Information, and the business purpose of all such access.

RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it excludes

documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.
                                              15
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 18
                                                                56 of 43
                                                                      193




       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks Documents sufficient to identify all Third

Parties to which Facebook granted access to Named Plaintiffs’ Content and Information and other

information relating to such information sharing, including Third Parties who were granted access

to such Content and Information other than in connection with the allegations in Plaintiffs’

Complaint.

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have documents in its possession,

custody, or control responsive to this Request. Facebook is willing to meet and confer with

Plaintiffs regarding the documents being sought by this Request, their relevance to the Plaintiffs’

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
REQUEST FOR PRODUCTION NO. 12:

       Documents relating to any partnerships or agreements Facebook entered into with Third

Parties for access to Named Plaintiffs’ Content and Information.

RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it excludes

documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.


                                                 16
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 19
                                                                57 of 43
                                                                      193




       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it broadly seeks all Documents “relating” to any

partnerships or agreements Facebook entered into with Third Parties for access to Named

Plaintiffs’ Content and Information, including those which may have no bearing on any issues in

this Action, and including those that are outside of Facebook’s possession, custody, or control.

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have documents in its possession,

custody, or control responsive to this Request. Facebook is willing to meet and confer with

Plaintiffs regarding the documents being sought by this Request, their relevance to the Plaintiffs’

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
REQUEST FOR PRODUCTION NO. 13:

       For all Third Parties to which Facebook granted access to Named Plaintiffs’ Content and

Information, Documents sufficient to show any use by Third Parties of such Content and

Information not in connection with the User that granted the permission to the Third Party or

inconsistent with Facebook’s agreement with that Third Party.

RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.
                                              17
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 20
                                                                58 of 43
                                                                      193




       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it broadly seeks Documents regarding “all Third

Parties” who obtained access to certain content and information, including Third Parties who were

granted access to such Content and Information other than in connection with the allegations in

Plaintiffs’ Complaint.

       (D) Facebook further objects to this Request on the ground, and to the extent, that it seeks

information that is outside of Facebook’s possession, custody, or control because it seeks

information regarding Third Parties’ use of Named Plaintiffs’ Content and Information.

       Subject to and without waiving the foregoing objections, Facebook will produce cease-

and-desist letters sent to app developers identified as having access to Facebook users’ Content

and Information during the Relevant Time Period relating to policy violations involving potential

misuse of user data.
REQUEST FOR PRODUCTION NO. 14:

       Documents sufficient to show the monetary or retail value of each named Plaintiff’s

Content and Information to Facebook, updated to reflect whenever Facebook’s terms of service

changed, including the calculation of revenue earned by Facebook for each Named Plaintiff

based upon bartering or selling access to such Named Plaintiff’s Content and Information.

RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.


                                                 18
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 21
                                                                59 of 43
                                                                      193




       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request on the grounds that “monetary or retail value

of each named Plaintiff’s Content and Information to Facebook” and “calculation of revenue

earned by Facebook for each Named Plaintiff” are ambiguous and vague.

       (D) Facebook further objects to this Request on the grounds that it assumes disputed facts

or legal conclusions, particularly that Facebook “barter[s” or “sell[s]” access to the “Named

Plaintiff[s’] Content and Information” to any Third Parties.

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.
REQUEST FOR PRODUCTION NO. 15:

       Documents sufficient to show the money or any other thing of value, including but not

limited to money or any other thing of value paid in exchange for targeted advertising, that

Facebook received in exchange for each Named Plaintiff’s Content and Information, which

entities paid Facebook, and when such payments were made.

RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.


                                                  19
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 22
                                                                60 of 43
                                                                      193




       (C) Facebook objects to this Request as overly broad, unduly burdensome, irrelevant to the

subject matter of this Action, unlikely to lead to the discovery of admissible evidence, and/or

disproportionate to the needs of the case in that it seeks Documents regarding all entities who

provided money or any other thing of value to Facebook other than in connection with the

allegations in Plaintiffs’ Complaint.

       (D) Facebook further objects to this Request on the grounds that “money or any other thing

of value . . . that Facebook received in exchange for each Named Plaintiff’s Content and

Information” is ambiguous and vague.

       (E) Facebook further objects to this Request on the grounds that it assumes disputed facts

or legal conclusions, particularly that Facebook received “money or any other thing of value” from

Third Parties in exchange for the “Named Plaintiff[s’] Content and Information.”

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.
REQUEST FOR PRODUCTION NO. 16:

       Documents sufficient to show the monetary or retail value of Users’ Content and

Information to Facebook, including all monthly, quarterly, and annual financial reporting relating

to same, and including but not limited to the calculation of average revenue per user, any

changes to such monetary or retail value relating to changes to Facebook’s terms of service, and

any financial reporting of Content and Information as an asset.

RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other


                                                  20
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 23
                                                                61 of 43
                                                                      193




applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users who are not parties to the Action and financial

information unrelated to Plaintiffs’ claims.

       (D) Facebook further objects to this Request on the grounds that “monetary or retail value

of Users’ Content and Information to Facebook” is ambiguous and vague.

       (E) Facebook further objects to this Request as misleading to the extent that it suggests

that Facebook’s per-user revenues reflect the value of any information for which Plaintiffs seek

compensation in this Action.

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.
REQUEST FOR PRODUCTION NO. 17:

       All Documents relating to Facebook’s assessment of the monetary or retail value of

Users’ Content and Information to Users (as distinct from value to Facebook), including analyses

for providing compensation to Users for their Content and Information, including but not limited

to Users compensated in connection with the Onavo or Research app.

RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:


                                                  21
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 24
                                                                62 of 43
                                                                      193




       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users who are not parties to the Action.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, to the extent, that the

Request seeks all Documents “relating to” Facebook’s assessment of the monetary or retail value

of Users’ Content and Information to Users and information relating to compensation for data

and/or information not related to Plaintiffs’ claims

       (E) Facebook further objects to this Request on the grounds that “monetary or retail value

of Users’ Content and Information to Users” is ambiguous and vague.

       (F) Facebook further objects to this Request as misleading to the extent that it suggests

any compensation offered for information in connection with the Onavo or Research app reflects

the value of any information for which Plaintiffs seek compensation in this Action.

       Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have any documents in its possession,

custody, or control responsive to this Request.

REQUEST FOR PRODUCTION NO. 18:

       All Documents that have been transmitted to Users by Facebook relating to whether

Users’ Content and Information was accessed or obtained by Third Parties.
                                             22
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 25
                                                                63 of 43
                                                                      193




RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (B) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks Documents transmitted to Users who are not parties to the Action.

       (C) Facebook further objects to the Request on the ground that the Request seeks

documents that are already in Plaintiffs’ possession, custody, or control.

       Subject to and without waiving the foregoing objections, Facebook will produce

Facebook’s communications to users regarding the Cambridge Analytica events.
REQUEST FOR PRODUCTION NO. 19:

       All Documents supporting the escalation of those Apps escalated to Phase Two of ADI

for Enhanced Examination and/or Phase Three of ADI for Enforcement and designated as

follows in the Chen Declaration ¶ 34:

       (d) each [A]pp to which a request for information was sent; (e) each [A]pp for

       which an interview was sought with the developer; (f) each [A]pp for which a

       remote or onsite audit was requested to be conducted; (g) each [A]pp for which

       actual misuse was found and identification of that misuse; (h) each [A]pp that was

       banned for actual misuse; and (i) each [A]pp that was banned for failing to

       cooperate with Facebook’s investigation.

       Facebook has described identification of these Apps as non-privileged and has already

produced it to the Massachusetts Attorney General’s Office. See Chen Declaration ¶ 35.


                                                 23
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 26
                                                                64 of 43
                                                                      193




RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that the Request seeks

all Documents supporting the escalation of certain Apps, including escalations not relevant to the

claims or defenses in this Action.

       Facebook is willing to meet and confer with Plaintiffs regarding the documents being

sought by this Request, their relevance to Plaintiffs’ claims (if any), and what documents Facebook

could reasonably produce proportionate to the needs of the case.

REQUEST FOR PRODUCTION NO. 20:

       The list of Apps that Facebook provided to the Massachusetts Attorney General’s Office

and that the Chen Declaration ¶ 35 describes as “the subject of external actions or

communications with third parties, including the growing list of Apps Facebook has suspended

as part of the [ADI], whether because of policy violations or because of their refusal to cooperate

with Facebook’s investigation.”




                                                 24
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 27
                                                                65 of 43
                                                                      193




RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       Subject to and without waiving the foregoing objections, Facebook will produce relevant

lists of Apps that Facebook provided to the Massachusetts Attorney General’s Office.
REQUEST FOR PRODUCTION NO. 21:

       Communications between Facebook and Third Parties relating to the ADI, including but

not limited to Communications that Facebook provided to the Massachusetts Attorney General’s

Office. See Chen Declaration ¶ 37.

RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.


                                                 25
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 28
                                                                66 of 43
                                                                      193




       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that the Request seeks

all Communications between Facebook and Third Parties “relating” to the ADI, including

communications unrelated to Plaintiffs’ claims.

       Subject to and without waiving the foregoing objections, to the extent non-privileged,

responsive documents are identified by a reasonable, good-faith search, Facebook will produce

Communications between Facebook’s ADI team and third-party app developers relating to ADI.
REQUEST FOR PRODUCTION NO. 22:

       All “Privacy Risk Assessment[s],” and notes or agenda relating to Facebook’s “focused

subject-matter-specific meetings,” “focused subject-matter-specific discussions,” “weekly intra-

and inter-team meetings,” and “Privacy Summit[s],” as detailed in “Facebook’s Privacy Program

Overview” included in any PricewaterhouseCoopers LLP (“PwC”) assessment report prepared

pursuant to the FTC Consent Order.

RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that the Request seeks
                                               26
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 29
                                                                67 of 43
                                                                      193




all notes and agenda regarding various topics, including notes and agenda unrelated to Plaintiffs’

claims.

          Facebook stands on its objections.

REQUEST FOR PRODUCTION NO. 23:

          Unredacted versions and Documents in support of the assessment reports, including the

Initial Assessment Report and Biennial Reports, prepared by PwC pursuant to the FTC Consent

Order.

RESPONSE TO REQUEST FOR PRODUCTION NO. 23:
          Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

          (A) Facebook objects to this Request as seeking information protected from disclosure by

the attorney-client privilege, the attorney work-product doctrine, and/or any other applicable

privilege, doctrine, or protection.     Facebook interprets this Request as though it excludes

documents protected by these privileges and protections.

          (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

          (C) Facebook further objects that the term “assessment reports” is ambiguous and vague.

Facebook will construe this term to mean the “Privacy Risk Assessments” referenced in Request

No. 22.

          (D) Facebook further objects to the Request to the extent that the Request seeks documents

that are not in Facebook’s possession, custody, or control because the Request seeks documents

that support assessment reports prepared by another entity.

          (E) Facebook further objects to the Request as Facebook lacks sufficient knowledge to

identify with certainty documents relied upon by another entity.

          Facebook stands on its objections.


                                                  27
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 30
                                                                68 of 43
                                                                      193




REQUEST FOR PRODUCTION NO. 24:

       Documents sufficient to identify all Third Parties to which Facebook granted access to

Users’ Content and Information not generally available through Platform pursuant to

partnerships or agreements between Facebook and those Third Parties.

RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks Documents sufficient to

identify all Third Parties to which Facebook granted access to Users’ Content and Information not

generally available through Platform pursuant to partnerships or agreements between Facebook

and those Third Parties, including Third Parties who were granted access to such Content and

Information other than in connection with the allegations in Plaintiffs’ Complaint.

       Subject to and without waiving the foregoing objections, Facebook will produce final

agreements with integration partners and device manufacturers responsive to this Request.

REQUEST FOR PRODUCTION NO. 25:

       All Documents relating to agreements or partnerships described in Request No. 24.




                                                 28
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
       Case
        Case3:18-md-02843-VC
             3:18-md-02843-VC Document
                               Document906-13
                                        526-1 Filed 09/28/20
                                                    04/01/22 Page 31
                                                                  69 of 43
                                                                        193




RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents “relating”

to the subject agreements or partnerships, including those which are not relevant to the subject

matter of the Action.

        (D) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Request 24.

        Subject to and without waiving the foregoing objections, Facebook will produce

agreements with its integration partners and device manufacturers responsive to this Request.

REQUEST FOR PRODUCTION NO. 26:

        For each of the Third Parties that Facebook entered into partnerships or agreements with

as described in Request No. 24, Documents sufficient to identify:

   •    The fields, kinds, or categories of Content and Information that were accessed or

        obtained by such Third Parties;

   •    How each such Third Party accessed or obtained the Content and Information of Users;

   •    How each such Third Party used the Content and Information accessed or obtained;


                                                 29
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
       Case
        Case3:18-md-02843-VC
             3:18-md-02843-VC Document
                               Document906-13
                                        526-1 Filed 09/28/20
                                                    04/01/22 Page 32
                                                                  70 of 43
                                                                        193




   •    Where the Content and Information obtained by such Third Parties currently resides and

        who has access to it.

RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

        Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

        (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

        (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

        (C) Facebook further objects to the Request to the extent that the Request seeks Documents

that are not in Facebook’s possession, custody, or control because the Request relates to the

conduct of Third Parties.

        (E) Facebook further objects to this Request as seeking information outside of Facebook’s

knowledge regarding the actions and knowledge of third parties.

        (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users that are not parties to the Action.

        Subject to and without waiving the foregoing objections, based on Facebook’s

understanding of the Request, Facebook states it does not have documents in its possession,

custody, or control responsive to Request No. 26.




                                                 30
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 33
                                                                71 of 43
                                                                      193




REQUEST FOR PRODUCTION NO. 27:

       Documents sufficient to show all forms and formats in which Facebook transmitted to

Third Parties information concerning Users’ liking, viewing, retrieving, or otherwise requesting

or obtaining videos on, using, or by means of the Facebook Platform.

RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (B) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users not a party to the Action.

       (C) Facebook further objects to this Request on the grounds that the term “transmitted” is

ambiguous and vague in that it could refer to any and all forms of conveying information, including

passively making information available to a third party by hosting and displaying the information

a User chooses to include on his or her Facebook profile page.

       Subject to and without waiving the foregoing objections, Facebook is willing to meet and

confer with Plaintiffs regarding the documents being sought by this Request, their relevance to the

Plaintiffs’ claims (if any), and what documents Facebook could reasonably produce proportionate

to the needs of the case.

REQUEST FOR PRODUCTION NO. 28:

       All Documents relating to Internal Policies by Facebook on the monitoring of Third

Parties’ compliance with Facebook’s Platform Policy, Data Policy, or SRR.




                                                 31
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 34
                                                                72 of 43
                                                                      193




RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents “Relating”

to the subject Internal Policies, including Policies unrelated to Plaintiffs’ claims.

       Subject to and without waiving the foregoing objections, to the extent non-privileged,

responsive documents are identified by a reasonable, good-faith search, Facebook will produce

final, formal, written Policies that governed access to Facebook consumer data by third-party

Applications during the Relevant Time Period.

REQUEST FOR PRODUCTION NO. 29:

       All Documents relating to Internal Policies by Facebook on the enforcement of

Facebook’s Platform Policy, Data Policy, or SRR against Third Parties.

RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other
                                                 32
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 35
                                                                73 of 43
                                                                      193




applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents “relating”

to the subject Internal Policies, including Policies unrelated to Plaintiffs’ claims.

       (D) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Request 28.

       Subject to and without waiving the foregoing objections, Facebook is willing to meet and

confer with Plaintiffs regarding the documents being sought by this Request, their relevance to the

Plaintiffs’ claims (if any), and what documents Facebook could reasonably produce proportionate

to the needs of the case.
REQUEST FOR PRODUCTION NO. 30:

       All Documents relating to measures and controls, including proposed measures and

controls, put in place by Facebook to prevent Third Parties from violating Facebook’s Platform

Policy, Data Policy, or SRR.

RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.


                                                  33
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 36
                                                                74 of 43
                                                                      193




          (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

          (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents “Relating”

to the subject measures and controls, including measures and controls unrelated to Plaintiffs’

claims.

          (D) Facebook further objects to this Request on the grounds that the phrases “measures and

controls” and “proposed measures and controls” are ambiguous and vague and undefined.

          (F) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Requests 28 and 29.

          Subject to and without waiving the foregoing objections, to the extent non-privileged,

responsive documents are identified by a reasonable, good-faith search, Facebook will produce

final, formal, written Policies that governed access to Facebook consumer data by third-party

Applications during the Relevant Time Period.
REQUEST FOR PRODUCTION NO. 31:

          All Documents relating to Facebook’s audits, inquiries, and investigations of Third

Parties investigating compliance with any provisions of Facebook’s Platform Policy, Data

Policy, or SRR regarding the access, use, transmission, receipt, collection and analysis of Users’

Content and Information on and off the Platform.

RESPONSE TO REQUEST FOR PRODUCTION NO. 31:

          Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

          (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other


                                                   34
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 37
                                                                75 of 43
                                                                      193




applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents “relating”

to the subject audits, inquiries, and investigations, including audits, inquires, and investigations

unrelated to Plaintiffs’ claims.

       Subject to and without waiving the foregoing objections, Facebook will produce cease-

and-desist letters sent to app developers during the Relevant Time Period relating to policy

violations involving the use of User data. Facebook is willing to meet and confer with Plaintiffs

regarding any other documents being sought by this Request, their relevance to the Plaintiffs’

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
REQUEST FOR PRODUCTION NO. 32:

       All Documents Concerning Misuse of Data, including investigations, examinations,

inquiries, or audits-or Communications regarding such investigations, examinations, inquiries, or

audits-regarding Misuse of Data prior to the deprecation of Graph API v.1.0.

RESPONSE TO REQUEST FOR PRODUCTION NO. 32:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.
                                              35
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 38
                                                                76 of 43
                                                                      193




       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case in that it seeks all Documents

“Concerning” Misuse of Data.

       (D) Facebook further objects that the phrase “prior to the deprecation of Graph API v.1.0”

is ambiguous and vague and undefined. Facebook will construe this phrase to mean prior to April

30, 2015.

       (E) Facebook further objects to the Request to the extent that it is cumulative or duplicative

of other Requests, such as Requests 31.

       Subject to and without waiving the foregoing objections, Facebook will produce cease-

and-desist letters sent to app developers during the Relevant Time Period relating to policy

violations involving the use of User data. Facebook is willing to meet and confer with Plaintiffs

regarding any other documents being sought by this Request, their relevance to the Plaintiffs’

claims (if any), and what documents Facebook could reasonably produce proportionate to the

needs of the case.
REQUEST FOR PRODUCTION NO. 33:

       Documents sufficient to show the notice that Facebook provided to Users regarding

modifications to Facebook’s SRR or Data Policy, and all Communications related thereto.

RESPONSE TO REQUEST FOR PRODUCTION NO. 33:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other


                                                 36
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 39
                                                                77 of 43
                                                                      193




applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action and/or disproportionate to the needs of the case on

the grounds that it seeks all Communications “related” to the subject notice.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds, and to the extent, that

the Request seeks information about Users who are not parties to the Action.

       Subject to and without waiving the foregoing objections, Facebook will produce final,

exemplar versions of notifications that Facebook made to users regarding material changes to its

Data Use Policy and Statement of Rights and Responsibilities dating back to January 1, 2007.
REQUEST FOR PRODUCTION NO. 34:

       All Documents relating to the conditioning of Third Parties’ access to Users’ Content and

Information on the purchase of Mobile App Install Ads, payment of Content and Information in-

kind (referred internally as Reciprocity or Data Reciprocity), or other payment.

RESPONSE TO REQUEST FOR PRODUCTION NO. 34:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.


                                                 37
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 40
                                                                78 of 43
                                                                      193




       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that it seeks all

Documents “relating” to certain subjects, including Documents unrelated to Plaintiffs’ claims and

documents that are not within Facebook’s possession, custody, or control.

       (D) Facebook further objects to this Request to the extent it is based on the false and

incorrect premise that Facebook “condition[ed]” or “condition[s]” access to information on certain

purchases and/or payments.

       Subject to and without waiving the foregoing objections, Facebook will produce final,

formal, written Policies and agreements that governed access to Facebook consumer data by third-

party Applications, integration partners, and mobile phone manufacturers during the Relevant

Time Period.
REQUEST FOR PRODUCTION NO. 35:

       Documents relating to the manner in which a Facebook User could control how his or her

data was shared through their Privacy Controls and App Settings throughout the Relevant Time

Period, including but not limited to screenshots of the Facebook website and the Facebook

mobile application.

RESPONSE TO REQUEST FOR PRODUCTION NO. 35:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:

       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.
                                              38
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 41
                                                                79 of 43
                                                                      193




       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that it seeks all

Documents “relating” to the subject manner of control, including Documents that are not within

Facebook’s possession, custody, or control.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action and/or disproportionate to the needs of the case on

the grounds, and to the extent, that the Request seeks information about Users that are not parties

to the Action.

       (E) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving the foregoing objections, to the extent non-privileged

documents are identified by a reasonable, good-faith search, Facebook will produce its user terms

dating back to January 1, 2007, to the extent they have not been produced to Plaintiffs’ previously,

and screen shots sufficient to show how a user could control how data was shared with third-party

applications.

REQUEST FOR PRODUCTION NO. 36:

       All Documents concerning User testing, evaluation and analysis of Facebook’s Privacy

Controls and App Settings during the Relevant Time Period, including but not limited to design

documents, correspondence, analyses, and reports.

RESPONSE TO REQUEST FOR PRODUCTION NO. 36:

       Facebook restates and incorporates its Preliminary Statement, General Objections,

Objections to Definitions, and Objections to Instructions as though fully set forth in this Response.

Facebook further objects to this Request on the following additional grounds:
                                                39
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
     Case
      Case3:18-md-02843-VC
           3:18-md-02843-VC Document
                             Document906-13
                                      526-1 Filed 09/28/20
                                                  04/01/22 Page 42
                                                                80 of 43
                                                                      193




       (A) Facebook objects to this Request to the extent that it seeks information protected from

disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any other

applicable privilege, doctrine, or protection. Facebook interprets this Request as though it

excludes documents protected by these privileges and protections.

       (B) Facebook objects to this Request to the extent it seeks to impose obligations that go

beyond the requirements of the Federal and Local Rules.

       (C) Facebook further objects to this Request as ambiguous and confusing on the grounds

that the phrase “User testing, evaluation and analysis of Facebook’s Privacy Controls and App

Settings” is ambiguous and vague and not defined.

       (D) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action, unlikely to lead to the discovery of admissible

evidence, and/or disproportionate to the needs of the case on the grounds that it seeks all

Documents “concerning” the subject User testing, evaluation and analysis, including Documents

which are not within Facebook’s possession, custody, or control.

       (E) Facebook further objects to this Request as overly broad, unduly burdensome,

irrelevant to the subject matter of this Action and/or disproportionate to the needs of the case on

the grounds, and to the extent, that the Request seeks information about Users that are not parties

to the Action.

       (F) Facebook further objects to the Request on the grounds that the Request seeks

documents that are public, already in Plaintiffs’ possession, custody, or control, or obtainable from

some other source that is more convenient, less burdensome, or less expensive.

       Subject to and without waiving the foregoing objections, Facebook is willing to meet and

confer with Plaintiffs regarding the documents being sought by this Request, their relevance to the

Plaintiffs’ claims (if any), and what documents Facebook could reasonably produce proportionate

to the needs of the case.




                                                 40
   FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                    CASE NO. 3:18-MD-02843-VC
    Case
     Case3:18-md-02843-VC
          3:18-md-02843-VC Document
                            Document906-13
                                     526-1 Filed 09/28/20
                                                 04/01/22 Page 43
                                                               81 of 43
                                                                     193




DATE: December 26, 2019                  Respectfully submitted,

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                                               41
  FACEBOOK, INC.’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’ SECOND SET OF REQUESTS FOR PRODUCTION
                                   CASE NO. 3:18-MD-02843-VC
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  Case
     3:18-md-02843-VC
        3:18-md-02843-VCDocument
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                                 906-13
                                   526-3 Filed
                                          Filed04/01/22
                                                09/28/20 Page
                                                          Page82
                                                               1 of 7
                                                                    193




         Plaintiffs’ Exhibit C
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 83 of 193
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 84 of 193
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 85 of 193
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 86 of 193
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 87 of 193
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 88 of 193
Case
  Case
     3:18-md-02843-VC
        3:18-md-02843-VCDocument
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                                 906-13
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                                          Filed04/01/22
                                                09/28/20 Page
                                                          Page89
                                                               1 of 1
                                                                    193




         Plaintiffs’ Exhibit D


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  Case
     3:18-md-02843-VC
        3:18-md-02843-VCDocument
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                                   526-5 Filed
                                          Filed04/01/22
                                                09/28/20 Page
                                                          Page90
                                                               1 of 1
                                                                    193




         Plaintiffs’ Exhibit E


    Redacted in its Entirety
     Case
       Case
          3:18-md-02843-VC
             3:18-md-02843-VCDocument
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                                      906-13
                                        583 Filed
                                             Filed 12/08/20
                                                   04/01/22 Page
                                                            Page 191ofof15193




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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC


This document relates to:                      JOINT STATUS UPDATE

ALL ACTIONS                                    Judges: Hon. Vince Chhabria and
                                               Hon. Jacqueline Scott Corley
                                               Courtroom: VIA VIDEOCONFERENCE
                                               Hearing Date: December 9, 2020
                                               Hearing Time: 10:00 a.m.




JOINT STATUS UPDATE                                                              MDL NO. 2843
                                                                  CASE NO. 18-MD-02843-VC-JSC
     Case
       Case
          3:18-md-02843-VC
             3:18-md-02843-VCDocument
                               Document
                                      906-13
                                        583 Filed
                                             Filed 12/08/20
                                                   04/01/22 Page
                                                            Page 292ofof15193



       The parties respectfully submit this Joint Status Update in advance of the Court’s

discovery conference scheduled for December 9, 2020 at 10:00 a.m.

                              I.     PLAINTIFFS’ STATEMENT

       1.      Issues the Parties Have Addressed Since the Last Discovery Conference
       a.      Search Terms: Plaintiffs provided their counterproposal for the search strings to

be applied to the email and messages associated with the Groups 5-8 custodians. Facebook

delivered hit reports on December 3, 2020. Facebook’s response to Plaintiffs’ counterproposal is

due no later than December 13, 2020, and, after meeting and conferring the week of December

14-18, final proposals are due December 24. Given this timing, Plaintiffs intend to confer with

Facebook about a reasonable alteration to this schedule.

       b.      Requests for Production (“RFPs”) Still in Dispute: The parties continue to

meet and confer regarding RFPs 14-17. These RFPs seek production of documents relating to

and sufficient to show how Facebook valued and accounted for users’ data – straightforward

discovery that Facebook has thus far refused to produce. Facebook originally told Plaintiffs there

were no responsive documents but that position has changed substantially. While it is apparent

that both targeted collections and collections using search terms are appropriate to satisfy these

requests, Facebook is now taking the position that it will not do both, threatening to withdraw the

extensively-negotiated search terms to be applied to correspondence if Plaintiffs also pursue

targeted collections from ESI sources to which terms will not even be applied. This is a step

backwards. Nonetheless, Plaintiffs are hopeful that the parties resolve this issue.

       c.      Named Plaintiffs’ Data: Discovery Order No. 9 identified the following

categories of user data as discoverable: “(1) Data collected from a user’s on- platform activity;

(2) Data obtained from third parties regarding a user’s off-platform activities; and (3) Data

inferred from a user’s on or off-platform activity.” Dkt. 557 at 2. On November 12, 2020,

Plaintiffs sent Facebook a detailed letter asking Facebook to identify materials responsive to

Order No. 9, including the format in which they reside in the ordinary course of business, so that

the parties could confer as to whether production should be narrowed and efficiencies in the


JOINT STATUS UPDATE                              1                                     MDL NO. 2843
                                                                        CASE NO. 18-MD-02843-VC-JSC
     Case
       Case
          3:18-md-02843-VC
             3:18-md-02843-VCDocument
                               Document
                                      906-13
                                        583 Filed
                                             Filed 12/08/20
                                                   04/01/22 Page
                                                            Page 393ofof15193



format or manner of production. This letter also proposed ways to identify potentially relevant

and responsive data, including a list of the different types of data Facebook collects from apps in

connection with its enforcement efforts. To date, Facebook has not provided any substantive

response on these issues. Plaintiffs believe that a deadline for Facebook to provide threshold

information in written format, and beginning and end dates for production of these materials

would be of great assistance in moving discovery forward.

       The need for a deadline and written response is particularly compelling as Facebook has

had months to conduct this investigation. On July 31, 2020, the Court ordered Facebook to

identify “what precisely has been produced and precisely what is the data that is being withheld

or not reasonably available.” Discovery Order No. 5, Dkt. 478. In response to this directive,

Facebook made certain representations about what data it had and what could not be produced.

See, e.g., Aug. 14 Hr’g Tr. at 7:14-22; 10:1-21 (explaining the various types of information

related to users collected by Facebook). Yet, Facebook claims it is only now conducting

investigations into the types of user data that could have potentially been shared with or made

accessible to third parties, putting into question its prior representations about what data it did or

did not possess or that it could or could not access. Plaintiffs propose Facebook should respond

in writing to Plaintiffs’ November 12 correspondence by December 18, and that beginning and

end dates for production should be set.

       d.      Plaintiffs’ Fourth Set of Interrogatories: Plaintiffs issued their fourth set of

interrogatories on July 16, 2020. Facebook provided responses and objections on August 17,

2020 and amended those responses and objections twelve weeks later on November 20, 2020.

The parties will continue to meet and confer regarding these amended responses and objections.

       e.      Privacy Settings Data: Facebook has produced many thousands of pages

purporting to reflect Plaintiffs’ activity on the Facebook platform, but did not consult with

Plaintiffs regarding the production format, which is markedly different than how that activity

occurs on the platform. Unfortunately, as produced, the documents fail to reflect Plaintiffs’

privacy settings, including, for example, the identification of limited audiences selected by


JOINT STATUS UPDATE                               2                                     MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC-JSC
     Case
       Case
          3:18-md-02843-VC
             3:18-md-02843-VCDocument
                               Document
                                      906-13
                                        583 Filed
                                             Filed 12/08/20
                                                   04/01/22 Page
                                                            Page 494ofof15193



Plaintiffs, despite that the original posts did so. Plaintiffs first sought a supplemental production

of this information starting in February 2020. Facebook has refused based on the purported

burden, suggesting instead that Plaintiffs review their active accounts online to establish this

information for themselves on a post by post basis, and then cross-check each post against the

documents Facebook has produced to identify those documents by Bates number. This is a

highly impractical position. For example, for the underlying evidence to be admissible, it would

require Plaintiffs to re-produce their own Facebook accounts in the format in which it exists,

which is precisely what Facebook should have done and which Plaintiffs have no practical way

to do without consulting Facebook. Plaintiffs have nonetheless begun reviewing Facebook’s

production and identified examples in response to Facebook’s interrogatories, but the underlying

problem persists. Plaintiffs are hopeful the parties can reach a reasonable accommodation.

       f.      Additional Proposed Custodians: In keeping with the Court’s prior guidance

regarding the early identification of any additional custodians pursuant to Discovery Order No.

3, Plaintiffs proposed four additional custodians: Mark Zuckerberg, Sheryl Sandberg, as well as

two Facebook employees with relevant and unique responsibilities over the Privacy Program

audited by PricewaterhouseCoopers LLP. In response, Facebook has asserted categorically that

any addition of custodians is premature. From Plaintiffs’ perspective, it seems appropriate to run

searches across these additional four custodians at the same time that other custodial documents

are being searched, de-duplicated and reviewed for privilege. The parties continue to discuss.

       g.      Discovery of Named Plaintiffs: Plaintiffs’ review of documents responsive to

Facebook’s document requests to Plaintiffs is ongoing, and Plaintiffs will continue to produce

non-privileged, responsive documents on a rolling basis. One impediment to this process is that

Plaintiffs await Facebook’s response to the search terms to be applied to Plaintiffs’ email, which

Plaintiffs proposed on August 14. Similarly, Plaintiffs are actively engaged in reviewing and

responding to Facebook’s interrogatories to Plaintiffs. To honor Facebook’s request for rolling

productions and amendments, and despite Plaintiffs’ objections regarding the limited audience-

information Facebook has produced, Plaintiffs served supplemental responses on Monday,


JOINT STATUS UPDATE                               3                                     MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC-JSC
     Case
       Case
          3:18-md-02843-VC
             3:18-md-02843-VCDocument
                               Document
                                      906-13
                                        583 Filed
                                             Filed 12/08/20
                                                   04/01/22 Page
                                                            Page 595ofof15193



December 7, 2020. Plaintiffs anticipate further amendments as additional information becomes

available, including the information referred to above. Plaintiffs understand that discovery is a

two-way street, and have reviewed the extensive document productions for each of the Plaintiffs

and provided substantive responses to the best of their ability at this time. Contrary to

Facebook’s characterization that it has been awaiting responses for 14 weeks, initial responses

were provided on a timely basis and supplemented in response to issues raised by Facebook and

discussed by the parties on the parties’ regularly-scheduled meet and confers.

       h.      Voluntary Dismissal of Named Plaintiffs: At this Court’s suggestion, Plaintiffs

narrowed the issues relating to class certification by reducing the number of Named Plaintiffs.

Plaintiffs sent Facebook a proposed stipulation on December 4 that would voluntarily dismiss all

but the nine Named Plaintiffs who will be proposed as class representatives. The parties will

negotiate and submit a proposed stipulation shortly.

       i.      Privilege Log Issues: Plaintiffs challenged 1,599 of Facebook’s 4,432 initial

privilege log entries on October 2, 2020. Facebook responded by letter dated December 2, 2020,

and provided its revised privilege log on December 7, 2020. Plaintiffs have proposed that the

parties begin to meet and confer regarding Facebook’s amended privilege log. In addition,

Facebook has represented to the Court in its statement that it has already prepared a privilege log

regarding ADI materials (which Plaintiffs have not yet received). Consistent with the Court’s

directive in Discovery Order No. 7 instructing the parties to commence briefing in January 2021,

Plaintiffs will confer with Facebook to set a briefing schedule. Plaintiffs request that the parties

submit a stipulation or competing proposals by no later than December 18, 2020.

       2.      Additional Responses to Facebook’s Statement
       Unfortunately, Facebook confuses Plaintiffs’ obligation to litigate this massive and

complex case on behalf of a class of more than 223 million U.S. Facebook users with

“counterproductive distractions.” But, as is normally the case and in fact expected in an MDL of

this size, Plaintiffs have diligently identified and raised issues that need Facebook’s attention in

hopes that such issues can be resolved without the Court’s attention. Most frequently, Plaintiffs


JOINT STATUS UPDATE                               4                                     MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC-JSC
     Case
       Case
          3:18-md-02843-VC
             3:18-md-02843-VCDocument
                               Document
                                      906-13
                                        583 Filed
                                             Filed 12/08/20
                                                   04/01/22 Page
                                                            Page 696ofof15193



are met with stonewalling and delay.

       In addition to being self-serving, Facebook’s attack on Plaintiffs’ efforts to litigate this

case is misleading. For example, Facebook claims Plaintiffs have “bombarded” Facebook with

twenty letters and emails since the parties’ last discovery conference on November 5. Putting

aside the fact that twenty communications over one month should be expected here, only four of

these communications (two letters and two emails) contained substantive requests for

information or meet and confers—two of which are requests that must be made in writing

pursuant to the parties’ agreed upon Discovery Dispute Resolution Protocol. Dkt. 393, ¶¶ 1-2. As

far as Plaintiffs can tell, the remaining sixteen emails consisted of agenda requests for the

parties’ ongoing meet and confers (one of which was unilaterally cancelled by Facebook),

scheduling requests, and follow-up emails to agenda items identified by the parties. Plaintiffs’

substantive communications pertain to discoverable information and Facebook does not claim

otherwise. Counting letters and emails is a frivolous distraction from the work the parties need to

accomplish and a rather silly exercise for experienced lawyers.

       The growing list of unresolved issues is also a direct byproduct of Facebook’s refusal to

provide timely information. For example, Facebook still has not cured the deficiencies in its

production of Plaintiffs’ documents that Plaintiffs identified in February. The parties’ proposed

expert stipulation has been pending since June, with only minimal edits proposed by Facebook

since that time. A revised privilege log related to third-party PwC’s production of documents

(comprised of only eight documents) was requested in July. These are just some of the examples

of discovery issues Plaintiffs must continually raise with Facebook to push them forward.

       This is part of the normal course of complex litigation, particularly in a case of this scale.

Plaintiffs are identifying discovery disputes, following up on the parties’ negotiations, and

seeking resolution either through agreement or with the Court’s assistance through the parties’

dispute resolution protocol, which Facebook itself agreed to. As a result, there is no basis for

Facebook’s request that the only discovery issues the parties can discuss are those that it selects.

Facebook’s motion for a discovery stay—which is what it effectively seeks—should be denied.


JOINT STATUS UPDATE                               5                                     MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC-JSC
      Case
        Case
           3:18-md-02843-VC
              3:18-md-02843-VCDocument
                                Document
                                       906-13
                                         583 Filed
                                              Filed 12/08/20
                                                    04/01/22 Page
                                                             Page 797ofof15193



                                  FACEBOOK’S STATEMENT

       Facebook appreciates the Court’s continued assistance focusing the parties’ discovery

efforts. Below, Facebook details the work it has completed since the November 5 conference

and respectfully requests that the Court order Plaintiffs to: (i) stick to the agendas the Court sets

between hearings; (ii) commit to the set of Named Plaintiffs who are prosecuting this case; and

(iii) respond in full within 30 days to Facebook’s interrogatories—which have been pending for

14 weeks and seek basic information about Plaintiffs’ allegations. Finally, Facebook identifies

six agenda items that should be the parties’ focus until the next hearing.

I.     Facebook’s Progress Since the November 5 Status Conference

       Facebook has completed a tremendous amount of work since the last status conference.

       Discovery Responses. Facebook served 480 pages of interrogatory responses on topics

spanning a 13-year period. This project alone took hundreds of hours. Facebook also set up a

review of the nearly 3 million documents hitting on search strings for the first 38 custodians and

made an initial production. Facebook proposed search strings for the remaining 43 custodians.

       Privileged Materials. Facebook prepared a privilege log (to be served on Dec. 10) of

6,000 documents from Facebook’s App Developer Investigation, under the parties’ Sampling

Protocol (Dkt. 518). Facebook also responded to a letter from Plaintiffs, raising 1600 vague and

boilerplate privilege challenges, which created hundreds of hours of unnecessary work.

       Named Plaintiff Data. Facebook commenced an investigation to identify the materials

potentially responsive to Discovery Order 9, regarding the Named Plaintiffs’ data.

       Additional Items. Since the November conference, Facebook also answered Plaintiffs’

Second Amended Consolidated Complaint, successfully argued a motion to dismiss the two UK

Plaintiffs, and investigated the contents of its productions to numerous government entities.

       In additional to these items, the parties negotiated a slew of open discovery issues.

II.    The Counterproductive Distractions

       Plaintiffs have reverted to a strategy of burying Facebook in a constant barrage of

demands that take little effort to churn out but create an enormous amount of unnecessary work.


JOINT STATUS UPDATE                               6                                     MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC-JSC
       Case
         Case
            3:18-md-02843-VC
               3:18-md-02843-VCDocument
                                 Document
                                        906-13
                                          583 Filed
                                               Filed 12/08/20
                                                     04/01/22 Page
                                                              Page 898ofof15193



Since the November conference, Plaintiffs have sent Facebook more than 25 letters and emails

raising dozens of informal demands. One letter insists that counsel answer 18 different inquiries

regarding the data Facebook collects from users. Another letter demands that counsel respond to

21 substantive questions regarding specific documents in Facebook’s productions.

        Plaintiffs wrote to Facebook demanding it add more custodians to the case—even though

the Court ordered the parties to move forward with these negotiations and not backtrack.

Plaintiffs threatened to set off fire-drill briefing the week of Thanksgiving if Facebook did not

immediately conduct targeted collections of materials they previously demanded Facebook

identify through search strings. After Facebook served 480 pages of interrogatory responses,

yesterday Plaintiffs sent a letter raising pages of questions about Facebook’s substantive

responses and threatening expedited briefing if Facebook did not answer within days.

        In the last month, Plaintiffs served 10 third-party subpoenas (they have served more than

40 to date). After one party told Plaintiffs he provided Facebook his materials in connection

with government subpoenas, Plaintiffs demanded Facebook immediately investigate the

materials it produced to government entities and confirm Plaintiffs received the same documents.

After Facebook did, Plaintiffs followed up with additional demands the next day.

        The parties continue to meet and confer twice each week. Rather than stick to the agenda

set at the prior hearing, the night before each meet and confer, Plaintiffs raise as many as 10-15

arbitrary topics that Facebook must prepare to discuss. Plaintiffs’ harassing and scattershot

approach is severely impacting the efficiency and speed at which normal discovery can proceed.

III.    Plaintiffs Must Participate in Discovery or Withdraw as Named Plaintiffs

        While Facebook is working around the clock to complete massive discovery efforts,

Plaintiffs ask to be excused from discovery obligations and do not complete even minimal tasks.

        Plaintiffs represented in September that they were streamlining discovery by having only

10 of 23 plaintiffs move forward as Named Plaintiffs.1 It is now clear that Plaintiffs actually


 1
        Plaintiffs informed the Court on September 28: “Plaintiffs have reduced the number of
 individuals who will be class representatives to ten, down from the twenty-three.” Dkt. 526.

JOINT STATUS UPDATE                                7                                     MDL NO. 2843
                                                                          CASE NO. 18-MD-02843-VC-JSC
       Case
     Case    3:18-md-02843-VCDocument
          3:18-md-02843-VC     Document 583 Filed
                                      906-13 Filed 12/08/20
                                                   04/01/22 Page
                                                            Page 999ofof15193



seek a one-sided discovery stay. Rather than dismiss the claims of 13 plaintiffs, Plaintiffs sent a

proposal to “deprioritize” 13 Named Plaintiffs, who would reserve the right to be “re-prioritized”

at any time, while being excused from responding to any discovery. Facebook rejected this

proposal. In response, Plaintiffs promised to stipulate to the voluntary dismissal of at least 13

Named Plaintiffs, without prejudice to their participating in the putative class. 2 Six weeks later,

Plaintiffs finally provided their stipulation, and it has hardly changed from their original

proposal. Under the proposed stipulation, 13 Named Plaintiffs would dismiss their claims

without prejudice to becoming Named Plaintiffs again later in the case, and Facebook would

have to waive its right to seek any type of discovery whatsoever of those individuals. Plaintiffs

need to make a decision and not demand that Facebook bear the risks of Plaintiffs’ vacillation.

       In the meantime, Plaintiffs refuse to comply with basic discovery requests. The only

discovery Facebook has served in the last 6 months is a set of interrogatories that asks 10

identical questions of each Named Plaintiff regarding the basis of their allegations and privacy

expectations. Plaintiffs asked for 10 weeks to respond—representing they needed that time to

coordinate with all 23 of their clients. Ten weeks later, Plaintiffs responded on behalf of only 10

plaintiffs, and the responses were grossly deficient. They consisted of boilerplate objections

along with a handful of single sentence responses.3 Facebook attempted to meet and confer with

Plaintiffs for weeks regarding these deficiencies. Plaintiffs would not substantively engage.

Instead, they repeatedly assured Facebook that they planned to amend but that it would be many

weeks before they could even discuss a potential deadline or the nature of the amendments. Yet,

as soon as Facebook advised Plaintiffs it planned to ask the Court to order Plaintiffs to amend

their responses within 30 days, Plaintiffs suddenly whipped together and served “amended


 2
        Plaintiffs said they would send a stipulation for “the voluntary dismissal of those named plaintiffs
 that are not expected to be put forth as class representatives,” and dismissal “would be without
 prejudice.” 10/27/2020 Letter from M. Montgomery. Facebook asked whether: “dismissal would be
 without prejudice to those plaintiffs participating in the putative class, or . . . without prejudice to those
 plaintiffs becoming Named Plaintiffs again later in the case?” 10/27/2020 Email from M. Kutscher
 Clark. Plaintiffs confirmed: “the concept is that dismissal would be without prejudice to those
 plaintiffs participating in the putative class.” 10/27/2020 Email from M. Montgomery.
 3
       Notably, after Facebook sent a deficiency letter with respect to the 13 plaintiffs who did not
 respond, Plaintiffs were able to serve objections and responses for those plaintiffs the next day.
JOINT STATUS UPDATE                                   8                                       MDL NO. 2843
                                                                               CASE NO. 18-MD-02843-VC-JSC
      Case
        Case
           3:18-md-02843-VC
              3:18-md-02843-VCDocument
                                Document
                                       906-13
                                         583 Filed
                                              Filed 12/08/20
                                                    04/01/22 Page
                                                             Page 10
                                                                  100ofof15193



responses” yesterday. Facebook is continuing to evaluate the responses, but they appear to offer

little more than the original responses and to be targeted at evading a real deadline, rather than

providing substantive information. Facebook asks the Court to order Plaintiffs to provide the

fulsome amended responses Plaintiffs have been promising Facebook within 30 days.

IV.     Agenda Items

        Until the next conference, the parties should strictly focus on the following items:

        1.     Search Strings. The parties should complete their search string negotiations for

the remaining 43 custodians. Plaintiffs responded to Facebook’s proposal with a counter-

proposal that adds more than 2600 search string/custodian pairs—all of which require responses.

        2.     Document Review. Facebook is continuing to review the nearly 3 million

documents and 12 million pages that hit on the search strings for the first 38 custodians.

        3.     Interrogatories. Plaintiffs should fully answer the 10 rogs served 14 weeks ago.

        4.     Plaintiffs’ Productions. The parties should complete negotiations over how

materials will be collected from the Named Plaintiffs so those materials can finally be produced.

        5.     Confidentiality Briefing. The parties are entering a stipulation to brief the

confidentiality of materials leaked by another plaintiff in violation of a protective order.

        6.     Named Plaintiff Data. Facebook is conducting an investigation to confirm the

universe of data responsive to Discovery Order 9, relating to the Named Plaintiffs. Facebook

notes that, in seeking Discovery Order 9, Plaintiffs stated for the first time in their sur-reply brief

that they seek a far more limited set of data than they had demanded previously. Plaintiffs wrote:
        Plaintiffs seek only a holding that the sensitive data Facebook collected about ten Named
        Plaintiffs and shared with third parties is relevant. Plaintiffs do not contend that
        information that was not shared is relevant, which substantially narrows the information
        Facebook would be required to produce. Dkt. 548 at 9.
To Facebook’s knowledge, the materials it produced reflect the information related to the Named

Plaintiffs that could have been shared with third parties. Because this case covers a 13-year

period, Facebook is conducting an investigation to confirm that understanding. If Facebook

identifies other data relating to Plaintiffs that could have even potentially been made available to

third parties, it will produce it, and—before doing so—discuss the format with Plaintiffs.

JOINT STATUS UPDATE                                9                                     MDL NO. 2843
                                                                          CASE NO. 18-MD-02843-VC-JSC
       Case
     Case    3:18-md-02843-VCDocument
          3:18-md-02843-VC     Document 583 Filed
                                      906-13 Filed 12/08/20
                                                   04/01/22 Page
                                                            Page 11
                                                                 101ofof15193



V.     Response to Additional Issues Raised by Plaintiffs

       Plaintiffs seek targeted collections of materials the Court ordered Facebook to locate

through search strings. RFPs 14-17 seek materials “sufficient to show” the value of individual

types of data, the Named Plaintiffs’ data, and data to users. Facebook informed Plaintiffs that it

has never valued data in this manner and, to its knowledge, does not have responsive materials.

During the parties’ search string negotiations, Plaintiffs nevertheless insisted on search strings

for RFPs 14-17. Dkt. 545, Ex. 1 at 4, 6. The Court granted this request. To the extent the

materials Plaintiffs seek exist, the search strings should identify them.

       Plaintiffs have equal access to the privacy settings they seek. The issue Plaintiffs raise is

not about production format. It is about who should do the work to identify the data Plaintiffs

claim is sensitive. Plaintiffs say they can’t identify what information from their accounts they

believe is sensitive unless Facebook produces a version of their account information that shows

the privacy settings they selected for each item or post (e.g. “friends only” or “friends of

friends”). Facebook accounts cannot be produced in this manner. To locate the privacy settings

Plaintiffs seek, someone must click on each item and follow a link to view the privacy setting.

Plaintiffs have access to their accounts and can do this but apparently determined this process

would be too burdensome and that Facebook should do it for them. Facebook suggested

Plaintiffs identify the account activity they believe is sensitive, so Facebook can assess whether

it can produce the settings for a targeted set of items (Plaintiffs’ account information spans more

than 900,000 pages). One of Facebook’s interrogatories asks this precise question, but Plaintiffs

refuse to provide a real answer and instead seek to push the burden back to Facebook.4

       There is no basis to add additional custodians now. Plaintiffs’ request for four more

custodians is premature. Facebook is reviewing millions of documents from 81 custodians. If,

after Plaintiffs review the documents to be identified through search terms, they identify a gap in

Facebook’s productions, the parties can discuss whether additional custodians are needed.


 4
        In the meantime, Facebook produced the privacy settings data it has available, including
 Plaintiffs’ current privacy settings, historical privacy settings, and the best available information about
 any intervening changes Plaintiffs have made, including to individual posts.
JOINT STATUS UPDATE                                  10                                      MDL NO. 2843
                                                                              CASE NO. 18-MD-02843-VC-JSC
      Case
        Case
           3:18-md-02843-VC
              3:18-md-02843-VCDocument
                                Document
                                       906-13
                                         583 Filed
                                              Filed 12/08/20
                                                    04/01/22 Page
                                                             Page 12
                                                                  102ofof15193




Dated: December 8, 2020                          Respectfully submitted,


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JOINT STATUS UPDATE                         11                                    MDL NO. 2843
                                                                   CASE NO. 18-MD-02843-VC-JSC
      Case
    Case    3:18-md-02843-VCDocument
         3:18-md-02843-VC     Document 583 Filed
                                     906-13 Filed 12/08/20
                                                  04/01/22 Page
                                                           Page 13
                                                                103ofof15193




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JOINT STATUS UPDATE                       12                                    MDL NO. 2843
                                                                 CASE NO. 18-MD-02843-VC-JSC
    Case
      Case
         3:18-md-02843-VC
            3:18-md-02843-VCDocument
                              Document
                                     906-13
                                       583 Filed
                                            Filed 12/08/20
                                                  04/01/22 Page
                                                           Page 14
                                                                104ofof15193




               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)


       I, Derek W. Loeser, attest that concurrence in the filing of this document has been

obtained from the other signatory. I declare under penalty of perjury that the foregoing is true

and correct.

       Executed this 8th day of December, 2020, at Seattle, Washington.


                                              /s/ Derek W. Loeser
                                              Derek W. Loeser




JOINT STATUS UPDATE                             13                                    MDL NO. 2843
                                                                       CASE NO. 18-MD-02843-VC-JSC
    Case
      Case
         3:18-md-02843-VC
            3:18-md-02843-VCDocument
                              Document
                                     906-13
                                       583 Filed
                                            Filed 12/08/20
                                                  04/01/22 Page
                                                           Page 15
                                                                105ofof15193




                                   CERTIFICATE OF SERVICE
          I, Sarah Skaggs, hereby certify that on December 8, 2020, I electronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.

          In addition, the following were served via email:

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                                                /s/ Sarah Skaggs
                                                Sarah Skaggs




JOINT STATUS UPDATE                               14                                    MDL NO. 2843
                                                                         CASE NO. 18-MD-02843-VC-JSC
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 106 of 193
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 107 of 193
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 108 of 193
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 109 of 193
Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 110 of 193
     CaseCase
          3:18-md-02843-VC
              3:18-md-02843-VC
                             Document
                                Document
                                      906-13
                                          590 Filed
                                               Filed04/01/22
                                                     12/18/20 Page
                                                               Page111
                                                                    1 ofof6 193




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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA


IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC-JSC


This document relates to:                         STIPULATION AND [PROPOSED]
                                                  ORDER RE: VOLUNTARY DISMISSAL
Akins et al. v. Facebook, Inc.,                   WITHOUT PREJUDICE AS TO
Case No. 3:18-cv-05714-VC;                        PLAINTIFFS RAFAEL AMEZCUA,
                                                  SHELLY FORMAN, BRANDON
O’Hara, et al., v. Facebook, Inc., et al.,        HERMAN, TABIELLE HOLSINGER,
Case No. 3:18-cv-03709-VC                         WILLIAM LLOYD, KIMBERLY
                                                  ROBERTSON, TONYA SMITH, SCOTT
McDonnell v. Facebook Inc.,                       SCHINDER, DUSTIN SHORT, CHARNAE
3:18-cv-05811-VC                                  TUTT, JULIANA WATSON, ANNIE
                                                  WENZ
Miller et al. v. Facebook, Inc.,
Case No. 3:18-cv-05770-VC

Schinder v. Facebook Inc.,
3:18-cv-02571-VC

Staggs v. Facebook, Inc.,
3:18-cv-05754-VC




STIPULATION AND [PROPOSED] ORDER              1                                  MDL NO. 2843
RE: VOLUNTARY DISMISSAL WITHOUT                                   CASE NO. 18-MD-02843-VC-JSC
PREJUDICE AS TO PLAINTIFFS
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           3:18-md-02843-VC
               3:18-md-02843-VC
                              Document
                                 Document
                                       906-13
                                           590 Filed
                                                Filed04/01/22
                                                      12/18/20 Page
                                                                Page112
                                                                     2 ofof6 193




      STIPULATION OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE AS TO
                             PLAINTIFFS
        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and Civil Local Rule 7-12,

Consolidated Plaintiffs (“Plaintiffs”) and Defendant Facebook Inc. (“Facebook”) (collectively

“the Parties”) in this action hereby stipulate to the voluntary dismissal of Plaintiffs Rafael

Amezcua, Shelly Forman, Brandon Herman, Tabielle Holsinger, William Lloyd, Kimberly

Robertson, Scott Schinder, Tonya Smith, Dustin Short, Charnae Tutt, Juliana Watson, and Annie
Wenz (“Withdrawn Plaintiffs”), without prejudice to their proceeding as putative class members,

each party to bear its own costs. Withdrawn Plaintiffs reserve all rights, including the right to

seek leave to be re-joined as named plaintiffs at a later date. Facebook reserves all rights,

including the right to oppose any of the Withdrawn Plaintiffs being re-joined as named plaintiffs

at a later date. This stipulation does not operate as to dismiss any other Plaintiffs in this action.

Dated: December 18, 2020                                   Respectfully submitted,

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STIPULATION AND [PROPOSED] ORDER                   2                                     MDL NO. 2843
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PREJUDICE AS TO PLAINTIFFS
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         3:18-md-02843-VC
             3:18-md-02843-VC
                            Document
                               Document
                                     906-13
                                         590 Filed
                                              Filed04/01/22
                                                    12/18/20 Page
                                                              Page113
                                                                   3 ofof6 193




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Attorneys for Defendant Facebook, Inc.



STIPULATION AND [PROPOSED] ORDER               3                                MDL NO. 2843
RE: VOLUNTARY DISMISSAL WITHOUT                                  CASE NO. 18-MD-02843-VC-JSC
PREJUDICE AS TO PLAINTIFFS
    CaseCase
         3:18-md-02843-VC
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                                                    12/18/20 Page
                                                              Page114
                                                                   4 ofof6 193




PURSUANT TO STIPULATION, IT IS SO ORDERED.


 DATED:
                                            THE HONORABLE VINCE CHHABRIA
                                            UNITED STATES DISTRICT JUDGE




STIPULATION AND [PROPOSED] ORDER        4                                MDL NO. 2843
RE: VOLUNTARY DISMISSAL WITHOUT                           CASE NO. 18-MD-02843-VC-JSC
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                                              Filed04/01/22
                                                    12/18/20 Page
                                                              Page115
                                                                   5 ofof6 193




               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
       I, Lesley E. Weaver, attest that concurrence in the filing of this document has been

obtained from the other signatories. I declare under penalty of perjury that the foregoing is true

and correct.

       Executed this 18th day of December, 2020, at Oakland, California.


                                              /s/ Lesley E. Weaver
                                              Lesley E. Weaver




STIPULATION AND [PROPOSED] ORDER                 5                                     MDL NO. 2843
RE: VOLUNTARY DISMISSAL WITHOUT                                         CASE NO. 18-MD-02843-VC-JSC
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                               Document
                                     906-13
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                                              Filed04/01/22
                                                    12/18/20 Page
                                                              Page116
                                                                   6 ofof6 193




                                  CERTIFICATE OF SERVICE
          I, Lesley E. Weaver, hereby certify that on December 18, 2020, I electronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.


                                               /s/ Lesley E. Weaver
                                               Lesley E. Weaver

          4839-0556-4115, v. 2




STIPULATION AND [PROPOSED] ORDER                   6                                    MDL NO. 2843
RE: VOLUNTARY DISMISSAL WITHOUT                                          CASE NO. 18-MD-02843-VC-JSC
PREJUDICE AS TO PLAINTIFFS
               Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 117 of 193




From:                               Buongiorno, Matt <MBuongiorno@gibsondunn.com>
Sent:                               Monday, November 29, 2021 7:37 PM
To:                                 Cari Laufenberg; Lesley Weaver; Daniel B. Garrie
Cc:                                 Kutscher Clark, Martie; Gail Andler; Daniel Garrie; Stein, Deborah L.; Falconer, Russ;
                                    Anne Davis; Matt Melamed; David Ko; Snyder, Orin; Chris Springer; Mumm, Laura C.;
                                    Derek Loeser
Subject:                            RE: Summary if mediation on November 17 2021



Dear Special Master Garrie and Counsel,

We confirm that we can take Tyler King’s deposition on December 20 beginning at 2 PM PST, so long as a late start time
works for Special Master Garrie on that day. We also can confirm Ms. Chang’s deposition on December 16, Mr.
Zarakhovsky’s deposition on December 22, Mr. Lessin’s deposition on January 13, and Mr. Garcia-Martinez’s deposition
on January 18, subject to our ongoing privilege-related objections that the parties are currently mediating.

We do not understand why Plaintiffs are providing Terry Fischer’s availability for a deposition on December 17, as Ms.
Fischer was not included in our list of 10 proposed deponents for Phase I. Please provide availability for the Named
Plaintiffs we have asked to depose during Phase 1. Of the 10 witnesses we identified for Phase 1, Plaintiffs have
provided availability for only 3.

We ask Plaintiffs to prioritize providing dates for Jordan O’Hara and Jason Ariciu. Plaintiffs have not objected to these
depositions, and we previously agreed to depose Mr. Ariciu on December 20 and Mr. O’Hara on December 10. These
were dates Plaintiffs originally proposed for these deponents, and after we accepted them, Plaintiffs proposed that
Facebook depose other witnesses on those dates instead, without proposing alternate dates for Mr. Ariciu and Mr.
O’Hara.

We note that, consistent with Section IV.C.32 of the Deposition Protocol, Special Master Garrie should be present at
these parties’ depositions. Special Master Garrie, would you please let the parties know if you have conflicts with any of
the following dates which the parties have agreed to, subject to your availability and the privilege issues the parties are
discussing.

          Senko – 12/10
          Chang – 12/16
          King – 12/20 (beginning at 2pm PT)
          Zarakhovsky – 12/22
          Lessin – 1/13
          Garcia-Martinez – 1/18
          Akins – 1/20

In addition, please let us know if there are particular dates in December and January that do not work for you, so that
the parties can be sure to schedule around them.

Thank you,



Matt Buongiorno

                                                             1
             Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 118 of 193

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
2001 Ross Avenue Suite 2100, Dallas, TX 75201
Tel +1 214.698.3204 • Fax +1 214.571.2989
MBuongiorno@gibsondunn.com • www.gibsondunn.com



From: Cari Laufenberg <claufenberg@KellerRohrback.com>
Sent: Wednesday, November 24, 2021 3:51 PM
To: Buongiorno, Matt <MBuongiorno@gibsondunn.com>; Lesley Weaver <lweaver@bfalaw.com>; Daniel B. Garrie
<Daniel@lawandforensics.com>
Cc: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Gail Andler <JudgeAndler@icloud.com>; Daniel Garrie
<DGarrie@jamsadr.com>; Stein, Deborah L. <DStein@gibsondunn.com>; Falconer, Russ <RFalconer@gibsondunn.com>;
Anne Davis <adavis@bfalaw.com>; Matt Melamed <mmelamed@bfalaw.com>; David Ko <dko@KellerRohrback.com>;
Snyder, Orin <OSnyder@gibsondunn.com>; Chris Springer <cspringer@KellerRohrback.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>; Derek Loeser <dloeser@KellerRohrback.com>
Subject: Re: Summary if mediation on November 17 2021

[WARNING: External Email]
Counsel,

We can offer Terry Fischer for December 17. Please let us know by early next week if this works for Facebook.

Wishing all a happy thanksgiving and weekend.

Cari

From: Cari Laufenberg <claufenberg@KellerRohrback.com>
Sent: Tuesday, November 23, 2021 4:51 PM
To: Buongiorno, Matt; Lesley Weaver; Daniel B. Garrie
Cc: Kutscher Clark, Martie; Gail Andler; Daniel Garrie; Stein, Deborah L.; Falconer, Russ; Anne Davis; Matt Melamed;
David Ko; Snyder, Orin; Chris Springer; Mumm, Laura C.; Derek Loeser
Subject: RE: Summary if mediation on November 17 2021

Counsel,

Thank you for confirming December 10 for Cheryl Senko.

Given FB’s inability to make December 2 or 3 work, we can offer December 20 for Tyler King at the same start time (7
a.m. her time). Please let us know if that date will work for Facebook.

Mr. Ariciu is no longer available on December 20 but we are working to identify other available dates for him as well as
Mr. O’Hara. Additionally, we are assessing whether another Named Plaintiff can be made available on or around
December 20.

As to the issue of privilege Facebook has raised with regard to the depositions of Jackie Chang, Eugene Zarakhovsky and
Sam Lessin, Plaintiffs understood per Special Master Garrie’s November 17 email that the parties were to exchange
submissions on that issue by 5 pm PST today. Our submission is forthcoming shortly.

Likewise, our submission will also address the good cause basis as to deposing Mike Vernal and Annie Lewis.


                                                            2
                 Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 119 of 193

We appreciate your efforts to identify an earlier date for Mr. Garcia-Martinez. In the event an earlier date cannot be
found, Plaintiffs confirm the date offered (January 18, 2022).

Many thanks,
Cari


Cari Campen Laufenberg (she/her)
Keller Rohrback L.L.P.
1201 Third Ave., Suite 3200
Seattle, WA 98101
Phone: (206) 623-1900
Direct Dial: (206) 224-7550
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From: Buongiorno, Matt <MBuongiorno@gibsondunn.com>
Sent: Tuesday, November 23, 2021 1:17 PM
To: Lesley Weaver <lweaver@bfalaw.com>; Daniel B. Garrie <Daniel@lawandforensics.com>
Cc: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Gail Andler <JudgeAndler@icloud.com>; Daniel Garrie
<DGarrie@jamsadr.com>; Stein, Deborah L. <DStein@gibsondunn.com>; Falconer, Russ <RFalconer@gibsondunn.com>;
Anne Davis <adavis@bfalaw.com>; Matt Melamed <mmelamed@bfalaw.com>; David Ko <dko@KellerRohrback.com>;
Snyder, Orin <OSnyder@gibsondunn.com>; Cari Laufenberg <claufenberg@KellerRohrback.com>; Chris Springer
<cspringer@KellerRohrback.com>; Mumm, Laura C. <LMumm@gibsondunn.com>; Derek Loeser
<dloeser@KellerRohrback.com>
Subject: RE: Summary if mediation on November 17 2021

Counsel,

Thank you for confirming your availability to depose Facebook witnesses as follows:

         Jackie Chang (Dec. 16),
         Eugene Zarakhovsky (Dec. 22),
         and Sam Lessin (Jan. 13).

Before we lock in these dates, we await Plaintiffs’ confirmation that, consistent with the parties’ Privilege Protocol,
Plaintiffs will not depose Facebook witnesses on issues where the parties have unresolved privilege disputes—the
parties agreed any such depositions should wait until privilege disputes are resolved. We have asked Plaintiffs to confirm
that they intend to comply with this aspect of the privilege protocol multiple times, including most recently in our
November 9 correspondence and November 16 email to you, and are concerned that you have not done so. Once we
receive Plaintiffs’ confirmation that they will not depose witnesses on issues where the parties have unresolved privilege
disputes, Facebook will confirm these dates. To be clear, Facebook confirms it will not depose Plaintiffs on issues where
the parties have unresolved privilege disputes.

We also confirm the following Named Plaintiff deposition:

         Cheryl Senko (Dec. 10)—please thank Ms. Senko for making herself available on a weekday.
                                                                             3
               Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 120 of 193


As for the other Named Plaintiff depositions we requested:

         Plaintiffs previously offered to make Jordan O’Hara available on Dec. 10 and we accepted. Given that Plaintiffs
          now wish for Ms. Senko’s deposition to move forward on December 10, please provide an alternate date for Mr.
          O’Hara the week of December 13.

         Please also confirm that Jason Ariciu is available for deposition on Dec. 20, a date you proposed for him but have
          not yet confirmed to actually be available.

         We are no longer able to take Tyler King’s deposition on Dec. 2 or 3. We made clear last week that, given the
          rapidly approaching date and Thanksgiving holiday, if Ms. King was able on either of those dates, we needed to
          know by the end of the day last Wednesday. Given that Plaintiffs waited 5 days to confirm a deposition that is
          now 6 business days away (with an intervening holiday), we request that Plaintiffs provide other dates Ms. King
          is available in December and January.

Antonio Garcia-Martinez remains available on January 18. We will continue to explore whether he might be available
before that date, but note that we are surprised that Plaintiffs will not accept this alternate date. We have accepted
alternate dates proposed by Plaintiffs for nearly all of the Named Plaintiffs.

With respect to Mike Vernal and Annie Lewis, under the Special Master’s Deposition Protocol, Plaintiffs are required to
show good cause as to why these depositions for which there are prior deposition transcripts are necessary. Plaintiffs
have not done so.


Thanks,


Matt Buongiorno

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MBuongiorno@gibsondunn.com • www.gibsondunn.com


From: Lesley Weaver <lweaver@bfalaw.com>
Sent: Monday, November 22, 2021 1:49 PM
To: Daniel B. Garrie <Daniel@lawandforensics.com>
Cc: Kutscher Clark, Martie <MKutscherClark@gibsondunn.com>; Gail Andler <JudgeAndler@icloud.com>; Daniel Garrie
<DGarrie@jamsadr.com>; Stein, Deborah L. <DStein@gibsondunn.com>; Falconer, Russ <RFalconer@gibsondunn.com>;
Anne Davis <adavis@bfalaw.com>; Matthew Melamed <mmelamed@bfalaw.com>; David Ko
<dko@kellerrohrback.com>; Snyder, Orin <OSnyder@gibsondunn.com>; Cari Laufenberg
<claufenberg@kellerrohrback.com>; Chris Springer <cspringer@kellerrohrback.com>; Mumm, Laura C.
<LMumm@gibsondunn.com>; Derek Loeser <dloeser@kellerrohrback.com>
Subject: Re: Summary if mediation on November 17 2021

[WARNING: External Email]
Good morning,

This email confirms that Plaintiffs accept all of the dates offered by Facebook, including:

                                                              4
              Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 121 of 193

12/16: Jackie Chan
12/22: Eugene Zarakhovsky
1/23: Sam Lessin

Plaintiffs await a date for Antonio Garcia-Martinez closer in time.

Plaintiffs continue to seek dates for Mike Vernal and Annie Lewis as part of the first tranche.

We will send separate correspondence shortly regarding Plaintiffs’ depositions. However, in the meantime we follow up
to schedule Tyler King on 12/2 or 12/3 at 7 a.m. her time. Please confirm which date in short order, given the holidays
and the logistics of arranging that deposition. Further, Plaintiff Senko is available on 12/10.

We look forward to confirming these dates.

Regards,

Lesley


         On Nov 17, 2021, at 6:42 PM, Daniel B. Garrie <Daniel@lawandforensics.com> wrote:

         Counsel,

         Thanks for your time today. Good news, each side has 1-deposition on the calendar - Sam Lessin - Jan
         13; Steve Akins Jan 20

         Additionally, Plaintiffs agreed to inform Facebook once they hear from Jordon O'Hara (12/10) and Tyler
         King (12/2 or 12/3 at 2 pm PST) work for scheduling.

         Regarding the date Facebook suggested for Jackie Chan (12/16) and Eugene Zarakhovsky (12/22),
         Plaintiff will inform Facebook as soon as possible if these dates work. Facebook will also check with
         Antonio Garcia-Martinez to see if an earlier date is available and revert promptly.

         The parties both agreed to exchange submissions on the issues of "Prior Deposition Transcript" (Pl.),
         "Raised potential privilege concerns" (Pl.), and "Objection to Deposition" (Facebook). The parties will
         exchange submissions on 11/23 before 5 pm PST and submit a response on 12/1 before 5 pm PST. All
         submissions will be done via email, with relevant exhibits attached (no letters or briefs). We will review
         the submissions and declare an impasse, if appropriate.

         Kindly make sure all Orders issued to date are filed before EOD Friday or provide an explanation for the
         delay.

         We both wish you a happy thanksgiving!

         Daniel Garrie and Judge Andler
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                                                                5
             Case 3:18-md-02843-VC Document 906-13 Filed 04/01/22 Page 122 of 193


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                                                            6
    Case 3:18-md-02843-VC
       Case                Document
            3:18-md-02843-VC        906-13
                              Document 298 Filed
                                           Filed 04/01/22
                                                 09/09/19 Page
                                                          Page 123
                                                               1 of of
                                                                    71193




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


  IN RE: FACEBOOK, INC., CONSUMER                    MDL No. 2843
  PRIVACY USER PROFILE LITIGATION                    Case No. 18-md-02843-VC


                                                     PRETRIAL ORDER NO. 20:
  This document relates to:                          GRANTING IN PART AND DENYING
                                                     IN PART MOTION TO DISMISS
  ALL ACTIONS
                                                     FIRST AMENDED COMPLAINT


       This lawsuit, which stems from the Cambridge Analytica scandal, is about Facebook’s

practice of sharing its users’ personal information with third parties. The plaintiffs are current

and former Facebook users who believe that their information was compromised by the

company. Their principal allegations are that Facebook: (i) made sensitive user information

available to countless companies and individuals without the consent of the users; and (ii) failed

to prevent those same companies and individuals from selling or otherwise misusing the

information. The plaintiffs do not merely allege that Facebook shared what we often describe as

“data” – basic facts such as gender, age, address, and the like. They allege that Facebook shared

far more substantive and revealing content that users intended only for a limited audience, such

as their photographs, videos they made, videos they watched, their religious and political views,

their relationship information, and the actual words contained in their messages.

       Facebook has filed a motion to dismiss the lawsuit. Although the company makes many

different arguments, there are three main ones. First, Facebook argues that people have no

legitimate privacy interest in any information they make available to their friends on social
media. This means, according to Facebook, that if people use social media to communicate
    Case 3:18-md-02843-VC
       Case                Document
            3:18-md-02843-VC        906-13
                              Document 298 Filed
                                           Filed 04/01/22
                                                 09/09/19 Page
                                                          Page 124
                                                               2 of of
                                                                    71193




sensitive information with a limited number of friends, they have no right to complain of a

privacy violation if the social media company turns around and shares that information with a

virtually unlimited audience. As explained in Section II of this ruling, Facebook’s argument

could not be more wrong. When you share sensitive information with a limited audience

(especially when you’ve made clear that you intend your audience to be limited), you retain

privacy rights and can sue someone for violating them.

       Second, Facebook argues that even if its users had a privacy interest in the information

they made available only to friends, there is no standing to sue in federal court because there

were no tangible negative consequences from the dissemination of this information. That too is

wrong. As explained in Section III, the law has long recognized that a privacy invasion is itself

the kind of injury that can be redressed in federal court, even if the invasion does not lead to

some secondary economic injury like identity theft.

       Facebook’s third main argument is that even if users retained a privacy interest in the

information that was disclosed, and even if a “bare” privacy invasion confers standing to sue in

federal court, this lawsuit must be dismissed because Facebook users consented, in fine print, to

the wide dissemination of their sensitive information. As discussed in Section IV, this question is

more difficult than the first two. California law requires the Court to assume as a legal matter

(even if it’s not true as a factual matter) that users reviewed, understood, and agreed to all of
Facebook’s contractual terms when they signed up for their accounts. These terms included a

description of at least some of Facebook’s information-sharing practices, for at least a portion of

the time period covered by this lawsuit. In particular, from roughly 2009 to 2015, Facebook

disclosed its practice of allowing app developers to obtain, through a user’s Facebook friends,

any information about the user that the friends had access to.

       That single disclosure, however, is relatively inconsequential for this motion to dismiss.

The complaint adequately alleges that users who established their Facebook accounts prior to

roughly 2009 never consented to this practice. Plaintiffs in this category may pursue claims
based on information-sharing with app developers. Moreover, the complaint adequately alleges


                                                  2
     Case 3:18-md-02843-VC
        Case                Document
             3:18-md-02843-VC        906-13
                               Document 298 Filed
                                            Filed 04/01/22
                                                  09/09/19 Page
                                                           Page 125
                                                                3 of of
                                                                     71193




that no users ever consented to Facebook’s other information-sharing practices – specifically,

sharing with certain “whitelisted apps” starting in 2015, and sharing with certain “business

partners” during much of the relevant time period. Finally, the complaint adequately alleges that

users never consented to Facebook’s widespread practice of allowing companies to sell and

otherwise misuse sensitive user information, as opposed to restricting the use of this information

as Facebook promised it would. Therefore, even though Facebook’s arguments regarding user

consent have some legal force and will somewhat limit the scope of the lawsuit, they cannot

defeat the lawsuit entirely, at least at the pleading stage.

        Accordingly, as set forth in Section V (which discusses the specific legal claims asserted

by the plaintiffs), although Facebook’s motion to dismiss will be granted for a few of the claims,

most claims survive.

                                         I. BACKGROUND

        Cambridge Analytica, a British political consulting firm, used personal information from

millions of Facebook accounts to send targeted political messages during the 2016 presidential

campaign. The firm obtained this information from Aleksandr Kogan, a researcher who had

acquired it through his app, which Facebook had allowed him to deploy on its platform. The

Cambridge Analytica incident began receiving significant press coverage in 2018, which in turn

generated increased scrutiny of Facebook’s information-sharing practices. In the months that
followed, reports emerged suggesting that the ability of people like Kogan and entities like

Cambridge Analytica to obtain sensitive Facebook user information was the norm rather than the

exception. Broadly speaking, this case is about whether Facebook acted unlawfully in making

user information widely available to third parties. It’s also about whether Facebook acted

unlawfully in failing to do anything meaningful to prevent third parties from misusing the

information they obtained.

        Following the Cambridge Analytica outcry, dozens of lawsuits were filed against

Facebook in various courts around the country. The lawsuits were mostly in federal court, and
they were mostly proposed class actions by individual Facebook users who contended that


                                                   3
    Case 3:18-md-02843-VC
       Case                Document
            3:18-md-02843-VC        906-13
                              Document 298 Filed
                                           Filed 04/01/22
                                                 09/09/19 Page
                                                          Page 126
                                                               4 of of
                                                                    71193




Facebook disseminated their sensitive personal information to Kogan without their consent and

failed to prevent him from transferring it to Cambridge Analytica. One of the first of these

lawsuits was filed in the Northern District of California and randomly assigned to this Court.

       When multiple, similar federal lawsuits are filed around the country, there is a process

within the federal judiciary for handling them. Congress has created the Judicial Panel on

Multidistrict Litigation, which considers whether to transfer similar cases to a single federal

judge for pretrial proceedings. The purpose is to promote the orderly adjudication of multiple

similar cases, avoiding conflicting rulings from different judges and alleviating the strain on the

system that would result from many judges adjudicating the same complicated pretrial issues.

The multidistrict litigation process contemplates that once the assigned judge adjudicates those

issues, the individual cases are sent back for trial to the courts where they originated. In these

cases against Facebook, the panel concluded that assignment to a single judge was warranted,

and assigned the lawsuits to this Court.

       This Court subsequently appointed two attorneys to serve as lead plaintiffs’ counsel.

Thereafter, lead counsel, representing roughly three dozen individual Facebook users, filed a

consolidated class action complaint. The plaintiffs propose to represent a class consisting of all

Facebook users in the United States and the United Kingdom whose personal information was

improperly disseminated and/or inadequately protected by Facebook from 2007 to the present.
The practical effect of the proposed class action is that this one consolidated complaint could

potentially resolve all claims by private parties against Facebook arising from the company’s

practices of disseminating user information during this period. In other words, this proceeding

has effectively become one large proposed class action, as opposed to a group of several dozen

separate lawsuits.1

        Facebook filed a motion to dismiss, and a lengthy hearing took place during which the

1
  Other lawsuits which are not part of this multidistrict litigation have been filed against
Facebook by law enforcement entities from states or localities. Although Facebook attempted to
fold one such lawsuit into this proceeding, the Court rejected that attempt. See Illinois, ex rel.
Kimberly M. Foxx v. Facebook, 354 F. Supp. 3d 1122 (N.D. Cal. 2019).


                                                  4
     Case 3:18-md-02843-VC
        Case                Document
             3:18-md-02843-VC        906-13
                               Document 298 Filed
                                            Filed 04/01/22
                                                  09/09/19 Page
                                                           Page 127
                                                                5 of of
                                                                     71193




parties and the Court discussed many potential deficiencies in the complaint. The hearing ended

with the Court giving the plaintiffs permission to file an amended complaint to address any such

deficiencies.

        The amended complaint, which is the subject of the current motion to dismiss, runs 414

pages and includes 1,442 paragraphs. It appears to include all the claims that were asserted in the

cases that were transferred here by the multidistrict litigation panel, and more. But for

manageability purposes, the complaint is divided into “prioritized claims” and “nonprioritized

claims.” The idea is that the prioritized claims (which presumably reflect lead counsel’s

judgment about their relative strength or importance) will be adjudicated first, and the

nonprioritized claims should be stayed and addressed later if necessary. The complaint names

multiple defendants (for example, CEO Mark Zuckerberg, in addition to Facebook itself), but

again divides those defendants into the “prioritized” and “non-prioritized” categories. Facebook

is the only prioritized defendant.

        It’s worth noting that the case has expanded in scope. While the initial lawsuits focused

largely on Facebook’s conduct that was the subject of the Cambridge Analytica scandal, the case

now includes allegations stemming from the subsequent revelations about Facebook’s wider

information-sharing practices. Moreover, although the complaint purports to assert 12 prioritized

“claims,” most of those purported claims actually consist of multiple distinct legal claims, based

on distinct factual allegations. For example, the section entitled “Breach of Contract” appears to

contain roughly half a dozen distinct claims for breach of contract, based on distinct acts of

alleged wrongdoing. Indeed, at times it seems the plaintiffs sought to identify anything Facebook

has ever been reported to have done wrong and then made sure to sprinkle in at least a few

allegations about it.

        This strategy interferes significantly with the clarity and effectiveness of the plaintiffs’
presentation. Some of the allegations are quite vague. For example, the plaintiffs make an
allegation, the significance of which the Court has not been able to understand, about Facebook
stripping metadata from users’ photos before allowing third parties to access them. Also


                                                   5
     Case 3:18-md-02843-VC
        Case                Document
             3:18-md-02843-VC        906-13
                               Document 298 Filed
                                            Filed 04/01/22
                                                  09/09/19 Page
                                                           Page 128
                                                                6 of of
                                                                     71193




scattered throughout the complaint are allegations about something the plaintiffs call

“psychographic marketing,” without any meaningful explanation of the legal or factual

difference between psychographic marketing and targeted advertising (the latter of which the

plaintiffs appear to concede is perfectly legitimate).

       Overall, the presence of so many disparate and vague allegations makes it nearly

impossible for Facebook to meaningfully respond to all of them, much less for the Court to

effectively address them. The conventional approach in a situation like this might be to sift

through the complaint to try to identify each distinct claim, then dismiss with leave to amend all

claims that are not adequately articulated. But that approach would likely result in many more

rounds of motions to dismiss, bogging the case down at the pleading stage for years. In the

interest of preventing that from happening to this multidistrict litigation, this ruling focuses on

what the Court understands to be the plaintiffs’ core allegations about Facebook’s handling of

sensitive user information. Claims based on these core factual allegations will largely survive the

motion to dismiss. All other prioritized claims not addressed by this ruling will be stayed

(effectively, relegated to non-prioritized status) and adjudicated, if necessary, at a later stage in

the proceedings with the other non-prioritized claims.

       The core allegations in the complaint describe four categories of wrongdoing by

Facebook. In adjudicating Facebook’s motion to dismiss, the Court is required to assume the
truth of these allegations, so long as they are adequately articulated and not contradicted by any

documents that the complaint explicitly relies on.

       1. Giving app developers access to sensitive user information. Since roughly 2007,

Facebook users have been able to access applications, or apps, directly from the Facebook

platform to do things like play video games, read news content, or stream videos. According to

the plaintiffs, this interaction among Facebook, its users, and third-party apps is one of the

primary means by which Facebook has disseminated user information to third parties. The

complaint alleges that when users accessed apps on the Facebook platform, the app developers
were not merely able to obtain information about the users they were interacting with; they were


                                                   6
     Case 3:18-md-02843-VC
        Case                Document
             3:18-md-02843-VC        906-13
                               Document 298 Filed
                                            Filed 04/01/22
                                                  09/09/19 Page
                                                           Page 129
                                                                7 of of
                                                                     71193




also able to obtain any information about the users’ Facebook friends that the users themselves

had access to. So, for example, if you decided to use an app on the Facebook platform to play a

video game, the video game company would be able to access not only your information but also

any information about your friends that you could obtain yourself. This includes a variety of

things that your friends might have intended to share only with a limited audience, such as

photographs, videos they made, videos they watched, religious preferences, posts, and even

sometimes private one-on-one messages sent through Facebook. And since most people have

dozens or hundreds of Facebook friends, each interaction with an app represents the disclosure of

a great deal of information about dozens or hundreds of people.

        The Cambridge Analytica story is an example of this. In 2013, Aleksandr Kogan created

an app called “MyDigitalLife.” Facebook allowed Kogan to market and operate this app on the

Facebook platform. The app invited Facebook users to answer a series of questions to help them

better understand themselves – a personality test of sorts. But when a user took the test, Kogan

was not merely able to collect information about that user; he was able to collect information on

the user’s Facebook friends. This allowed Kogan to compile a database with information on

roughly 87 million Facebook users, even though his app was only downloaded by around

300,000 people.

        The plaintiffs allege that from roughly 2009 to 2015, tens of thousands of app developers
like Kogan, operating on the Facebook platform, were able to interact with users to obtain this

type of information about users’ friends. The plaintiffs further allege that Facebook failed to

adequately disclose that even if users adjusted their privacy settings to specify that only their

friends would be allowed to see their information, this would not prevent app developers from

getting it.

        2. Continued disclosure to whitelisted apps. In 2014, in response to criticism of its

information-sharing practices, Facebook announced it would restrict app developers so they

would have access only to the information of the users the apps were interacting with (and not to
information of the users’ friends). But the plaintiffs allege that Facebook, despite its public


                                                  7
    Case 3:18-md-02843-VC
       Case                Document
            3:18-md-02843-VC        906-13
                              Document 298 Filed
                                           Filed 04/01/22
                                                 09/09/19 Page
                                                          Page 130
                                                               8 of of
                                                                    71193




promises to restrict access, continued to allow a preferred list of app developers to access the

information of users’ friends. The complaint describes these preferred app developers as

“whitelisted apps,” and alleges that Facebook secretly continued to give these apps “special

access” to friends’ information because of the amount of revenue these apps generated for

Facebook. Thousands of companies were allegedly on this list, including Airbnb, Netflix, UPS,

Hot or Not, Salesforce, Lyft, Telescope, and Spotify.

       3. Sharing sensitive user information with business partners. Meanwhile, Facebook has

maintained a separate information-sharing program with companies that the plaintiffs describe as

“business partners.” The complaint’s allegations about these business partners are somewhat

more difficult to pin down than the allegations about app developers. Indeed, there may be some

overlap between companies in the “app” category and the “business partner” category.

Moreover, the plaintiffs allege that Facebook outsourced to business partners “the time, labor,

and money required to build Facebook’s Platform on different devices and operating systems,”

but that doesn’t seem to describe all the “business partners” listed in the complaint. The

non-exclusive list of companies that the complaint identifies as business partners includes device

manufacturers, such as Blackberry and Samsung. It includes websites such as Yahoo, and the

Russian search engine Yandex. And it includes companies such as Amazon, Microsoft, and

Sony. This list came from Facebook itself, which asserted that it had “integration partnerships”
with these companies in a letter to the Energy and Commerce Committee of the U.S. House of

Representatives.

       Although the category is somewhat vague, the alleged misconduct is relatively

straightforward. The complaint alleges that Facebook shared information about its users with this

non-exclusive list of business partners, and that those companies in turn shared data with

Facebook. “These partnerships,” the complaint alleges, “were built in part on ‘data reciprocity.’

Facebook and its partners agreed to exchange information about users’ activities with each

other.” And as with app developers, Facebook allegedly would give a business partner access not
only to information of the user with whom the business partner interacted, but also to


                                                 8
     Case 3:18-md-02843-VC
        Case                Document
             3:18-md-02843-VC        906-13
                               Document 298 Filed
                                            Filed 04/01/22
                                                  09/09/19 Page
                                                           Page 131
                                                                9 of of
                                                                     71193




information of that user’s friends. The plaintiffs allege that, for most of the period covered by the

lawsuit, Facebook never disclosed that it was sharing user information with business partners in

this fashion.

       4. Failure to restrict the use of sensitive information. In addition to complaining about

Facebook’s dissemination of private user information to app developers, whitelisted apps, and

business partners, the plaintiffs allege that Facebook did nothing to prevent these third parties

from misusing the information Facebook allowed them to access. Specifically, the plaintiffs

allege that: (i) Facebook purported to have a policy preventing app developers from using

information for any purpose other than enhancing the interaction between the app and the person

who was using the app on the Facebook platform; but (ii) Facebook did nothing to enforce this

policy, thus giving users the impression that their information was protected, while in reality

countless app developers were using it for other purposes.

       Again, the Cambridge Analytica story is an example of this. According to the plaintiffs, if

Facebook was truly enforcing a policy of limiting the use of user information by app developers,

Kogan would have been precluded from extracting all that sensitive information about users’

friends to employ for his own research, and he would certainly have been precluded from selling

it to Cambridge Analytica. The plaintiffs allege that this was the norm with the tens of thousands

of app developers who interacted with users on the Facebook platform – that any policy
Facebook purported to have restricting the use of information by third parties was nonexistent in

reality, because Facebook was intent solely on generating revenue from the access it was

providing.

       Based on the four core categories of misconduct described above, the plaintiffs assert a

variety of legal claims. They bring a privacy-based tort claim under California law for the

unauthorized disclosure of private facts. They assert another privacy-based tort claim for

intrusion into private affairs, along with a similar claim based on the right to privacy enshrined in

the California Constitution. They bring two claims based on federal statutes: the Stored
Communications Act (which prohibits the unauthorized disclosure of information from


                                                  9
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 10
                                                                132ofof71193




computers) and the Video Privacy Protection Act (which prohibits disclosure of a person’s video

viewing habits). And the plaintiffs bring a variety of other California law claims that don’t relate

as directly to privacy but are nonetheless based on assertions that Facebook failed to protect their

privacy. Such claims include breach of contract (for allowing third parties to obtain sensitive

user information despite promising to protect it), deceit (for tricking users about the degree to

which their information could be accessed), and negligence (for failing to prevent third parties

from misusing sensitive information despite Facebook’s duty to protect that information). As

mentioned earlier, many of these purported claims actually have multiple distinct claims built

into them. Facebook has moved to dismiss all the claims, both for lack of standing and on the

merits.

                                 II. EXPECTATION OF PRIVACY

          Facebook’s motion to dismiss is littered with assumptions about the degree to which

social media users can reasonably expect their personal information and communications to

remain private. Because Facebook’s view of this issue pervades so many of its individual legal

arguments – and because Facebook’s view is so wrong – it is addressed at the outset.

          Facebook’s view is that once you make information available to your friends on social

media, you completely relinquish any privacy interest in that information. For this reason,

Facebook insists, it does not matter whether Facebook users consented to the company’s
information-sharing practices. Facebook asserts that even if users didn’t consent, and even if

users intended to restrict access to friends only, and even if Facebook had explicitly promised not

to share their information with anyone else, the users would have no right to complain that their

privacy was invaded by the disclosure or misuse of their sensitive information. Although this

argument was implicit in Facebook’s papers, it became explicit at the hearing on the motion to

dismiss. Dkt. No. 287 at 7 (hearing transcript).2

2
  Facebook appears to contend that this issue relates both to standing and to the merits of any
claims in which the plaintiffs assert an expectation of privacy (such as the privacy claims
brought under California tort law or the California Constitution). As discussed in Section IV with
respect to consent, the issue of whether users have a reasonable expectation of privacy in


                                                    10
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 11
                                                                 133ofof71193




        The problem with Facebook’s argument is that it treats privacy as an all-or-nothing

proposition – either you retain a full privacy interest by not sharing information with anyone, or

you have no privacy interest whatsoever by virtue of sharing it even in a limited fashion. In

reality, there can be “degrees and nuances to societal recognition of our expectations of privacy:

the fact that the privacy one expects in a given setting is not complete or absolute does not render

the expectation unreasonable as a matter of law.” Sanders v. American Broadcasting Companies,

Inc., 20 Cal. 4th 907, 915 (1999); see also Opperman v. Path, Inc., 84 F. Supp. 3d 962, 991-93

(N.D. Cal. 2015). Thus, as the U.S. Supreme Court has explained, “information may be classified

as private if it is intended for or restricted to the use of a particular person or group or class of

persons” rather than being “freely available to the public.” U.S. Department of Justice v.

Reporters Committee for Freedom of the Press, 489 U.S. 749, 763-64 (1989) (emphasis added)

(quoting Webster’s Third New International Dictionary 1804 (1976)); see also id. at 763 (“Thus

the extent of the protection accorded a privacy right at common law rested in part on the degree

of dissemination of the allegedly private fact . . . .”). So, for example, if you are diagnosed with a

medical condition, you can expect to conceal it completely only if you keep it between you and

your doctor. But it does not follow that if you send an email to selected colleagues and friends

explaining why you’ll be out of commission for a while, you’ve relinquished any privacy interest

in your medical condition, such that the email provider could disseminate your diagnosis to
anyone who might be interested in your health status. Similarly, social media users can have

their privacy invaded if sensitive information meant only for a few dozen friends is shared more

widely.3

        Although Facebook refuses in this case to acknowledge its users’ privacy interests, it has

done so in other court cases. For example, in a brief filed with the California Supreme Court, for


information they share with their social media friends is best understood as relating to the merits,
not standing. See, e.g., American Farm Bureau Federation v. U.S. Environmental Protection
Agency, 836 F.3d 963, 968 (8th Cir. 2016).
3
  It seems quite possible that a user whose settings allow information to be shared not only with
friends, but friends of friends, loses any expectation of privacy, although that issue is not
squarely presented by this motion to dismiss.


                                                  11
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 12
                                                                134ofof71193




a case where Facebook fought against the compelled disclosure of a user’s posts, Facebook

compared information kept on social media to information kept on a smartphone: “The data on a

smartphone – like the data maintained in a social media account – can reveal an individual’s

private interests and concerns and where a person has been, which in turn reflects a wealth of

detail about a person’s familial, political, professional, religious, and sexual associations.”

Answer Brief on the Merits, Facebook, Inc. v. Superior Court, 2016 WL 684072 (Cal.), at *29

(brackets and internal quotations omitted) (quoting Riley v. California, 573 U.S. 373, 396

(2014)). For this reason, Facebook continued, “communications content of the kind maintained

by [social media] providers” carries with it such a significant expectation of privacy that even

law enforcement must get a warrant before accessing it from those providers. Id. In a different

California Supreme Court brief, Facebook took pains to juxtapose users who share

communications with the general public against users who share communications only with

friends: “These settings cannot be overridden by others; if a post is set to be viewable only by a

certain audience, it may not then be shared or forwarded through the Facebook platform to

someone outside that audience.” Answering Brief on the Merits, Facebook, Inc. v. Superior

Court, 2018 WL 2060039 (Cal.), at *16. Facebook added that even if users designate their

communications to be viewed by the general public, they can later “regain” their expectation of

privacy in that information by switching their settings back to a more restricted audience. See id.
at *28 n.4.

       Perhaps Facebook’s argument that social media accounts are like smartphones is an

exaggeration in the other direction. But it’s closer to the truth than the company’s assertions in

this case. Sharing information with your social media friends does not categorically eliminate

your privacy interest in that information, and the plaintiffs’ claims in this lawsuit must be

analyzed against that backdrop, rather than the backdrop Facebook attempts to paint in its motion

to dismiss.




                                                  12
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 13
                                                                 135ofof71193




                                           III. STANDING

        To bring their claims in federal court, the plaintiffs must adequately allege (and

eventually prove) that they have “standing” under Article III of the United States Constitution.

This means, among other things, that the plaintiffs must allege they suffered an actual injury

from Facebook’s conduct that is both “concrete” and “particularized.” See Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1545 (2016).

        The plaintiffs allege three kinds of injury. First, they allege a simple “privacy injury” –

that is, injury from Facebook’s widespread disclosure of their sensitive information, including

their photographs, videos they made, videos they watched, religious preferences, posts, and even

private one-on-one messages sent through Facebook. Second, the plaintiffs allege they were

injured because Facebook’s dissemination of their personal information increased the risk that

they would become victims of identity theft. Third, the plaintiffs allege they were deprived the

economic value of their personal information as a result of its dissemination, the theory

apparently being that if their information had remained private, they could have sold that

information to advertisers or data brokers themselves.

        The second and third alleged injuries do not confer Article III standing. Regarding the

risk of identity theft, this is not a case involving, say, hackers, and it is not a case about the theft

of, say, social security or credit card numbers. Although the risk of identity theft is admittedly
greater than if Facebook had not made the plaintiffs’ personal information available, the risk is

too speculative to confer standing. Compare In re Zappos.com, Inc., 888 F.3d 1020, 1024-29

(9th Cir. 2018). Regarding loss of value, although it’s true that each user’s information is worth a

certain amount of money to Facebook and the companies Facebook gave it to, it does not follow

that the same information, when not disclosed, has independent economic value to an individual

user. The plaintiffs do not plausibly allege that they intended to sell their non-disclosed personal

information to someone else. Nor, in any event, do they plausibly allege that someone else would

have bought it as a stand-alone product. The plaintiffs’ economic-loss theory is therefore purely
hypothetical and does not give rise to standing. See In re Facebook Internet Tracking Litigation,


                                                   13
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 14
                                                                 136ofof71193




140 F. Supp. 3d 922, 931-32 (N.D. Cal. 2015); Opperman v. Path, Inc., 87 F. Supp. 3d 1018,

1057 (N.D. Cal. 2014); Yunker v. Pandora Media, Inc., 2013 WL 1282980, at *4 (N.D. Cal. Mar.

26, 2013); Low v. LinkedIn Corp., 2011 WL 5509848, at *4-5 (N.D. Cal. Nov. 11, 2011).4

        But the first alleged injury – that the plaintiffs’ sensitive information was disseminated to

third parties in violation of their privacy – is sufficient to confer standing. Facebook argues that a

“bare” privacy violation, without “credible risk of real-world harm” such as identity theft or

other economic consequences, cannot rise to the level of an Article III injury. But it’s black-letter

law that an injury need not be “tangible” to be cognizable in federal court. Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1549 (2016) (“Although tangible injuries are perhaps easier to

recognize, we have confirmed in many of our previous cases that intangible injuries can

nevertheless be concrete.”). And courts have often held that this particular type of intangible

injury – disclosure of sensitive private information, even without further consequence – gives

rise to Article III standing.

        Indeed, the Ninth Circuit has repeatedly explained that intangible privacy injuries can be

redressed in the federal courts. This issue has tended to come up recently in cases where a

plaintiff alleges standing based on the violation of a statute whose purpose is to protect privacy.

In such cases, the alleged violation of the statute does not automatically give rise to standing. For

a statutory violation to create standing, the statute must protect against a concrete and
particularized injury that’s cognizable within the meaning of Article III.

        Most recently on this issue, the Ninth Circuit handed down an opinion in a different case

against Facebook – a case involving Facebook’s use of facial recognition technology in alleged

violation of an Illinois statute. The Court held that “the development of a face template using

facial recognition technology without consent (as alleged here) invades an individual’s private

affairs and concrete interests.” Patel v. Facebook, Inc., 2019 WL 3727424, at *5 (9th Cir. Aug.


4
  But see In re Facebook Privacy Litigation, 572 F. App’x 494, 494 (9th Cir. 2014); Williams v.
Facebook, Inc., No. 18-cv-01881-RS, Dkt. No. 128 at 11-13 (N.D. Cal. Aug. 29, 2019); Svenson
v. Google Inc., 2015 WL 1503429, at *5 (N.D. Cal. Apr. 1, 2015).


                                                 14
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 15
                                                                137ofof71193




8, 2019). Earlier, in Eichenberger v. ESPN, the Ninth Circuit held that an alleged violation of the

Video Privacy Protection Act creates standing, explaining that the statute “protects privacy

interests . . . generally by ensuring that consumers retain control over their personal

information,” and emphasizing that “privacy torts do not always require additional consequences

to be actionable.” 876 F.3d 979, 983 (9th Cir. 2017). And in Van Patten v. Vertical Fitness

Group, LLC, the Ninth Circuit concluded that alleged violations of the Telephone Consumer

Protection Act, which creates a cause of action to remedy the injury of receiving annoying

telemarketing text messages, give rise to standing because such messages, “by their nature,

invade the privacy and disturb the solitude of their recipients.” 847 F.3d 1037, 1043 (9th Cir.

2017). The Van Patten court emphasized that a lawsuit alleging this type of intrusion under the

statute may proceed in federal court even if no additional, tangible harm is alleged. Id.

       There are many similar cases involving common law claims. For example, Judge Seeborg

recently held that a lawsuit asserting common law privacy claims against Facebook based on the

collection and disclosure of users’ Android data could proceed in federal court despite the

absence of any alleged economic injury. Williams v. Facebook, Inc., 384 F. Supp. 3d 1043, 1050

(N.D. Cal. 2018) (“The complaint need not include economic injury to establish standing for the

intrusion upon seclusion, invasion of privacy, or unjust enrichment claims.”). In reaching this

conclusion, Judge Seeborg quoted another decision involving Facebook – this one by Judge
Davila – which held: “a plaintiff need not show actual loss to establish standing for common-law

claims of invasion of privacy and intrusion upon seclusion.” In re Facebook Internet Tracking

Litigation, 263 F. Supp. 3d 836, 843 (N.D. Cal. 2017); see also In re Google Inc. Cookie

Placement Consumer Privacy Litigation, 806 F.3d 125, 134-35 (3d Cir. 2015) (holding that the

plaintiffs had standing to assert federal statutory and California common law privacy claims

based on allegations that the defendants implanted tracking cookies on their personal computers);

id. at 134 (“For purposes of injury in fact, the defendants’ emphasis on economic loss is

misplaced.”); Opperman v. Path, Inc., 87 F. Supp. 3d 1018, 1057 (N.D. Cal. 2014).
       To be sure, Facebook cites a few cases that lean in the other direction. For example, in a


                                                 15
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 16
                                                                138ofof71193




2012 case, Judge Grewal rejected the argument that the “loss of personal information, even in the

absence of any cognizable economic harm, was sufficient to confer Article III standing.” In re

Google, Inc. Privacy Policy Litigation, 2012 WL 6738343, at *5 (N.D. Cal. Dec. 28, 2012). But

Judge Grewal’s ruling seems to assume that economic harm is required rather than examining

whether it’s required. This appears equally true of the earlier district court cases on which he

relied. See LaCourt v. Specific Media, Inc., 2011 WL 1661532, at *4 (C.D. Cal. Apr. 28, 2011);

In re iPhone Application Litigation, 2011 WL 4403963, at *5 (N.D. Cal. Sept. 20, 2011).

Ultimately, the only reason Judge Grewal gave for his ruling was that “nothing in the precedent

of the Ninth Circuit or other appellate courts confers standing on a party that has brought

statutory or common law claims based on nothing more than the unauthorized disclosure of

personal information . . . .” In re Google, Inc. Privacy Policy Litigation, 2012 WL 6738343, at

*5. Whether or not he was right about precedent at the time, the cases cited above provide ample

support for the conclusion that this type of privacy invasion alone creates standing.

       And those cases are right. To say that a “mere” privacy invasion is not capable of

inflicting an “actual injury” serious enough to warrant the attention of the federal courts is to

disregard the importance of privacy in our society, not to mention the historic role of the federal

judiciary in protecting it. “In a democratic society privacy of communication is essential if

citizens are to think and act creatively and constructively.” Bartnicki v. Vopper, 532 U.S. 514,
533 (2001) (quoting President’s Commission on Law Enforcement and Administration of

Justice, The Challenge of Crime in a Free Society 202 (1967)). For this reason, our country has

countless federal laws on the books designed to protect our privacy – laws that the federal courts

are charged with enforcing.5 Perhaps the most prominent of these is the Wiretap Act, colloquially


5
 See, e.g., Health Insurance Portability and Accountability Act of 1996 (HIPAA), Pub. L. No.
104-191, 110 Stat. 1936; Children’s Online Privacy Protection Act of 1998, 15 U.S.C. §§ 6501-
6506 (2012); Driver’s Privacy Protection Act of 1994, 18 U.S.C. §§ 2721-2775 (2012);
Electronic Communications Privacy Act of 1986, Pub. L. No. 99-508, 100 Stat. 1848; Privacy
Protection Act of 1980, Pub. L. No. 96-440, 94 Stat. 1879; Right to Financial Privacy Act of
1978, 12 U.S.C. §§ 3401-3422 (2012); Privacy Act of 1974, 5 U.S.C. § 552a (2012).



                                                 16
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 17
                                                                139ofof71193




known as “Title III,” a bedrock privacy protection which makes it unlawful for either the

government or a private party to intercept someone’s “wire, oral, or electronic communication”

without consent. 18 U.S.C. § 2511. Would Facebook really argue that a violation of this statute

inflicts no “actual injury” on the participants in the conversation unless interception of the

communication ends up visiting a more tangible, secondary harm on the participants?

       Of course, a plaintiff cannot get into court by simply intoning that she suffered an

intangible privacy injury. But once it is understood that an intangible privacy injury can be

enough, it becomes easy to conclude that the alleged privacy injury here is enough. The alleged

injury is “concrete” largely for the reasons already discussed – if you use a company’s social

media platform to share sensitive information with only your friends, then you suffer a concrete

injury when the company disseminates that information widely. And the alleged injury is

“particularized,” at least for most of the plaintiffs. To be particularized, the injury must have

been suffered directly by the individual plaintiff, and it must be distinct from the more general

type of objection that members of the public at large might have to a defendant’s unlawful

conduct. See Spokeo, 136 S. Ct. at 1548. The plaintiffs allege that Facebook violated their

privacy rights (and other rights) because: (i) they engaged in sensitive communications that

included photographs, videos they made, videos they watched, Facebook posts, likes, and private

one-on-one messages; (ii) they intended to share these communications only with a particular
person or a group of people; (iii) Facebook made those communications widely available to third

parties in a variety of ways; and (iv) as a result, third parties were able to develop detailed

dossiers on the plaintiffs including information about their locations, their religious and political

preferences, their video-watching habits, and other sensitive matters.6

       Facebook makes one argument regarding particularity that, if successful, would merely


6
  It’s possible that a few of the named plaintiffs have not adequately alleged a privacy injury
based on their own Facebook experience. However, Facebook does not single out any particular
named plaintiff in its motion, and most of the plaintiffs have adequately alleged standing.
Facebook will be given an opportunity to attempt to knock out individual named plaintiffs on
standing grounds at a later stage.


                                                  17
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 18
                                                                140ofof71193




narrow the scope of this case rather than ending it entirely. Recall that this lawsuit arose from the

Cambridge Analytica scandal, with the plaintiffs originally alleging that Facebook gave

Aleksandr Kogan access to their information (with Kogan, in turn, giving it to Cambridge

Analytica). The plaintiffs initially alleged, plausibly and with specificity, that Kogan likely

accessed their own information. But the plaintiffs now allege that Facebook disseminated

sensitive user information far more widely, to tens of thousands of app developers and business

partners. Facebook argues that because the complaint lacks specific allegations about which app

developers or business partners obtained which plaintiffs’ private information, the plaintiffs have

not alleged an injury particular to them, at least beyond the injury from the disclosure to Kogan.

       This argument puts too great a burden on the plaintiffs, at least at the pleading stage (and

probably at any stage). If, as alleged in the complaint, Facebook made users’ “friends only”

information readily available to such a broad swath of companies (Apple, Samsung, AT&T,

Sprint, T-Mobile, Verizon, Google, Huawei, Microsoft, Mozilla, LG, and Amazon, to name just

a few), it is virtually inevitable that some of these companies obtained information on the named

plaintiffs. Cf. Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1021 (N.D. Cal. 2012). This type of

privacy invasion is no less an Article III injury simply because the plaintiffs are left to guess

precisely which companies (other than Facebook) were involved.

       Accordingly, for all the claims addressed by this ruling, Facebook cannot obtain
dismissal for lack of Article III standing.

                                              IV. CONSENT

       There is one more global issue to discuss before proceeding to a claim-by-claim analysis

of the complaint. Facebook contends that the plaintiffs agreed, when they signed up for their

accounts, that Facebook could disseminate their “friends only” information in the way it has

done. If the complaint and any judicially noticeable materials were to establish that Facebook

users consented to the alleged misconduct, this would indeed require dismissal of virtually the

entire case. However, the complaint adequately alleges that some users did not consent to any of
Facebook’s practices. And although Facebook is correct as a matter of law that some users


                                                  18
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 19
                                                                 141ofof71193




consented to the first category of conduct (sharing information with app developers), the

complaint adequately alleges that those users did not consent to the other three categories

(sharing information with whitelisted apps starting in 2015, sharing information with business

partners, and failing to protect user information from misuse).

                                                  A.

        As an initial matter, Facebook asserts that consent is actually a standing issue. It contends

that there is no true Article III injury on the facts of this case because the plaintiffs cannot be

injured by something they allowed Facebook to do.

        But the whole point of Article III standing is that some claims don’t belong in federal

court even if the plaintiff would win on the merits. Therefore, the standing inquiry in this case is:

assuming the plaintiffs could win on the merits, should their claims nonetheless be dismissed for

lack of standing because the injury they allegedly suffered is not cognizable in federal court? The

plaintiffs allege they did not consent – and this is an allegation they would need to prevail on if

they are to succeed on the merits. Thus, the Court must assume, for purposes of the standing

inquiry, that the plaintiffs did not consent. “A party need not prove that the action it attacks is

unlawful in order to have standing to level that attack . . . . Rather, in determining whether

plaintiffs have standing, we must assume that on the merits they would be successful in their

claims.” Muir v. Navy Federal Credit Union, 529 F.3d 1100, 1106 (D.C. Cir. 2008) (alterations
omitted).

        This rule holds even when the standing question overlaps substantially with the question

of whether a plaintiff has stated a claim. “As a general rule, when the question of jurisdiction and

the merits of the action are intertwined, dismissal for lack of subject matter jurisdiction is

improper.” Williston Basin Interstate Pipeline Co. v. An Exclusive Gas Storage Leasehold &

Easement in the Cloverly Subterranean Geological Formation, 524 F.3d 1090, 1094 (9th Cir.

2008) (internal quotations and alterations omitted); see also Safe Air for Everyone v. Meyer, 373

F.3d 1035, 1040 (9th Cir. 2004) (“The district court erred in characterizing its dismissal of Safe
Air’s complaint under Rule 12(b)(1) because the jurisdictional issue and substantive issues in


                                                  19
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 20
                                                                142ofof71193




this case are so intertwined that the question of jurisdiction is dependent on the resolution of

factual issues going to the merits.”).

       In privacy cases, the standing and merits inquiries will often be intertwined. For example,

the extent to which you have a reasonable expectation of privacy relates not only to whether

you’ve stated a claim for invasion of privacy but whether you were injured by the invasion in the

first place. And this will often be true of consent – if you agree to the disclosure of your personal

information, it may be difficult to argue that you’ve been “injured” in a legal sense by the

disclosure you permitted. But in virtually every privacy case, consent will be part of the merits

inquiry. Because courts presume success on the merits when evaluating standing, these are not

standing issues in privacy cases.7

       A good illustration of this is Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1037

(9th Cir. 2017). In that case, which was in a summary judgment posture, the Ninth Circuit held

that the plaintiffs established standing to sue based on the receipt of allegedly unwanted text

solicitations. But in the same opinion, the Court held that the plaintiffs must lose on the merits,

because they consented to receive those texts. Id. at 1044. Although courts occasionally conflate

standing with the merits in privacy cases, they generally recognize the need to keep them

separate. See, e.g., American Farm Bureau Federation v. U.S. Environmental Protection Agency,

836 F.3d 963, 968 (8th Cir. 2016) (“The EPA reasons that because the disputed information was
publicly available on the Internet or available for public review, further distribution of the

information could not establish any injury. That conclusion, however, assesses the merits of the

asserted privacy interest under FOIA rather than whether the associations’ members had a legally

cognizable interest in preventing the agency’s release of their personal information.”); In re

Vizio, Inc., Consumer Privacy Litigation, 238 F. Supp. 3d 1204, 1216 (C.D. Cal. 2017)

7
  It’s possible that a federal court confronted with truly frivolous privacy claims might
reasonably consider intertwined issues as a matter of standing – for example, if the absence of a
reasonable privacy expectation, or the presence of consent, were obviously and totally
indisputable. Cf. Williston Basin Interstate Pipeline, 524 F.3d at 1094. But even in a rare case
like that, it still probably makes more sense for the court to dismiss the claims on the merits
(which, after all, is just as easy to do, and also gives the defendant the benefit of preclusion).


                                                 20
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 21
                                                                143ofof71193




(rejecting, in a privacy case, a standing argument that “improperly conflates the merits of

Plaintiffs’ claims with their standing to bring suit”); id. (“Taken to its logical conclusion,

Defendants’ argument absurdly implies that a court could never enter judgment against a

plaintiff on a VPPA claim if it found that the disclosed information was not within the statutory

definition of personally identifiable information; instead, it would have to remand or dismiss for

lack of jurisdiction.”); Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1020 (N.D. Cal. 2012)

(explaining that whether a plaintiff adequately alleges standing to assert privacy claims “in no

way depends on the merits” of those claims (quoting Warth v. Seldin, 422 U.S. 490, 500

(1975))).

                                                  B.

       Whether the plaintiffs consented to Facebook’s information-sharing practices is thus a

merits inquiry. And the parties actually agree on several aspects of that inquiry. First, they agree

that, for virtually all claims, the question of whether Facebook users consented to the alleged

conduct is one of contract interpretation governed by California law.8 Second, the parties agree

that California law requires the Court to pretend that users actually read Facebook’s contractual

language before clicking their acceptance, even though we all know virtually none of them did.

Constrained by this fiction, the Court must analyze the relevant contractual language to assess

whether the users “agreed” to allow Facebook to disseminate their sensitive information in the
ways described in the lawsuit. Third, the parties agree that if the contract language at issue is

reasonably susceptible to more than one interpretation, with one of those interpretations

suggesting consent and another belying it, the Court cannot decide the consent issue in

Facebook’s favor at the motion to dismiss stage. And fourth, they agree that the contract

language must be assessed objectively, from the perspective of a reasonable Facebook user. The

8
  For the claim under the federal Video Privacy Protection Act, consent is governed by the terms
of the statute itself. This issue is discussed in the portion of Section V dealing with that claim.
The federal Stored Communications Act precludes information-sharing by computer service
providers without “lawful” consent; this is presumably a reference to state law, and the parties
don’t suggest otherwise, so this ruling assumes that California law applies to the consent issue
relating to that claim.


                                                  21
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 22
                                                                144ofof71193




upshot, at this early stage of the case, is that if a reasonable Facebook user could plausibly have

interpreted the contract language as not disclosing that Facebook would engage in particular

conduct, then Facebook cannot obtain dismissal of a claim about that conduct (at least not based

on the issue of consent).9

       One difficulty with the consent question is that the lawsuit covers a nearly 13-year period

– from 2007 to the present. Obviously, Facebook said different things to its users over that

period, and its practices changed as well. And it would be impossible at this stage to analyze

which disclosures apply to which plaintiffs, because the parties have not presented the

information necessary to conduct that inquiry. The analysis in this ruling will primarily focus on

the documents presented to users who signed up for accounts in the middle of 2012. At least with

respect to the four categories of alleged misconduct addressed in this ruling, these mid-2012

documents provide a good exemplar of what Facebook users agreed to during much of the period

covered by this lawsuit; indeed, users agreed to substantially similar language between roughly

2009 and 2015. Thus, these documents allow the Court to assess consent as a general matter,

even if the analysis might not apply to every single plaintiff.10


9
  The parties disagree about whether consent should be treated as an element of the plaintiffs’
claims or as an affirmative defense to those claims. The answer is likely that consent is an
element for some claims and an affirmative defense for others. But at least for purposes of this
motion it does not matter, because in either case the question is whether the allegations in the
complaint and any judicially noticeable materials definitively establish that the plaintiffs
consented to the conduct. If the answer is yes, the Court must dismiss the claims regardless of
whether consent is an element or a defense. See, e.g., Rivera v. Peri & Sons Farms, Inc., 735
F.3d 892, 902 (9th Cir. 2013) (“When an affirmative defense is obvious on the face of a
complaint . . . a defendant can raise that defense in a motion to dismiss.”); see also Jablon v.
Dean Witter & Co., 614 F.2d 677, 682 (9th Cir. 1980).
10
   Incidentally, the fact that the plaintiffs seek to represent a class of people who used Facebook
any time between 2007 and the present raises the possibility that some aspects of this lawsuit are
time-barred, and Facebook presses this issue in its motion to dismiss. For example, Facebook
notes that it was the subject of a consent order by the Federal Trade Commission in 2012, based
on similar information-sharing practices. That consent order may have put the plaintiffs on notice
of Facebook’s conduct prior to the entry of the order (although presumably it would not have put
them on notice of any misconduct by Facebook following entry of the consent order). Facebook
also invokes a single news article from 2015 (which this Court may consider on a motion to
dismiss because the article is incorporated by reference into the complaint). That article discusses
the company’s information-sharing practices, and Facebook asserts that this should have put


                                                 22
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 23
                                                                145ofof71193




       People who signed up for accounts in mid-2012 were required to accept Facebook’s

“Statement of Rights and Responsibilities,” or “SRR.” The SRR itself contains some statements

about privacy and information-sharing. But it also references, and contains links to, several other

policies, including the “Data Use Policy.”11 Although both sides agree that the language in the

SRR is contractual, they dispute whether the Data Use Policy is part of that contract. This dispute

matters because the Data Use Policy more explicitly discusses sharing information with third

parties, and it contains the language Facebook primarily relies on to contend that its users

consented to much of the alleged misconduct. The SRR is attached as Appendix A to this ruling,

and the Data Use Policy is attached as Appendix B.12

       The first section of the SRR, entitled “Privacy,” calls out the Data Use Policy in the

second sentence, provides a link to it, and encourages the user to read it. This first section of the

SRR states in full: “Your privacy is very important to us. We designed our Data Use Policy to

make important disclosures about how you can use Facebook to share with others and how we

collect and can use your content and information. We encourage you to read the Data Use Policy,

and to use it to help you make informed decisions.” Appendix A at 2. Later on the same page, the

SRR tells users to read the Data Use Policy to learn about “how you can control what

information other people may share with applications.” Id. And at the end, the SRR provides a



everyone on notice of its conduct. This seems more dubious than the argument about the FTC’s
2012 consent order. But in any event, statutes of limitations provide an affirmative defense,
which normally must be raised at summary judgment rather than on a motion to dismiss. U.S. ex
rel. Air Control Technologies, Inc. v. Pre Con Industries, Inc., 720 F.3d 1174, 1178 (9th Cir.
2013). The only exception is when it is absolutely clear from the allegations in the complaint and
judicially noticeable material that a claim is untimely and no tolling doctrine could apply. That
cannot be said here – at best Facebook has raised a significant possibility that claims relating to
pre-2012 conduct may be time-barred, a defense that will need to be decided on summary
judgment or at trial.
11
   Earlier versions of the “Statements of Rights and Responsibilities” were called “Terms of
Service.” Earlier versions of the “Data Use Policy” were called the “Privacy Policy.”
12
   The request to consider these documents, which are exhibits 23 and 44 to Facebook’s request
for judicial notice at Docket Number 187, is granted because they are incorporated by reference
into the complaint. The request to consider exhibits 14, 19, 26, 39, 40, 43, 46, and 47 is granted
for the same reason. Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1002 (9th Cir. 2018).
All other requests, beyond those granted in this footnote and in Footnote 10, are denied, although
in any event they would not affect the outcome of this motion. See id.


                                                 23
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 24
                                                                 146ofof71193




list of additional documents the user “may also want to review,” including the Data Use Policy,

which “contains information to help you understand how we collect and use information.” Id. at

11. This final section again includes a link to the Data Use Policy (along with several other

documents that are described as governing the relationship between Facebook and its users).

       This is sufficient to incorporate the Data Use Policy into the contractual agreement

between Facebook and its users. Indeed, California case law makes it quite easy to incorporate a

document by reference. “The contract need not recite that it incorporates another document, so

long as it guides the reader to the incorporated document.” Shaw v. Regents of University of

California, 58 Cal. App. 4th 44, 54 (1997) (quotations omitted). What’s needed is simply that the

reference to the document be unequivocal, that the document be called to the attention of the

contracting parties, and that the terms of the document be easily available to the contracting

parties. Id.; see also Wolschlager v. Fidelity National Title Insurance Co., 111 Cal. App. 4th 784,

790-91 (2003); In re Anthem, Inc. Data Breach Litigation, 2016 WL 3029783, at *8 (N.D. Cal.

May 27, 2016); Koffler Electrical Mechanical Apparatus Repair, Inc. v. Wartsila North America,

Inc., 2011 WL 1086035, at *4-5 (N.D. Cal. Mar. 24, 2011). One could argue that the California

appellate courts have been too quick to find incorporation by reference and that more explicit

language should be required, particularly in the context of consumer contracts of adhesion. But

this Court must apply California case law, which militates in favor of the conclusion that the
Data Use Policy is incorporated into the SRR.

       Thus, the true legal question is whether, by “agreeing” to the SRR and Data Use Policy,

Facebook users consented to the alleged misconduct. In analyzing this question, it’s important to

reiterate the precise conduct at issue. Recall that the plaintiffs allege four categories of

misconduct: (i) Facebook allowed app developers to access sensitive information, not merely of

users they interacted with, but of the users’ friends; (ii) even after Facebook announced it would

no longer give app developers access to information of users’ friends, it secretly continued to

give “whitelisted apps” access; (iii) through some separate arrangement and by some separate
means, Facebook shared sensitive user information with its business partners; and (iv) although


                                                  24
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 25
                                                                147ofof71193




Facebook ostensibly had a policy of sharply limiting the use of the sensitive information it gave

to third parties, in fact Facebook imposed no limits whatsoever.

       It’s easy to conclude, at the pleading stage, that the second category of conduct was not

disclosed. In fact, Facebook does not even argue that its users assented to this practice. The same

goes for the third category: although Facebook points to a section in its Data Use Policy entitled

“Service Providers” which says “we give your information to the people and companies that help

us provide, understand, and improve the services we offer,” that statement does not come close

to disclosing the massive information-sharing program with business partners that the plaintiffs

allege in the complaint. Thus, for the claims based on sharing with whitelisted apps and business

partners, Facebook cannot prevail on consent, at least at this stage.

       In contrast, the first category of conduct – allowing the Aleksandr Kogans of the world to

interact with users and obtain information of the users’ friends through those interactions – was

disclosed in the terms agreed to by Facebook users, at least for a portion of the period covered by

this lawsuit. To begin, the SRR told users: “You own all of the content and information you post

on Facebook, and you can control how it is shared through your privacy and application

settings.” Appendix A at 2. As mentioned previously, the SRR also flagged for users the

possibility that other people “may share” their information “with applications,” and instructed

users to read the Data Use Policy to learn more about this. Id. In turn, the Data Use Policy said
that “if you share something on Facebook anyone who can see it can share it with others,

including the games, applications, and websites they use.” Appendix B at 10. And it instructed:

“If you want to completely block applications from getting your information when your friends

and others use them, you will need to turn off all Platform applications. This means you will no

longer be able to use any third-party Facebook-integrated games, applications, or websites.” Id.

       Thus, contrary to the plaintiffs’ argument, the language of these disclosures cannot be

interpreted as misleading users into believing that they merely needed to adjust their privacy

settings to “friends only” to protect their sensitive information from being disseminated to app
developers. Users were told that they needed to adjust their application settings too. To be sure,


                                                 25
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 26
                                                                 148ofof71193




for the rare person who actually read the contractual language, it would have been difficult to

isolate and understand the pertinent language among all of Facebook’s complicated disclosures.

Thus, in reality, virtually no one “consented” in a layperson’s sense to Facebook’s dissemination

of this information to app developers. But under California law, users must be deemed to have

agreed to the language quoted in the preceding paragraph, which means that users who did not

properly adjust their application settings are deemed to have agreed that app developers could

access their information.13

       But there is a caveat. One inference from the complaint and the judicially noticeable

materials is that Facebook began to disclose this practice of giving app developers access to

friends’ information only around 2009. Thus, users who established Facebook accounts before

this time did not, at least based on the allegations in the complaint, agree to these terms when

they signed up. Facebook contends this does not matter, because those users agreed to be bound

by the SRR and Data Use Policy going forward, even when the terms changed. There appears to

be some disagreement in the courts about whether a unilateral modification provision of this sort

is permissible under California contract law, at least in circumstances where the party against

whom it is being asserted did not receive adequate notice of the modification. Compare Campos

v. JPMorgan Chase Bank, NA, 2019 WL 827634, at *10 (N.D. Cal. Feb. 21, 2019), with Rodman

13
   Incidentally, there is a pending case in which the Federal Trade Commission proposes a $5
billion civil penalty against Facebook, along with a 20-year consent decree. Stipulated Order for
Civil Penalty, Monetary Judgment, and Injunctive Relief, USA v. Facebook, Inc., No. 19-cv-
2184 (D.D.C. July 24, 2019). The lawsuit filed on behalf of the FTC accuses Facebook of,
among other things, failing to adequately disclose the practice of allowing app developers to
access user information through users’ friends. At first glance, this ruling’s conclusions
regarding consent might appear inconsistent with some of the allegations in the FTC lawsuit.
That lawsuit curiously neglects to mention the language that Facebook used in its Data Use
Policy, and therefore does not paint a complete picture of the communications between Facebook
and its users, at least with respect to users who signed up after 2009. But even considering the
disclosures in the Data Use Policy, the FTC’s position is not necessarily inconsistent with this
ruling. The FTC’s claims against Facebook are not based on California law; they are based on
alleged violations of the Federal Trade Commission Act and the earlier FTC consent order from
2012. While California law, for better or worse, allows Facebook to bury a disclosure of its
information-sharing practices in the fine print of its contractual language, the FTC consent order
required Facebook to disclose such practices prominently, in a way that would likely come to the
attention of Facebook users. More broadly, the consent order precluded Facebook from explicitly
or implicitly misrepresenting the extent to which the company protects user privacy.


                                                26
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 27
                                                                 149ofof71193




v. Safeway Inc., 2015 WL 604985, at *9-10 (N.D. Cal. Feb. 12, 2015), aff’d, 694 F. App’x 612

(9th Cir. 2017). But assuming for argument’s sake the general validity of Facebook’s unilateral

modification provision, it does not automatically follow that users consented to the particular

terms that Facebook subsequently added about sharing information with app developers. Even

the cases upholding unilateral modification provisions recognize that any authority to modify the

contract is constrained by the covenant of good faith and fair dealing. See, e.g., Campos, 2019

WL 827634, at *9. This means that a Facebook user, when consenting to the unilateral

modification provision, was consenting only to future modifications made in good faith.

According to the plaintiffs, Facebook made a massive change in its contract without directly

notifying its users, effectively adding a disclosure that “we will make your information readily

available to tens of thousands of app developers unless you take complicated measures to prevent

it.” If that’s true, it could very well constitute a breach of the covenant of good faith and fair

dealing, which would mean that the users didn’t consent to it.

       And users who did not agree to the practice in their contracts could have been kept

further in the dark about it by specific features of the Facebook platform. According to the

complaint, in 2009 Facebook added a feature for users to select their audience for specific posts,

choosing among “public,” “friends,” or a “custom” audience. Users were not informed, as part of

this selection process, that designation of a limited audience would not prevent app developers
from being part of that audience.

       Thus, at this stage, the Court cannot conclude as a matter of law that early Facebook

users consented to the later-announced information-sharing policy. This means that any plaintiff

who signed up before roughly 2009 may pursue claims based on this conduct (assuming they can

adequately allege the other elements of their claims).14

       The fourth category of alleged misconduct – failing to limit how third parties could use


14
  As previously mentioned, neither side has attempted to specify which plaintiffs may pursue
which claims, and it is unclear precisely when the disclosures changed on this issue; the parties
will have an opportunity to parse this out at a subsequent phase in the case.


                                                  27
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 28
                                                                 150ofof71193




the sensitive information they accessed – is also somewhat complicated. The Data Use Policy,

after explaining to users that applications could obtain their information from their friends, stated

as follows: “If an application asks permission from someone else to access your information, the

application will be allowed to use that information only in connection with the person that gave

the permission and no one else.” Appendix B at 10. The Policy gives an example of this: “one of

your friends might want to use a music application that allows them to see what their friends are

listening to. To get the full benefit of that application, your friend would want to give the

application her friend list – which includes your User ID – so the application knows which of her

friends is also using it.” Id. From this example, it seems clear that the phrase “the application will

be allowed to use that information only in connection with the person that gave the permission”

means that if an app developer accesses your information through interaction with one of your

Facebook friends, it may use your information only as part of its interaction with that friend. It

therefore may not sell your information, or use it to develop a digital dossier on you for future

targeted advertising.

       Less clear is what Facebook is promising to do to protect users. Facebook interprets the

disclosure to mean, in essence, “we tell app developers that they can only use your information

to facilitate their interactions with your friends, but you can’t really be sure they’ll honor that.”

Perhaps a reasonable Facebook user could interpret the disclosure that way, which would mean
that the user, upon agreeing to the Data Use Policy, assumed the risk that app developers would

misuse the information. In other words, on this interpretation, users consented to an arrangement

whereby app developers could end up obtaining their sensitive information for any purpose. But

recall that in the context of this motion to dismiss the plaintiffs may be deemed to have

consented to this arrangement only if that is the only plausible interpretation. It is not – there are

at least two others. One equally plausible interpretation of the disclosure is that it assures users

that Facebook is actively policing the activities of app developers on its platform, and thereby

successfully preventing sensitive information from being misappropriated. Another plausible
interpretation is that the word “allowed” references a technological block of sorts – that is,


                                                  28
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 29
                                                                 151ofof71193




perhaps a user could conclude that the Facebook platform has the ability to physically prevent

app developers from being able to “see” friend information outside the context of their

interactions with users. A user who has tried to access a fantasy football website at work, only to

see a message on his screen that he’s not “allowed” to access the site from that computer, might

interpret the disclosure this way. Indeed, the Data Use Policy elsewhere uses the word “allowed”

in a similar fashion, to connote a technological block. For example, it states: “If someone clicks

on a link to another person’s timeline, they’ll only see the things that they are allowed to see.”

Appendix B at 8. Thus, there are at least three plausible interpretations of the contract language,

two of which would lead to a conclusion that users did not consent but were misled, because

Facebook allegedly did nothing to enforce its purported policy against tens of thousands of app

developers who were freely making off with sensitive user information.15

       The bottom line on the issue of consent is this: the complaint plausibly alleges that some

users (and some plaintiffs) did not consent to the arrangement whereby app developers could

access their sensitive information simply by interacting with their friends. For the remaining

three categories of misconduct – sharing with whitelisted apps, sharing with business partners,

and failing to prevent misuse of information by third parties – the complaint plausibly alleges

that none of the users consented. The issue of consent therefore does not require dismissal in full

of any of the prioritized claims in this lawsuit.16


15
   Incidentally, with respect to the allegation that Facebook failed to restrict the use of
information by business partners (as opposed to app developers, to the extent those two
categories don’t overlap), it’s unclear whether this contract language applies at all. If it does not
apply, that would further weaken Facebook’s argument that users were on notice that the
company imposed no meaningful restriction on the use of information by business partners
(although it could also undermine the plaintiffs’ argument that Facebook committed a breach of
contract by failing to prevent business partners from misusing information). Whether this
language applies to restrictions on business partners, however, is not capable of firm resolution at
this stage.
16
   Facebook makes an additional argument that even if the plaintiffs didn’t explicitly consent to
the alleged conduct in contractual language, they did so implicitly because they were put on
notice of the conduct by Facebook’s non-contractual disclosures. That issue cannot be resolved
at the pleading stage in this case. See, e.g., In re Google Inc. Gmail Litigation, 2014 WL
1102660, at *16 (N.D. Cal. Mar. 18, 2014) (“Implied consent is an intensely factual question that
requires consideration of the circumstances . . . .”).


                                                  29
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 30
                                                                 152ofof71193




                                    V. INDIVIDUAL CLAIMS

       The various global issues having been addressed (and the complaint having been

narrowed, for now, to claims based on the plaintiffs’ core allegations), it becomes less difficult to

sift through the individual claims asserted by the plaintiffs. Most of the claims will survive. The

specific outcome for each claim is as follows:

       •   Facebook’s motion to dismiss is granted in part and denied in part for the three
           privacy-based torts asserted under California law (public disclosure of private facts,
           intrusion into private affairs, and violation of the constitutional right to privacy).

       •   The motion is granted in part and denied in part for the claim based on the federal
           Stored Communications Act.

       •   The motion is denied in full for the federal Video Privacy Protection Act claim.

       •   The motion is denied in full for the California claim based on negligence and gross
           negligence.

       •   For the California claims based on deceit by concealment, breach of contract, breach
           of the implied covenant of good faith and fair dealing, and unjust enrichment, the
           motion is granted in part and denied in part.

       •   The motion is granted in full for violation of the right of publicity and the Unfair
           Competition Law.

       Public disclosure of private facts. For this tort to give rise to liability, the following must

occur: (i) the defendant must disclose a private fact about the plaintiff; (ii) the private fact must
not be a matter of public concern; (iii) the disclosure must be to the public; and (iv) the

disclosure must be offensive and objectionable to a reasonable person. See Doe v. Gangland

Productions., Inc., 730 F.3d 946, 958 (9th Cir. 2013). The plaintiffs have adequately alleged that

Facebook engaged in this conduct.

       Facebook argues that the information about users that it disclosed to app developers was

not “private” because users had allowed their Facebook friends to access that information. But as

discussed in Section II, your sensitive information does not lose the label “private” simply
because your friends know about it. Your privacy interest in that information may diminish




                                                  30
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 31
                                                                153ofof71193




because you’ve shared it with your friends, but it does not necessarily disappear. For example,

the plaintiffs allege that app developers accessed information about their religious preferences

and political views. Your friends may know about your religious and political views, but the

widespread dissemination of them can still invade your privacy. The plaintiffs also allege that

some of the information app developers received would allow them to discern a user’s location

(for example, a post saying “Check out where I’m staying in June!”). If you’ve told your friends

where you’ll be at a particular time, that does not preclude a lawsuit based on the widespread,

nonconsensual distribution of that information.

       Facebook also argues that the user information was not disseminated to “the public.” This

is based on the erroneous assumption, already rejected in Section III, that the plaintiffs have

failed to allege with sufficient particularity that their information was disclosed to anyone other

than Aleksandr Kogan. And dissemination of your private information to tens of thousands of

individuals and companies is generally going to be equivalent to making that information

“public.” Perhaps Facebook could have made a better argument, which is that there’s a

difference between publicizing your sensitive information for actual human beings to scrutinize

(like, in a newspaper) and allowing your information to be added to the vast sea of “big data”

that computers rather than humans analyze for the purpose of sending targeted advertising on

behalf of companies. Perhaps there is an argument that the former is the “public disclosure” of
information within the meaning of California law while the latter is not. But that is not an issue

that can be resolved at this stage of the litigation: Facebook does not pursue this argument, and in

any event the plaintiffs do not allege that their information was merely subject to relatively

anonymous computer analysis.

       Finally, Facebook contends that its disclosure of sensitive user information to app

developers and business partners would not be offensive to a reasonable person. Facebook makes

a similar argument for the next two claims discussed below (intrusion into private affairs and the

constitutional right to privacy), because those claims also require the plaintiff to allege (and
eventually prove) that the privacy violation was a serious breach of social norms. “Sharing is the


                                                  31
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 32
                                                                 154ofof71193




social norm undergirding Facebook,” the company argues, “and Facebook did not breach that

social norm by sharing user data consistent with users’ preferences.” Motion to Dismiss at 41,

Dkt. No. 261-1. There are a number of problems with this assertion. First, it again erroneously

assumes a “norm” that there is no privacy interest in the information kept on social media. The

social norm Facebook created with its product is purposefully sharing with one’s friends, not

having one’s information shared by Facebook with unknown companies and individuals. Second,

it assumes that users consented to the widespread disclosure of their sensitive information, but

the plaintiffs have adequately alleged that they didn’t. Thus, at this stage of the case, the

plaintiffs have adequately alleged that Facebook’s conduct was offensive and an egregious

breach of social norms: it disclosed to tens of thousands of app developers and business partners

sensitive information about them without their consent, including their photos, religious

preferences, video-watching habits, relationships, and information that could reveal location. It

even allegedly disclosed the contents of communications between two people on Facebook’s

ostensibly private messenger system.17

       The motion to dismiss this claim is granted with respect to the first category of conduct

for plaintiffs who consented to this conduct, as discussed in Section IV. It is denied in all other

respects.18

       Intrusion on private affairs and violation of the constitutional right to privacy. The
analysis for these two tort claims is functionally identical, even though each claim is described

somewhat differently in the case law. “When both claims are present, courts conduct a combined

inquiry that considers (1) the nature of any intrusion upon reasonable expectations of privacy,

and (2) the offensiveness or seriousness of the intrusion, including any justification or other

relevant interests.” In re Facebook Internet Tracking Litigation, 263 F. Supp. 3d 836, 846 (N.D.


17
   The “big data” concept referenced in the preceding paragraph may also have relevance to
whether the privacy invasion is “offensive or serious,” but not at this stage.
18
   Unless stated otherwise, dismissal is without leave to amend because the Court cannot
conceive of a way the plaintiffs could successfully amend the claim based on the particular
factual theory involved.


                                                  32
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 33
                                                                 155ofof71193




Cal. 2017) (internal quotations omitted). Under California law, courts must be reluctant to reach

a conclusion at the pleading stage about how offensive or serious the privacy intrusion is.

Williams v. Facebook, Inc., 384 F. Supp. 3d 1043, 1054 (N.D. Cal. 2018) (Whether conduct rises

to the level of highly offensive “is indeed a factual question best left for a jury.” (internal

quotations omitted)); Opperman v. Path, Inc., 205 F. Supp. 3d 1064, 1080 (N.D. Cal. 2016) (“A

judge should be cautious before substituting his or her judgment for that of the community.”).

For the reasons already discussed, the plaintiffs have adequately alleged that they suffered an

egregious invasion of their privacy when Facebook gave app developers and business partners

their sensitive information on a widespread basis.

       The motion to dismiss this claim is granted with respect to the first category of conduct

for plaintiffs who consented to this conduct, as discussed in Section IV. It is denied in all other

respects.

       Stored Communications Act. The Stored Communications Act (“SCA”) is a federal law

that restricts when a computer service provider like Facebook may share the contents of a

communication with someone who is not party to that communication. See 18 U.S.C. § 2702.

The plaintiffs have plausibly alleged that Facebook violated the SCA.

       Facebook notes that there is an exception to SCA liability when one of the parties to the

communication consents to its disclosure by the computer service provider. 18 U.S.C.
§ 2702(b)(3). In the social media context, this means that whenever people make information

available to one another, there is no SCA violation if one of those people consents to the

disclosure of the information. Facebook contends that this exception applies here, because even

if a user didn’t directly consent to Facebook’s disclosure of information to app developers, the

user’s friend consented when that friend interacted with the app.

       There are two problems with this argument, at least at the pleading stage. First, it does

not respond to the allegations about Facebook’s decision to share user information with

whitelisted apps starting in 2015 or with business partners – nothing in the complaint or the
judicially noticeable material would permit a conclusion that either a plaintiff or a plaintiff’s


                                                  33
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 34
                                                                156ofof71193




Facebook friend permitted disclosure to those entities. Second, as to the typical app developer, as

discussed in Section IV, plaintiffs who signed up for Facebook before 2009 did not (if the

allegations of the complaint are to be believed) authorize Facebook to share information through

their friends with app developers. Nor is there a basis to conclude as a matter of law that their

friends authorized the app developers to receive this information. Neither side describes with any

specificity the dialogue that would have taken place between the friend and the app developer

that resulted in the app developer’s acquisition of communications that would otherwise be

protected by the SCA.

       The motion to dismiss this claim is granted with respect to the first category of conduct

for plaintiffs who consented to this conduct, as discussed in Section IV. It is denied in all other

respects.

       Video Privacy Protection Act. The Video Privacy Protection Act (“VPPA”) was passed

by Congress after a newspaper published a Supreme Court nominee’s video rental history. The

statute prohibits knowing disclosure of “personally identifiable information” by a “video tape

service provider.” 18 U.S.C. § 2710. The plaintiffs have adequately alleged that Facebook

violated the VPPA.

       Facebook first contends that the user information it shared with app developers,

whitelisted apps, and business partners is not “personally identifiable information.” But the
VPPA defines this broadly as “information which identifies a person as having requested or

obtained specific video materials or services. . . .” 18 U.S.C. § 2710(a)(3). Or as the Ninth

Circuit has put it, “information that would readily permit an ordinary person to identify a specific

individual’s video-watching behavior.” Eichenberger, 876 F.3d 979, 985 (9th Cir. 2017)

(quotations omitted). The plaintiffs adequately allege that Facebook regularly shared information

about the videos that users received in their private messages and about videos they “liked.”

Complaint ¶¶ 424, 867, 868. And it is reasonable to infer, at least at the pleading stage, that when

a user receives a video or likes a video, he watches the video, such that this information sheds
significant light on his video-watching behavior.


                                                 34
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 35
                                                                 157ofof71193




       Facebook also contends it is not a “video tape service provider” within the meaning of

the VPPA, but that too cannot be decided in Facebook’s favor on this motion to dismiss. The

statute defines a video tape service provider as anyone “engaged in the business . . . of rental,

sale, or delivery of prerecorded video cassette tapes or similar audio visual materials . . . .” 18

U.S.C. § 2710(a)(4) (emphasis added).19 The plaintiffs allege that Facebook “regularly delivers”

video content to users and maintains a cache of videos and visual materials, including from

content providers like Netflix, for their delivery to users. Complaint ¶¶ 862, 864. Although one

could imagine a different conclusion at summary judgment once the evidence is examined, it is

plausible to conclude from these and related allegations that Facebook engages in the business of

delivering audio visual materials, and that its business is “significantly tailored to serve that

purpose.” See, e.g., In re Vizio, Inc., Consumer Privacy Litigation, 238 F. Supp. 3d 1204, 1221

(C.D. Cal. 2017).

       Facebook also did not obtain the type of consent necessary to authorize the sharing of this

information. The VPPA outlines specific requirements for consent in the context of sharing

video-information, including that it be set out in a separate form. See 18 U.S.C. § 2710(b)(2)(B).

Facebook does not argue that it obtained this type of consent from its users. Therefore, even

beyond the reasons discussed in Section IV relating to consent more generally, the plaintiffs

adequately allege that they did not consent within the meaning of the VPPA, and this applies to
all the information-sharing, for all time periods, discussed in this ruling.

       The motion to dismiss this claim is denied.

       Negligence and Gross Negligence. Negligence has four elements under California law:

duty, breach, causation, and injury. See Vasilenko v. Grace Family Church, 3 Cal. 5th 1077,

1083 (2017). The plaintiffs’ negligence claim is based on the fourth category of conduct, and it

adequately alleges each of the required elements as to that conduct. As discussed at length above,



19
  There is no dispute in this motion that at least some video files that get distributed on
Facebook’s platform qualify as “similar audio visual materials.” 18 U.S.C. § 2710(a)(4).


                                                  35
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 36
                                                                 158ofof71193




the plaintiffs have alleged present and non-speculative privacy injuries.20 The plaintiffs have also

plausibly alleged that Facebook breached a duty to them. Facebook had a responsibility to handle

its users’ sensitive information with care. See Bass v. Facebook, Inc., 2019 WL 2568799, at *10

(N.D. Cal. June 21, 2019). And contrary to Facebook’s argument, the plaintiffs do not seek to

hold Facebook liable for the conduct of the app developers and business partners; they seek to

hold the company liable for its own misconduct with respect to their information. Specifically,

the plaintiffs allege that they entrusted Facebook with their sensitive information, and that

Facebook failed to use reasonable care to safeguard that information, giving third parties access

to it without taking any precautions to constrain that access to protect the plaintiffs’ privacy,

despite assurances it would do so. This lawsuit is first and foremost about how Facebook handled

its users’ information, not about what third parties did once they got hold of it.

       The various exculpatory clauses in Facebook’s terms also do not require dismissing the

negligence claim. While such clauses can successfully waive liability for ordinary negligence,

California law forbids limiting liability for gross negligence. City of Santa Barbara v. Superior

Court, 41 Cal. 4th 747, 777 (2007) (“[P]ublic policy generally precludes enforcement of an

agreement that would remove an obligation to adhere to even a minimal standard of care.”). The

complaint plausibly alleges gross negligence, since it contends that Facebook did essentially

nothing to safeguard users’ information – conduct that might well be characterized as lacking
“even scant care.” Id. at 754. Ordinary and gross negligence are not separate causes of action in

California. See Nypl v. Crisis Prevention Institute, 2018 WL 4488760, at *9 n.6 (N.D. Cal. Sept.

17, 2018). Thus, the applicability of the waiver will turn at least in part on the degree of

negligence (if any) that the plaintiffs can ultimately prove.

       The motion to dismiss this claim is denied.

20
  The parties’ briefs focus on the economic loss rule, which governs the availability of recovery
for purely economic losses in a tort action. But as previously discussed, the plaintiffs’ allegations
of various sorts of economic injury are too speculative to support either standing or substantive
legal claims. The economic loss rule is therefore irrelevant. There perhaps remains a question
whether the plaintiffs can recover for their intangible injuries on a negligence theory, but the
parties haven’t briefed this issue, and its resolution may require further factual development.


                                                 36
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 37
                                                                 159ofof71193




       Deceit by concealment or omission. For a defendant to be liable for deceit by

concealment under California law, a variety of things must have occurred. See Cal. Civ. Code

§§ 1709-1710. First, the defendant must have: (i) had a duty to disclose a material fact to the

plaintiff; and (ii) intentionally concealed that fact with intent to defraud the plaintiff. Tae Youn

Shim v. Lawler, 2019 WL 2996443, at *17 (N.D. Cal. July 9, 2019). In addition, the plaintiff

must have: (iii) been unaware of that fact (and would have acted differently if he were aware),

and (iv) sustained some damage as a result. See id; see also Cal. Civ. Code § 1710(3). Because

this claim sounds in fraud, the plaintiffs are subject to a heightened pleading standard, which

means that they “must state with particularity the circumstances constituting fraud . . . .” See

Federal Rules of Civil Procedure 9(b).

       With respect to the allegations that Facebook improperly shared information with

standard app developers and failed to prevent third parties from improperly using sensitive

information, the plaintiffs have not satisfied the heightened pleading requirements necessary to

state a claim for deceit by concealment.21 However, if the plaintiffs’ allegations are true,

Facebook’s conduct with respect to whitelisted apps and business partners crosses into the realm

of fraudulent conduct. As discussed earlier, the plaintiffs have sufficiently alleged that their

privacy interests were harmed through the disclosure of their information to these entities. The

plaintiffs have also adequately alleged that Facebook intended to defraud its users regarding this
conduct: the plaintiffs contrast Facebook’s public-facing statements about protecting privacy and

restricting information-sharing with the reality of Facebook’s alleged practices, and that contrast

is a sufficient basis from which to infer fraudulent intent at the pleading stage.

       As with the negligence claim, Facebook is wrong to assert that its exculpatory clause

relieves it from liability for this claim. Under California law, Facebook’s exculpatory clause does

not apply to a claim sounding in fraud such as deceit by concealment. See Cal. Civ. Code § 1668

21
  Of course, dismissal of a subset of claims with prejudice does not preclude a plaintiff from
seeking revival if discovery reveals a factual basis that justifies reconsideration of this order. See
Fed. R. Civ. P. 54(b); WPP Luxembourg Gamma Three Sarl v. Spot Runner, Inc., 655 F.3d 1039,
1059 (9th Cir. 2011), abrogated on other grounds by Lorenzo v. SEC, 139 S. Ct. 1094 (2019).


                                                  37
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 38
                                                                160ofof71193




(“All contracts which have for their object, directly or indirectly, to exempt anyone from

responsibility for his own fraud, or willful injury to the person or property of another, or

violation of law, whether willful or negligent, are against the policy of the law.”); see also, e.g.,

Manderville v. PCG&S Group, Inc., 146 Cal. App. 4th 1486, 1500 (2007) (“It is well-established

in California that a party to a contract is precluded under section 1668 from contracting away his

or her liability for fraud or deceit based on intentional misrepresentation.”).

       The motion to dismiss is granted with respect to the first and fourth categories of conduct,

and denied with respect to the second and third categories of conduct.

       Breach of contract. The elements for breach of contract under California law are: (i) the

existence of a contract; (ii) the plaintiff’s performance or excuse for nonperformance of its side

of the agreement; (iii) the defendant’s breach; and (iv) resulting damage to the plaintiff. See

Buschman v. Anesthesia Bus. Consultants LLC, 42 F. Supp. 3d 1244, 1250 (N.D. Cal. 2014).

       As discussed in Section IV, the contract between Facebook and its users does not merely

consist of the SRR, as the plaintiffs contend. It also includes the Data Use Policy. This makes it

somewhat challenging to discern whether the plaintiffs have adequately alleged claims for breach

of contract, because the plaintiffs’ arguments are largely based on the assumption that the Data

Use Policy is not part of the contract. Nonetheless, once it’s understood that the Policy is part of

the contract, it becomes clear that the second, third, and fourth categories of alleged wrongdoing
addressed in this ruling give rise to claims for breach of contract. See Johnson v. City of Shelby,

574 U.S. 10, 10 (2014) (per curiam) (“Federal pleading rules . . . do not countenance dismissal

of a complaint for imperfect statement of the legal theory supporting the claim asserted.”);

Skinner v. Switzer, 562 U.S. 521, 530 (2011) (“[U]nder the Federal Rules of Civil Procedure,

a complaint need not pin plaintiff's claim for relief to a precise legal theory.”). The SRR states:

“You own all of the content and information you post on Facebook, and you can control how it is

shared through your privacy and application settings.” Appendix A at 2. The plaintiffs have

adequately alleged that Facebook breached this promise when it disclosed user information to
whitelisted apps and business partners without permission, and without giving the plaintiffs the


                                                  38
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 39
                                                                161ofof71193




ability to prevent this disclosure. In addition, for the allegations that Facebook allowed

companies to misuse the information, the complaint sufficiently alleges that Facebook did not

fulfill its promise in the Data Use Policy that apps would be allowed to use information “only in

connection with” that user’s friends. Complaint ¶ 569; Appendix B at 10.

       In contrast, the plaintiffs have not adequately alleged a breach of contract based on the

first category of wrongdoing: allowing standard app developers to obtain user information

through users’ friends. As discussed in Section IV, Facebook began disclosing this practice in its

contractual language starting in roughly 2009, which means that this conduct does not give rise

to a breach of contract claim for users who established their Facebook accounts after that time.

For users who established their accounts beforehand, the complaint plausibly alleges that the

practice wasn’t disclosed. But simple failure to disclose a practice doesn’t constitute a breach of

contract. And although it’s certainly conceivable that the practice violated provisions of

Facebook’s earlier contractual language, the plaintiffs do not identify or rely on any such

language in their complaint. Therefore, for all plaintiffs, the complaint does not articulate a

breach of contract theory based on the disclosure of sensitive user information to standard app

developers, even though the complaint alleges that some users didn’t consent to it.

       Facebook argues that the plaintiffs have not adequately alleged that they were damaged

by any breaches. But that is wrong. The plaintiffs can seek damages for “the detriment caused by
the breach.” Stephens v. City of Vista, 994 F.2d 650, 657 (9th Cir. 1993). As discussed in

Sections II and III, the detriment the plaintiffs suffered was an invasion of their privacy. Perhaps

some of the individual plaintiffs suffered a harm from this privacy invasion that can be measured

by compensatory damages. See, e.g., Windeler v. Scheers Jewelers, 8 Cal. App. 3d 844, 850-52

(Cal. Ct. App. 1970); Leavy v. Cooney, 214 Cal. App. 2d 496, 501-02 (Cal. Ct. App. 1963).

Perhaps others did not, but under California law even those plaintiffs may recover nominal

damages. Judicial Council of California Civil Jury Instruction 360; In re Facebook Privacy

Litigation, 192 F. Supp. 3d 1053, 1062 (N.D. Cal. 2016).
       The motion to dismiss this claim is granted with respect to the first category of


                                                 39
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 40
                                                                 162ofof71193




wrongdoing. Because it is possible that the complaint could be amended to allege a breach of

contract claim for plaintiffs who established their accounts before Facebook disclosed the

practice, dismissal is with leave to amend for these plaintiffs only. The motion to dismiss this

claim is denied in all other respects.

        Breach of the implied covenant of good faith and fair dealing. In addition to explicit

promises, every contract includes an implicit promise not to take an action that would deprive the

other contracting party of the benefits of their agreement. See Rockridge Trust v. Wells Fargo,

N.A., 985 F. Supp. 2d 1110, 1156 (N.D. Cal. 2013). This obligation is known as the “implied

covenant of good faith and fair dealing,” and it protects the parties’ “reasonable expectations . . .

based on their mutual promises.” Digerati Holdings, LLC v. Young Money Entertainment, LLC,

194 Cal. App. 4th 873, 885 (2011). To state a claim for breach of this implied promise, “a

plaintiff must identify the specific contractual provision that was frustrated” by the defendant’s

conduct. Perez v. Wells Fargo Bank, N.A., 2011 WL 3809808, at *18 (N.D. Cal. Aug. 29, 2011).

This doctrine cannot, however, “impose substantive duties or limits on the contracting parties

beyond those incorporated in the specific terms of their agreement.” Guz v. Bechtel National

Inc., 24 Cal. 4th 317, 350 (2000).

        Just as they’ve stated claims for breach of contract with respect to the second, third, and

fourth categories of conduct, the plaintiffs have stated claims for breach of the implied covenant
of good faith and fair dealing for that conduct. Indeed, the case for breach of the implied

covenant is stronger, because even if Facebook were, at a later stage in the litigation, able to

identify a technical argument for why it did not quite violate the literal terms of its contract with

its users, it would be difficult to conclude (if the factual allegations in the complaint are true) that

Facebook did not frustrate the purposes of the contract, and intentionally so. But for the first

category of conduct, the plaintiffs have not offered sufficient information about the earlier

contractual language to assess whether the conduct frustrated the purpose of Facebook’s contract

with its users.
        Accordingly, with respect to the first category of conduct, this claim for breach of the


                                                  40
     Case 3:18-md-02843-VC
       Case  3:18-md-02843-VCDocument 906-13
                               Document      Filed 09/09/19
                                        298 Filed  04/01/22 Page
                                                            Page 41
                                                                 163ofof71193




implied covenant is, along with the parallel claim for breach of contract, dismissed. Dismissal is

with leave to amend for plaintiffs who signed up before the information-sharing practice was

included in the contractual language, and without leave to amend for those who signed up after it

was disclosed.22

       Unjust Enrichment. The plaintiffs also state a claim for unjust enrichment. Specifically,

they allege that even if they have no remedy for breach of contract, they should be able to

recover amounts that Facebook gained by improperly disseminating their information. The

plaintiffs are permitted to plead claims for breach of contract and unjust enrichment in the

alternative. Bruton v. Gerber Production Co., 703 F. App’x 468 (9th Cir. 2017); In re Vizio, Inc.,

Consumer Privacy Litigation, 238 F. Supp. 3d 1204, 1233 (C.D. Cal. 2017); Hartford Casualty

Insurance Co. v. J.R. Marketing., L.L.C., 61 Cal. 4th 988, 998 (2015). And even if the plaintiffs

suffered no economic loss from the disclosure of their information, they may proceed at this

stage on a claim for unjust enrichment to recover the gains that Facebook realized from its

allegedly improper conduct. See Hadley v. Kellogg Sales Co., 324 F. Supp. 3d 1084, 1113 (N.D.

Cal. 2018).23 The motion to dismiss this claim is granted as to the plaintiffs who consented as

discussed in Section IV, but otherwise denied.

       Right of Publicity. California’s common law right of publicity makes unlawful the

appropriation of someone’s name or likeness without his consent when it both (1) injures that
person and (2) is used to the defendant’s advantage. See Perkins v. LinkedIn Corp., 53 F. Supp.

3d 1190, 1214 (N.D. Cal. 2014).

       Facebook’s motion to dismiss this claim is granted. The allegations about how Facebook

shared the plaintiffs’ information with third parties is categorically different from the type of

22
   The Court will likely stay, along with the other non-prioritized claims, the claims that this
ruling dismisses with leave to amend, although the Court will discuss this matter with the parties
at the next case management conference.
23
   The complaint, in articulating the unjust enrichment claim, frequently uses the term “quantum
meruit.” It appears that the complaint uses this term incorrectly; no true theory of quantum
meruit recovery has been articulated by the plaintiffs. See Maglica v. Maglica, 66 Cal. App. 4th
442, 449 (Cal. Ct. App. 1998) (describing quantum meruit as recovery of “the reasonable value
of the services rendered provided they were of direct benefit to the defendant.”).


                                                 41
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 42
                                                                164ofof71193




conduct made unlawful by this tort, such as using a plaintiff’s face or name to promote a product

or service. See Comedy III Productions., Inc. v. Gary Saderup, Inc., 25 Cal. 4th 387, 399 (2001)

(“The right of publicity, like copyright, protects a form of intellectual property that society

deems to have some social utility. Often considerable money, time and energy are needed to

develop one’s prominence in a particular field. Years of labor may be required before one’s skill,

reputation, notoriety or virtues are sufficiently developed to permit an economic return through

some medium of commercial promotion.” (internal quotations omitted)); see also Abdul-Jabbar

v. General Motors Corp., 85 F.3d 407, 415 (9th Cir. 1996); cf. Perkins v. LinkedIn Corp., 53 F.

Supp. 3d 1190, 1217 (N.D. Cal. 2014). Because the Court cannot conceive of a way that the

plaintiffs could successfully allege this claim, dismissal is without leave to amend.

       California’s Unfair Competition Law. California’s Unfair Competition Law (“UCL”)

prohibits business practices that are unlawful, unfair, or fraudulent. See Cal. Bus. & Prof. Code

§ 17200, et seq. To have standing under California law to pursue this claim (a standard that is

different from Article III standing), the plaintiffs must show that they “lost money or property”

because of Facebook’s conduct. See Cal. Bus. & Prof. Code § 17204; see also Kwikset Corp. v.

Superior Court, 51 Cal. 4th 310, 317 (2011). The plaintiffs’ UCL claim fails because they have

not adequately alleged lost money or property. As discussed in Section III, the plaintiffs’ theory

of economic loss is purely hypothetical. It’s true, as discussed in connection with the unjust
enrichment claim, that Facebook may have gained money through its sharing or use of the

plaintiffs’ information, but that’s different from saying the plaintiffs lost money. Further, the

plaintiffs here do not allege that they paid any premiums (or any money at all) to Facebook to

potentially give rise to standing under California law. Compare In re Anthem, Inc. Data Breach

Litigation, 2016 WL 3029783, at *30 (N.D. Cal. May 27, 2016). This claim is also dismissed

without leave to amend.

                                            VI. CONCLUSION

       The motion to dismiss is granted in part and denied in part. The deadline for Facebook to
file an answer to the complaint, along with all other scheduling matters, will be discussed at a


                                                 42
    Case 3:18-md-02843-VC
      Case  3:18-md-02843-VCDocument 906-13
                              Document      Filed 09/09/19
                                       298 Filed  04/01/22 Page
                                                           Page 43
                                                                165ofof71193




case management conference on October 1, 2019 at 2:00 p.m. The parties should file a joint case

management statement by September 24, 2019.

       IT IS SO ORDERED.


Dated: September 9, 2019
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge




                                              43
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument 906-13
                          Document      Filed 09/09/19
                                   298 Filed  04/01/22 Page
                                                       Page 44
                                                            166ofof71193




                    Appendix A




                                   1
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument 906-13
                          Document      Filed 09/09/19
                                   298 Filed  04/01/22 Page
                                                       Page 45
                                                            167ofof71193

     This agreement was written in English (US). To the extent any translated
     version of this agreement conflicts with the English version, the English
     version controls. Please note that Section 16 contains certain changes to
     the general terms for users outside the United States.

     Date of Last Revision: June 8, 2012.


    Statement of Rights and Responsibilities


     This Statement of Rights and Responsibilities ("Statement," "Terms," or
     "SRR") derives from the Facebook Principles, and is our terms of service
     that governs our relationship with users and others who interact with
     Facebook. By using or accessing Facebook, you agree to this Statement, as
     updated from time to time in accordance with Section 14 below.
     Additionally, you will find resources at the end of this document that help
     you understand how Facebook works.

       1. Privacy

           Your privacy is very important to us. We designed our Data Use
           Policy to make important disclosures about how you can use
           Facebook to share with others and how we collect and can use your
           content and information. We encourage you to read the Data Use
           Policy, and to use it to help you make informed decisions.


       2. Sharing Your Content and Information

           You own all of the content and information you post on Facebook,
           and you can control how it is shared through your privacy and
           application settings. In addition:
             1. For content that is covered by intellectual property rights, like
                  photos and videos (IP content), you specifically give us the
                  following permission, subject to your privacy and application
                  settings: you grant us a non-exclusive, transferable, sub-
                 licensable, royalty-free, worldwide license to use any IP
                  content that you post on or in connection with Facebook (IP
                  License). This IP License ends when you delete your IP
                  content or your account unless your content has been shared
                  with others, and they have not deleted it.
             2. When you delete IP content, it is deleted in a manner similar to
                  emptying the recycle bin on a computer. However, you
                  understand that removed content may persist in backup copies
                  for a reasonable period of time (but will not be available to
                  others).
             3. When you use an application, the application may ask for your
                  permission to access your content and information as well as
                  content and information that others have shared with you. We
                  require applications to respect your privacy, and your
                  agreement with that application will control how the
                  application can use, store, and transfer that content and
                  information. (To learn more about Platform, including how
                  you can control what information other people may share with
                  applications, read our Data Use Policy and Platform Page.)
             4. When you publish content or information using the Public
                  setting, it means that you are allowing everyone, including
                  people off of Facebook, to access and use that information,

                                           2
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument
                              Document  906-13     Filed 09/09/19
                                           298 Filed     04/01/22 Page
                                                                    Page 46
                                                                          168ofof71193
                and to associate it with you (i.e., your name and profile
                picture).
             5. We always appreciate your feedback or other suggestions
                about Facebook, but you understand that we may use them
                without any obligation to compensate you for them (just as
                you have no obligation to offer them).


        3. Safety

            We do our best to keep Facebook safe, but we cannot guarantee it.
            We need your help to keep Facebook safe, which includes the
            following commitments by you:
               1. You will not post unauthorized commercial communications
                  (such as spam) on Facebook.
               2. You will not collect users' content or information, or otherwise
                  access Facebook, using automated means (such as harvesting
                  bots, robots, spiders, or scrapers) without our prior
                  permission.
               3. You will not engage in unlawful multi-level marketing, such as
                  a pyramid scheme, on Facebook.
               4. You will not upload viruses or other malicious code.
               5. You will not solicit login information or access an account
                  belonging to someone else.
               6. You will not bully, intimidate, or harass any user.
               7. You will not post content that: is hate speech, threatening, or
                  pornographic; incites violence; or contains nudity or graphic
                  or gratuitous violence.
               8. You will not develop or operate a third-party application
                  containing alcohol-related, dating or other mature content
                  (including advertisements) without appropriate age-based
                  restrictions.
               9. You will follow our Promotions Guidelines and all applicable
                  laws if you publicize or offer any contest, giveaway, or
                  sweepstakes (“promotion”) on Facebook.
             10. You will not use Facebook to do anything unlawful,
                  misleading, malicious, or discriminatory.
             11. You will not do anything that could disable, overburden, or
                  impair the proper working or appearance of Facebook, such as
                  a denial of service attack or interference with page rendering
                  or other Facebook functionality.
             12. You will not facilitate or encourage any violations of this
                  Statement or our policies.


        4. Registration and Account Security

            Facebook users provide their real names and information, and we
            need your help to keep it that way. Here are some commitments you
            make to us relating to registering and maintaining the security of
            your account:
              1. You will not provide any false personal information on
                  Facebook, or create an account for anyone other than yourself
                  without permission.
              2. You will not create more than one personal account.
              3. If we disable your account, you will not create another one
                  without our permission.
              4. You will not use your personal timeline for your own
                  commercial gain (such as selling your status update to an
                  advertiser).

                                          3
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument Document906-13     Filed 09/09/19
                                             298 Filed    04/01/22 Page
                                                                     Page 47169ofof71193
             5. You will not use Facebook if you are under 13.
             6. You will not use Facebook if you are a convicted sex offender.
             7. You will keep your contact information accurate and up-to-
                date.
             8. You will not share your password (or in the case of developers,
                 your secret key), let anyone else access your account, or do
                 anything else that might jeopardize the security of your
                 account.
             9. You will not transfer your account (including any Page or
                 application you administer) to anyone without first getting our
                 written permission.
            10. If you select a username or similar identifier for your account
                 or Page, we reserve the right to remove or reclaim it if we
                 believe it is appropriate (such as when a trademark owner
                 complains about a username that does not closely relate to a
                 user's actual name).


         5. Protecting Other People's Rights

            We respect other people's rights, and expect you to do the same.
             1. You will not post content or take any action on Facebook that
                 infringes or violates someone else's rights or otherwise
                 violates the law.
             2. We can remove any content or information you post on
                 Facebook if we believe that it violates this Statement or our
                 policies.
             3. We provide you with tools to help you protect your intellectual
                 property rights. To learn more, visit our How to Report
                 Claims of Intellectual Property Infringement page.
             4. If we remove your content for infringing someone else's
                 copyright, and you believe we removed it by mistake, we will
                 provide you with an opportunity to appeal.
             5. If you repeatedly infringe other people's intellectual property
                 rights, we will disable your account when appropriate.
             6. You will not use our copyrights or trademarks (including
                 Facebook, the Facebook and F Logos, FB, Face, Poke, Book
                 and Wall), or any confusingly similar marks, except as
                 expressly permitted by our Brand Usage Guidelines or with
                 our prior written permission.
             7. If you collect information from users, you will: obtain their
                 consent, make it clear you (and not Facebook) are the one
                 collecting their information, and post a privacy policy
                 explaining what information you collect and how you will use
                 it.
             8. You will not post anyone's identification documents or
                 sensitive financial information on Facebook.
             9. You will not tag users or send email invitations to non-users
                 without their consent. Facebook offers social reporting tools
                 to enable users to provide feedback about tagging.


         6. Mobile and Other Devices

               1. We currently provide our mobile services for free, but please
                   be aware that your carrier's normal rates and fees, such as text
                   messaging fees, will still apply.
               2. In the event you change or deactivate your mobile telephone
                   number, you will update your account information on
                   Facebook within 48 hours to ensure that your messages are

                                           4
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument
                               Document 906-13    Filed 09/09/19
                                           298 Filed    04/01/22 Page
                                                                   Page 48
                                                                         170ofof71193
                not sent to the person who acquires your old number.
             3. You provide consent and all rights necessary to enable users to
                sync (including through an application) their devices with any
                information that is visible to them on Facebook.


        7. Payments

            If you make a payment on Facebook or use Facebook Credits, you
            agree to our Payments Terms.


        8. Special Provisions Applicable to Social Plugins

            If you include our Social Plugins, such as the Share or Like buttons
            on your website, the following additional terms apply to you:
               1. We give you permission to use Facebook's Social Plugins so
                  that users can post links or content from your website on
                  Facebook.
               2. You give us permission to use and allow others to use such
                  links and content on Facebook.
               3. You will not place a Social Plugin on any page containing
                  content that would violate this Statement if posted on
                  Facebook.


        9. Special Provisions Applicable to Developers/Operators of
           Applications and Websites

            If you are a developer or operator of a Platform application or
            website, the following additional terms apply to you:
               1. You are responsible for your application and its content and all
                  uses you make of Platform. This includes ensuring your
                  application or use of Platform meets our Facebook Platform
                  Policies and our Advertising Guidelines.
               2. Your access to and use of data you receive from Facebook,
                  will be limited as follows:
                     1. You will only request data you need to operate your
                         application.
                     2. You will have a privacy policy that tells users what user
                         data you are going to use and how you will use, display,
                         share, or transfer that data and you will include your
                         privacy policy URL in the Developer Application.
                     3. You will not use, display, share, or transfer a user’s data
                         in a manner inconsistent with your privacy policy.
                     4. You will delete all data you receive from us concerning
                         a user if the user asks you to do so, and will provide a
                         mechanism for users to make such a request.
                     5. You will not include data you receive from us
                         concerning a user in any advertising creative.
                     6. You will not directly or indirectly transfer any data you
                         receive from us to (or use such data in connection with)
                         any ad network, ad exchange, data broker, or other
                         advertising related toolset, even if a user consents to
                         that transfer or use.
                     7. You will not sell user data. If you are acquired by or
                         merge with a third party, you can continue to use user
                         data within your application, but you cannot transfer
                         user data outside of your application.
                     8. We can require you to delete user data if you use it in a

                                           5
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument
                               Document  906-13    Filed 09/09/19
                                             298 Filed    04/01/22 Page
                                                                     Page 49171ofof71193
                       way that we determine is inconsistent with users’
                       expectations.
                   9. We can limit your access to data.
                  10. You will comply with all other restrictions contained in
                       our Facebook Platform Policies.
             3. You will not give us information that you independently
                collect from a user or a user's content without that user's
                consent.
             4. You will make it easy for users to remove or disconnect from
                your application.
             5. You will make it easy for users to contact you. We can also
                share your email address with users and others claiming that
                you have infringed or otherwise violated their rights.
             6. You will provide customer support for your application.
             7. You will not show third party ads or web search boxes on
                www.facebook.com.
             8. We give you all rights necessary to use the code, APIs, data,
                and tools you receive from us.
             9. You will not sell, transfer, or sublicense our code, APIs, or
                tools to anyone.
            10. You will not misrepresent your relationship with Facebook to
                others.
            11. You may use the logos we make available to developers or
                issue a press release or other public statement so long as you
                follow our Facebook Platform Policies.
            12. We can issue a press release describing our relationship with
                you.
            13. You will comply with all applicable laws. In particular you
                will (if applicable):
                   1. have a policy for removing infringing content and
                       terminating repeat infringers that complies with the
                       Digital Millennium Copyright Act.
                   2. comply with the Video Privacy Protection Act (VPPA),
                       and obtain any opt-in consent necessary from users so
                       that user data subject to the VPPA may be shared on
                       Facebook. You represent that any disclosure to us will
                       not be incidental to the ordinary course of your
                       business.
            14. We do not guarantee that Platform will always be free.
            15. You give us all rights necessary to enable your application to
                work with Facebook, including the right to incorporate
                content and information you provide to us into streams,
                timelines, and user action stories.
            16. You give us the right to link to or frame your application, and
                place content, including ads, around your application.
            17. We can analyze your application, content, and data for any
                purpose, including commercial (such as for targeting the
                delivery of advertisements and indexing content for search).
            18. To ensure your application is safe for users, we can audit it.
            19. We can create applications that offer similar features and
                services to, or otherwise compete with, your application.


       10. About Advertisements and Other Commercial Content Served or
           Enhanced by Facebook

            Our goal is to deliver ads and commercial content that are valuable
            to our users and advertisers. In order to help us do that, you agree to
            the following:
               1. You can use your privacy settings to limit how your name and

                                           6
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument
                               Document 906-13    Filed 09/09/19
                                           298 Filed    04/01/22 Page
                                                                    Page 50 172ofof71193
                profile picture may be associated with commercial, sponsored,
                or related content (such as a brand you like) served or
                enhanced by us. You give us permission to use your name and
                profile picture in connection with that content, subject to the
                limits you place.
             2. We do not give your content or information to advertisers
                without your consent.
             3. You understand that we may not always identify paid services
                and communications as such.


       11. Special Provisions Applicable to Advertisers

            You can target your desired audience by buying ads on Facebook or
            our publisher network. The following additional terms apply to you
            if you place an order through our online advertising portal (Order):
               1. When you place an Order, you will tell us the type of
                   advertising you want to buy, the amount you want to spend,
                   and your bid. If we accept your Order, we will deliver your
                   ads as inventory becomes available. When serving your ad,
                   we do our best to deliver the ads to the audience you specify,
                   although we cannot guarantee in every instance that your ad
                   will reach its intended target.
               2. In instances where we believe doing so will enhance the
                   effectiveness of your advertising campaign, we may broaden
                   the targeting criteria you specify.
               3. You will pay for your Orders in accordance with our Payments
                   Terms. The amount you owe will be calculated based on our
                   tracking mechanisms.
               4. Your ads will comply with our Advertising Guidelines.
               5. We will determine the size, placement, and positioning of your
                   ads.
               6. We do not guarantee the activity that your ads will receive,
                   such as the number of clicks your ads will get.
               7. We cannot control how clicks are generated on your ads. We
                   have systems that attempt to detect and filter certain click
                   activity, but we are not responsible for click fraud,
                   technological issues, or other potentially invalid click activity
                   that may affect the cost of running ads.
               8. You can cancel your Order at any time through our online
                   portal, but it may take up to 24 hours before the ad stops
                   running. You are responsible for paying for all ads that run.
               9. Our license to run your ad will end when we have completed
                   your Order. You understand, however, that if users have
                   interacted with your ad, your ad may remain until the users
                   delete it.
              10. We can use your ads and related content and information for
                   marketing or promotional purposes.
              11. You will not issue any press release or make public statements
                   about your relationship with Facebook without our prior
                   written permission.
              12. We may reject or remove any ad for any reason.
              13. If you are placing ads on someone else's behalf, you must have
                   permission to place those ads, including the following:
                      1. You warrant that you have the legal authority to bind the
                          advertiser to this Statement.
                      2. You agree that if the advertiser you represent violates
                          this Statement, we may hold you responsible for that
                          violation.


                                           7
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument
                             Document906-13    Filed 09/09/19
                                         298 Filed   04/01/22 Page
                                                              Page 51
                                                                   173ofof71193
      12. Special Provisions Applicable to Pages

           If you create or administer a Page on Facebook, you agree to our
           Pages Terms.


       13. Special Provisions Applicable to Software

             1. If you download our software, such as a stand-alone software
                 product or a browser plugin, you agree that from time to time,
                 the software may download upgrades, updates and additional
                 features from us in order to improve, enhance and further
                 develop the software.
             2. You will not modify, create derivative works of, decompile or
                 otherwise attempt to extract source code from us, unless you
                 are expressly permitted to do so under an open source license
                 or we give you express written permission.


       14. Amendments

             1. We can change this Statement if we provide you notice (by
                 posting the change on the Facebook Site Governance Page)
                 and an opportunity to comment. To get notice of any future
                 changes to this Statement, visit our Facebook Site Governance
                 Page and "like" the Page.
             2. For changes to sections 7, 8, 9, and 11 (sections relating to
                 payments, application developers, website operators, and
                 advertisers), we will give you a minimum of three days notice.
                 For all other changes we will give you a minimum of seven
                 days notice. Comments to proposed changes will be made on
                 the Facebook Site Governance Page.
             3. If more than 7,000 users post a substantive comment on a
                 particular proposed change, we will also give you the
                 opportunity to participate in a vote in which you will be
                 provided alternatives. The vote shall be binding on us if more
                 than 30% of all active registered users as of the date of the
                 notice vote.
             4. If we make changes to policies referenced in or incorporated
                 by this Statement, we may provide notice on the Site
                 Governance Page.
             5. We can make changes for legal or administrative reasons, or to
                 correct an inaccurate statement, upon notice without
                 opportunity to comment.
             6. Your continued use of Facebook following changes to our
                 terms constitutes your acceptance of our amended terms.


       15. Termination

           If you violate the letter or spirit of this Statement, or otherwise
           create risk or possible legal exposure for us, we can stop providing
           all or part of Facebook to you. We will notify you by email or at the
           next time you attempt to access your account. You may also delete
           your account or disable your application at any time. In all such
           cases, this Statement shall terminate, but the following provisions
           will still apply: 2.2, 2.4, 3-5, 8.2, 9.1-9.3, 9.9, 9.10, 9.13, 9.15, 9.18,
           10.3, 11.2, 11.5, 11.6, 11.9, 11.12, 11.13, and 15-19.


                                            8
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument 906-13
                          Document      Filed 09/09/19
                                   298 Filed  04/01/22 Page
                                                       Page 52
                                                            174ofof71193
      16. Disputes

            1. You will resolve any claim, cause of action or dispute (claim)
                you have with us arising out of or relating to this Statement or
                Facebook exclusively in a state or federal court located in
                Santa Clara County. The laws of the State of California will
                govern this Statement, as well as any claim that might arise
                between you and us, without regard to conflict of law
                provisions. You agree to submit to the personal jurisdiction of
                the courts located in Santa Clara County, California for the
                purpose of litigating all such claims.
            2. If anyone brings a claim against us related to your actions,
                content or information on Facebook, you will indemnify and
                hold us harmless from and against all damages, losses, and
                expenses of any kind (including reasonable legal fees and
                costs) related to such claim. Although we provide rules for
                user conduct, we do not control or direct users' actions on
                Facebook and are not responsible for the content or
                information users transmit or share on Facebook. We are not
                responsible for any offensive, inappropriate, obscene,
                unlawful or otherwise objectionable content or information
                you may encounter on Facebook. We are not responsible for
                the conduct, whether online or offline, or any user of
                Facebook.
            3. WE TRY TO KEEP FACEBOOK UP, BUG-FREE, AND
                SAFE, BUT YOU USE IT AT YOUR OWN RISK. WE ARE
                PROVIDING FACEBOOK AS IS WITHOUT ANY
                EXPRESS OR IMPLIED WARRANTIES INCLUDING,
                BUT NOT LIMITED TO, IMPLIED WARRANTIES OF
                MERCHANTABILITY, FITNESS FOR A PARTICULAR
                PURPOSE, AND NON-INFRINGEMENT. WE DO NOT
                GUARANTEE THAT FACEBOOK WILL ALWAYS BE
                SAFE, SECURE OR ERROR-FREE OR THAT FACEBOOK
                WILL ALWAYS FUNCTION WITHOUT DISRUPTIONS,
                DELAYS OR IMPERFECTIONS. FACEBOOK IS NOT
                RESPONSIBLE FOR THE ACTIONS, CONTENT,
                INFORMATION, OR DATA OF THIRD PARTIES, AND
                YOU RELEASE US, OUR DIRECTORS, OFFICERS,
                EMPLOYEES, AND AGENTS FROM ANY CLAIMS AND
                DAMAGES, KNOWN AND UNKNOWN, ARISING OUT
                OF OR IN ANY WAY CONNECTED WITH ANY CLAIM
                YOU HAVE AGAINST ANY SUCH THIRD PARTIES. IF
                YOU ARE A CALIFORNIA RESIDENT, YOU WAIVE
                CALIFORNIA CIVIL CODE §1542, WHICH SAYS: A
                GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                WHICH THE CREDITOR DOES NOT KNOW OR
                SUSPECT TO EXIST IN HIS FAVOR AT THE TIME OF
                EXECUTING THE RELEASE, WHICH IF KNOWN BY
                HIM MUST HAVE MATERIALLY AFFECTED HIS
                SETTLEMENT WITH THE DEBTOR. WE WILL NOT BE
                LIABLE TO YOU FOR ANY LOST PROFITS OR OTHER
                CONSEQUENTIAL, SPECIAL, INDIRECT, OR
                INCIDENTAL DAMAGES ARISING OUT OF OR IN
                CONNECTION WITH THIS STATEMENT OR
                FACEBOOK, EVEN IF WE HAVE BEEN ADVISED OF
                THE POSSIBILITY OF SUCH DAMAGES. OUR
                AGGREGATE LIABILITY ARISING OUT OF THIS
                STATEMENT OR FACEBOOK WILL NOT EXCEED THE
                GREATER OF ONE HUNDRED DOLLARS ($100) OR
                THE AMOUNT YOU HAVE PAID US IN THE PAST

                                        9
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument 906-13
                          Document      Filed 09/09/19
                                   298 Filed  04/01/22 Page
                                                       Page 53
                                                            175ofof71193
               TWELVE MONTHS. APPLICABLE LAW MAY NOT
               ALLOW THE LIMITATION OR EXCLUSION OF
               LIABILITY OR INCIDENTAL OR CONSEQUENTIAL
               DAMAGES, SO THE ABOVE LIMITATION OR
               EXCLUSION MAY NOT APPLY TO YOU. IN SUCH
               CASES, FACEBOOK'S LIABILITY WILL BE LIMITED
               TO THE FULLEST EXTENT PERMITTED BY
               APPLICABLE LAW.


      17. Special Provisions Applicable to Users Outside the United States

          We strive to create a global community with consistent standards for
          everyone, but we also strive to respect local laws. The following
          provisions apply to users and non-users who interact with Facebook
          outside the United States:
            1. You consent to having your personal data transferred to and
                processed in the United States.
            2. If you are located in a country embargoed by the United States,
                or are on the U.S. Treasury Department's list of Specially
                Designated Nationals you will not engage in commercial
                activities on Facebook (such as advertising or payments) or
                operate a Platform application or website.
            3. Certain specific terms that apply only for German users are
                available here.

      18. Definitions

             1. By "Facebook" we mean the features and services we make
                available, including through (a) our website at
                www.facebook.com and any other Facebook branded or co-
                branded websites (including sub-domains, international
                 versions, widgets, and mobile versions); (b) our Platform; (c)
                 social plugins such as the Like button, the Share button and
                 other similar offerings and (d) other media, software (such as
                 a toolbar), devices, or networks now existing or later
                 developed.
             2. By "Platform" we mean a set of APIs and services (such as
                 content) that enable others, including application developers
                 and website operators, to retrieve data from Facebook or
                 provide data to us.
             3. By "information" we mean facts and other information about
                 you, including actions taken by users and non-users who
                 interact with Facebook.
             4. By "content" we mean anything you or other users post on
                 Facebook that would not be included in the definition of
                 information.
             5. By "data" or "user data" or "user's data" we mean any data,
                 including a user's content or information that you or third
                 parties can retrieve from Facebook or provide to Facebook
                 through Platform.
             6. By "post" we mean post on Facebook or otherwise make
                 available by using Facebook.
             7. By "use" we mean use, copy, publicly perform or display,
                 distribute, modify, translate, and create derivative works of.
             8. By "active registered user" we mean a user who has logged
                 into Facebook at least once in the previous 30 days.
             9. By "application" we mean any application or website that uses
                 or accesses Platform, as well as anything else that receives or
                 has received data from us. If you no longer access Platform

                                        10
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument
                             Document  906-13    Filed 09/09/19
                                          298 Filed    04/01/22 Page
                                                                   Page 54176ofof71193
               but have not deleted all data from us, the term application will
               apply until you delete the data.


       19. Other

              1. If you are a resident of or have your principal place of business
                  in the US or Canada, this Statement is an agreement between
                  you and Facebook, Inc. Otherwise, this Statement is an
                  agreement between you and Facebook Ireland Limited.
                  References to “us,” “we,” and “our” mean either Facebook,
                  Inc. or Facebook Ireland Limited, as appropriate.
              2. This Statement makes up the entire agreement between the
                  parties regarding Facebook, and supersedes any prior
                  agreements.
              3. If any portion of this Statement is found to be unenforceable,
                  the remaining portion will remain in full force and effect.
              4. If we fail to enforce any of this Statement, it will not be
                  considered a waiver.
              5. Any amendment to or waiver of this Statement must be made
                  in writing and signed by us.
              6. You will not transfer any of your rights or obligations under
                  this Statement to anyone else without our consent.
              7. All of our rights and obligations under this Statement are
                  freely assignable by us in connection with a merger,
                  acquisition, or sale of assets, or by operation of law or
                  otherwise.
              8. Nothing in this Statement shall prevent us from complying
                  with the law.
              9. This Statement does not confer any third party beneficiary
                  rights.
             10. We reserve all rights not expressly granted to you.
             11. You will comply with all applicable laws when using or
                  accessing Facebook.


      You may also want to review the following documents, which provide
      additional information about your use of Facebook:

           Data Use Policy: The Data Use Policy contains information to help
           you understand how we collect and use information.
           Payment Terms: These additional terms apply to all payments made
           on or through Facebook.
           Platform Page: This page helps you better understand what happens
           when you add a third-party application or use Facebook Connect,
           including how they may access and use your data.
           Facebook Platform Policies: These guidelines outline the policies
           that apply to applications, including Connect sites.
           Advertising Guidelines: These guidelines outline the policies that
           apply to advertisements placed on Facebook.
           Promotions Guidelines: These guidelines outline the policies that
           apply if you offer contests, sweepstakes, and other types of
           promotions on Facebook.
           Brand Permissions Center: These guidelines outline the policies that
           apply to use of Facebook trademarks, logos and screenshots.
           How to Report Claims of Intellectual Property Infringement
           Pages Terms: These guidelines apply to your use of Facebook Pages.
           Community Standards: These guidelines outline our expectations
           regarding the content you post to Facebook and your activity on
           Facebook.
                                         11
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument 906-13
                          Document      Filed 09/09/19
                                   298 Filed  04/01/22 Page
                                                       Page 55
                                                            177ofof71193

     To access the Statement of Rights and Responsibilities in several different
     languages, change the language setting for your Facebook session by
     clicking on the language link in the left corner of most pages. If the
     Statement is not available in the language you select, we will default to the
     English version.




                                         12
Case 3:18-md-02843-VC
  Case  3:18-md-02843-VCDocument 906-13
                          Document      Filed 09/09/19
                                   298 Filed  04/01/22 Page
                                                       Page 56
                                                            178ofof71193




                     Appendix B




                                   1
                       Case 3:18-md-02843-VC
                         Case  3:18-md-02843-VCDocument 906-13
                                                 Document      Filed 09/09/19
                                                          298 Filed  04/01/22 Page
                                                                              Page 57
                                                                                   179ofof71193
Data Use Policy

Date of Last Revision: June 8, 2012


Information we receive and how it is used

        Information we receive about you

        Public information

        Usernames and User IDs

        How we use the information we receive

        Deleting and deactivating your account

Sharing and finding you on Facebook

        Control each time you post

        Control over your timeline

        Finding you on Facebook

        Access on phones and other devices

        Activity log

        What your friends share about you

        About Pages

Other websites and applications

        About Facebook Platform

        Controlling what information you share with applications

        Controlling what is shared when the people you share with use applications

        Logging in to another site using Facebook

        About social plugins

        About instant personalization

        Public search engines

How advertising and Sponsored Stories work

        Personalized ads

        Ads + social context

        Sponsored stories

        Facebook content
                                                            2
                Case 3:18-md-02843-VC
                  Case  3:18-md-02843-VCDocument 906-13
                                          Document      Filed 09/09/19
                                                   298 Filed  04/01/22 Page
                                                                       Page 58
                                                                            180ofof71193

Cookies, pixels and other similar technologies
Some other things you need to know

I. Information we receive and how it is used

Information we receive about you

We receive a number of different types of information about you, including:

Your information
Your information is the information that's required when you sign up for the site, as well as the information you choose
to share.

      Registration information: When you sign up for Facebook, you are required to provide your name, email
      address, birthday, and gender.

      Information you choose to share: Your information also includes the information you choose to share on
       Facebook, such as when you post a status update, upload a photo, or comment on a friend's story.

It also includes the information you choose to share when you take an action, such as when you add a friend, like a Page
 or a website, add a place to your story, find friends using our contact importers, or indicate you are in a relationship.

Your name, profile pictures, cover photos, gender, networks, username and User ID are treated just like information
you choose to make public.
Your birthday allows us to do things like show you age-appropriate content and advertisements.

Information others share about you
 We receive information about you from your friends and others, such as when they upload your contact information,
 post a photo of you, tag you in a photo or status update, or at a location, or add you to a group.

When people use Facebook, they may store and share information about you and others that they have, such as when
they upload and manage their invites and contacts.

Other information we receive about you
We also receive other types of information about you:

      We receive data about you whenever you interact with Facebook, such as when you look at another person's
      timeline, send or receive a message, search for a friend or a Page, click on, view or otherwise interact with things,
      use a Facebook mobile app, or purchase Facebook Credits or make other purchases through Facebook.
      When you post things like photos or videos on Facebook, we may receive additional related data (or metadata),
      such as the time, date, and place you took the photo or video.
      We receive data from the computer, mobile phone or other device you use to access Facebook, including when
      multiple users log in from the same device. This may include your IP address and other information about things
      like your internet service, location, the type (including identifiers) of browser you use, or the pages you visit. For
      example, we may get your GPS or other location information so we can tell you if any of your friends are nearby.
      We receive data whenever you visit a game, application, or website that uses Facebook Platform or visit a site
      with a Facebook feature (such as a social plugin), sometimes through cookies. This may include the date and time
      you visit the site; the web address, or URL, you're on; technical information about the IP address, browser and
      the operating system you use; and, if you are logged in to Facebook, your User ID.
      Sometimes we get data from our advertising partners, customers and other third parties that helps us (or them)
      deliver ads, understand online activity, and generally make Facebook better. For example, an advertiser may tell
      us information about you (like how you responded to an ad on Facebook or on another site) in order to measure
      the effectiveness of - and improve the quality of - ads.


                                                            3
                Case   3:18-md-02843-VC
                    Case  3:18-md-02843-VCDocument
                                                Document  906-13   Filed 09/09/19
                                                             298 Filed    04/01/22 PagePage 59181ofof71193
We also put together data from the information we already have about you and your friends. For example, we may put
together data about you to determine which friends we should show you in your News Feed or suggest you tag in the
photos you post. We may put together your current city with GPS and other location information we have about you to,
for example, tell you and your friends about people or events nearby, or offer deals to you that you might be interested
in. We may also put together data about you to serve you ads that might be more relevant to you.

When we get your GPS location, we put it together with other location information we have about you (like your
current city). But we only keep it until it is no longer useful to provide you services, like keeping your last GPS
coordinates to send you relevant notifications.
We only provide data to our advertising partners or customers after we have removed your name or any other
personally identifying information from it, or have combined it with other people's data in a way that it is no longer
associated with you.

Public information

When we use the phrase "public information" (which we sometimes refer to as "Everyone information"), we mean the
information you choose to make public, as well as information that is always publicly available.

Information you choose to make public
 Choosing to make your information public is exactly what it sounds like: anyone, including people off of Facebook,
 will be able to see it.

Choosing to make your information public also means that this information:

      can be associated with you (i.e., your name, profile pictures, cover photos, timeline, User ID, username, etc.) even
       off Facebook;
      can show up when someone does a search on Facebook or on a public search engine;
      will be accessible to the Facebook-integrated games, applications, and websites you and your friends use; and
      will be accessible to anyone who uses our APIs such as our Graph API.

Sometimes you will not be able to select an audience when you post something (like when you write on a Page's wall or
comment on a news article that uses our comments plugin). This is because some types of stories are always public
stories. As a general rule, you should assume that if you do not see a sharing icon, the information will be publicly
available.
When others share information about you, they can also choose to make it public.

Information that is always publicly available
 The types of information listed below are always publicly available, and are treated just like information you decided to
 make public.

      Name: This helps your friends and family find you. If you are uncomfortable sharing your real name, you can
      always delete your account.

      Profile Pictures and Cover Photos: These help your friends and family recognize you. If you are uncomfortable
      making any of these photos public, you can always delete it. Unless you delete them, when you add a new profile
      picture or cover photo, the previous photo will remain public in your profile picture or cover photo album.

      Network: This helps you see whom you will be sharing information with before you choose "Friends and
      Networks" as a custom audience. If you are uncomfortable making your network public, you can leave the
      network.

      Gender: This allows us to refer to you properly.

      Username and User ID: These allow you to give out a custom link to your timeline or Page, receive email at
      your Facebook email address, and help make Facebook Platform possible.
                                                            4
             Case  3:18-md-02843-VC
                Case  3:18-md-02843-VCDocument 906-13
                                        Document      Filed 09/09/19
                                                 298 Filed  04/01/22 Page
                                                                     Page 60
                                                                          182ofof71193
Usernames and User IDs

A Username (or Facebook URL) is a custom link to your timeline that you can give out to people or post on external
websites. Usernames appear in the URL on your timeline. We also use your User ID to identify your Facebook account.

If someone has your Username or User ID, they can use it to access information about you through the facebook.com
 website. For example, if someone has your Username, they can type facebook.com/Username into their browser and
 see your public information as well as anything else you've let them see. Similarly, someone with your Username or
 User ID can access information about you through our APIs, such as our Graph API. Specifically, they can access your
 public information, along with your age range, language and country.

If you do not want your information to be accessible to Platform applications, you can turn off all Platform applications
 from your Privacy Settings. If you turn off Platform you will no longer be able to use any games or other applications
 until you turn Platform back on. For more information about the information that apps receive when you visit them, see
 Other websites and applications.

If you want to see information available about you through our Graph API, just type
https://graph.facebook.com/[User ID or Username]?metadata=1 into your browser.
Your Facebook email address includes your public username like so: username@facebook.com. You can control who
can start a message thread with you using your “How You Connect” settings. If they include others on that message, the
others can reply too.

How we use the information we receive

We use the information we receive about you in connection with the services and features we provide to you and other
users like your friends, our partners, the advertisers that purchase ads on the site, and the developers that build the
games, applications, and websites you use. For example, we may use the information we receive about you:

      as part of our efforts to keep Facebook products, services and integrations safe and secure;
      to protect Facebook's or others' rights or property;
      to provide you with location features and services, like telling you and your friends when something is going on
       nearby;
      to measure or understand the effectiveness of ads you and others see, including to deliver relevant ads to you;
      to make suggestions to you and other users on Facebook, such as: suggesting that your friend use our contact
       importer because you found friends using it, suggesting that another user add you as a friend because the user
       imported the same email address as you did, or suggesting that your friend tag you in a picture they have
       uploaded with you in it; and
      for internal operations, including troubleshooting, data analysis, testing, research and service improvement.

Granting us this permission not only allows us to provide Facebook as it exists today, but it also allows us to provide
you with innovative features and services we develop in the future that use the information we receive about you in new
ways.

While you are allowing us to use the information we receive about you, you always own all of your information. Your
trust is important to us, which is why we don't share information we receive about you with others unless we have:

      received your permission;
      given you notice, such as by telling you about it in this policy; or
      removed your name or any other personally identifying information from it.

Of course, for information others share about you, they control how it is shared.

We store data for as long as it is necessary to provide products and services to you and others, including those described
above. Typically, information associated with your account will be kept until your account is deleted. For certain
categories of data, we may also tell you about specific data retention practices.
                                                            5
                Case 3:18-md-02843-VC
                  Case  3:18-md-02843-VCDocument 906-13
                                          Document      Filed 09/09/19
                                                   298 Filed  04/01/22 Page
                                                                       Page 61
                                                                            183ofof71193

We are able to suggest that your friend tag you in a picture by scanning and comparing your friend's pictures to
information we've put together from the other photos you've been tagged in. This allows us to make these suggestions.
You can control whether we suggest that another user tag you in a photo using the “How Tags work” settings. Learn
more at: https://www.facebook.com/help/tag-suggestions

Deleting and deactivating your account

If you want to stop using your account, you can either deactivate or delete it.

Deactivate
Deactivating your account puts your account on hold. Other users will no longer see your timeline, but we do not delete
any of your information. Deactivating an account is the same as you telling us not to delete any information because
you might want to reactivate your account at some point in the future. You can deactivate your account at:
https://www.facebook.com/editaccount.php
Your friends will still see you listed in their list of friends while your account is deactivated.

Deletion
When you delete an account, it is permanently deleted from Facebook. It typically takes about one month to delete an
account, but some information may remain in backup copies and logs for up to 90 days. You should only delete your
account if you are sure you never want to reactivate it. You can delete your account at:
https://www.facebook.com/help/contact.php?show_form=delete_account
Learn more at: https://www.facebook.com/help/?faq=356107851084108

Certain information is needed to provide you with services, so we only delete this information after you delete your
account. Some of the things you do on Facebook aren’t stored in your account, like posting to a group or sending
someone a message (where your friend may still have a message you sent, even after you delete your account). That
information remains after you delete your account.

II. Sharing and finding you on Facebook

Control each time you post

Whenever you post content (like a status update, photo or check-in), you can select a specific audience, or even
customize your audience. To do this, simply click on the sharing icon and choose who can see it.

Choose this icon if you want to make something Public. Choosing to make something public is exactly what it sounds
like. It means that anyone, including people off of Facebook, will be able to see or access it.
Choose this icon if you want to share with your Facebook Friends.
Choose this icon if you want to Customize your audience. You can also use this to hide your story from specific
people.

If you tag someone, that person and their friends can see your story no matter what audience you selected. The same is
 true when you approve a tag someone else adds to your story.

Always think before you post. Just like anything else you post on the web or send in an email, information you share on
Facebook can be copied or re-shared by anyone who can see it.

Although you choose with whom you share, there may be ways for others to determine information about you. For
example, if you hide your birthday so no one can see it on your timeline, but friends post “happy birthday!” on your
timeline, people may determine your birthday.
When you comment on or "like" someone else's story, or write on their timeline, that person gets to select the audience.
For example, if a friend posts a Public story and you comment on it, your comment will be Public. Often, you can see
the audience someone selected for their story before you post a comment; however, the person who posted the story
may later change their audience.
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                    Case  3:18-md-02843-VCDocument
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                                                              298 Filed    04/01/22 Page
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You can control who can see the Facebook Pages you've "liked" by visiting your timeline, clicking on the Likes box on
your timeline, and then clicking "Edit."
Sometimes you will not see a sharing icon when you post something (like when you write on a Page's wall or comment
on a news article that uses our comments plugin). This is because some types of stories are always public stories. As a
general rule, you should assume that if you do not see a sharing icon, the information will be publicly available.

Control over your timeline

Whenever you add things to your timeline you can select a specific audience, or even customize your audience. To do
this, simply click on the sharing icon and choose who can see it.

Choose this icon if you want to make something Public. Choosing to make something public is exactly what it sounds
like. It means that anyone, including people off of Facebook, will be able to see or access it.
Choose this icon if you want to share with your Facebook Friends.
Choose this icon if you want to Customize your audience. You can also use this to hide the item on your timeline from
specific people.

When you select an audience for your friend list, you are only controlling who can see the entire list of your friends on
your timeline. We call this a timeline visibility control. This is because your friend list is always available to the games,
applications and websites you use, and your friendships may be visible elsewhere (such as on your friends' timelines or
in searches). For example, if you select "Only Me" as the audience for your friend list, but your friend sets her friend
list to "Public," anyone will be able to see your connection on your friend's timeline.

Similarly, if you choose to hide your gender, it only hides it on your timeline. This is because we, just like the
applications you and your friends use, need to use your gender to refer to you properly on the site.

When someone tags you in a story (such as a photo, status update or check-in), you can choose whether you want that
story to appear on your timeline. You can either approve each story individually or approve all stories by your friends.
If you approve a story and later change your mind, you can remove it from your timeline.

People on Facebook may be able to see mutual friends, even if they cannot see your entire list of friends.
Some things (like your name, profile pictures and cover photos) do not have sharing icons because they are always
publicly available. As a general rule, you should assume that if you do not see a sharing icon, the information will be
publicly available.

Finding you on Facebook

To make it easier for your friends to find you, we allow anyone with your contact information (such as email address or
telephone number) to find you through the Facebook search bar at the top of most pages, as well as other tools we
provide, such as contact importers - even if you have not shared your contact information with them on Facebook.

You can choose who can look up your timeline using the email address or telephone number you added to your timeline
through your privacy settings. But remember, if you choose Friends, only your current Facebook friends will be able to
find you this way.

Your “How You Connect” settings do not control whether people can find you or a link to your timeline when they
search for content they have permission to see, like a photo or other story you’ve been tagged in.

Access on phones and other devices

Once you share information with your friends and others, they may be able to sync it with or access it via their mobile
phones and other devices. For example, if you share a photo on Facebook, someone viewing that photo could save it
using Facebook tools or by other methods offered by their device or browser. Similarly, if you share your contact
information with someone or invite someone to an event, they may be able to use Facebook or third party applications
or devices to sync that information. Or, if one of your friends has a Facebook application on one of their devices, your
                                                             7
               Case
                  Case3:18-md-02843-VC
                          3:18-md-02843-VCDocument
                                                 Document906-13    Filed 09/09/19
                                                             298 Filed   04/01/22 Page
                                                                                     Page 63
                                                                                           185ofof71193
information (such as the things you post or photos you share) may be stored on or accessed by their device.

You should only share information with people you trust because they will be able to save it or re-share it with others,
including when they sync the information to a device.

Activity log

Your activity log is a place where you can go to view most of your information on Facebook, including things you’ve
hidden from your timeline. You can use this log to manage your content. For example, you can do things like delete
stories, change the audience of your stories or stop an application from publishing to your timeline on your behalf.

When you hide something from your timeline, you are not deleting it. This means that the story may be visible
elsewhere, like in your friends’ News Feed. If you want to delete a story you posted, choose the delete option.

What your friends share about you

Links and Tags
Anyone can add a link to a story. Links are references to something on the Internet; anything from a website to a Page
or timeline on Facebook. For example, if you are writing a story, you might include a link to a blog you are referencing
or a link to the blogger’s Facebook timeline. If someone clicks on a link to another person’s timeline, they’ll only see
the things that they are allowed to see.

A tag is a special type of link to someone’s timeline that suggests that the tagged person add your story to their timeline.
In cases where the tagged person isn’t included in the audience of the story, it will add them so they can see it. Anyone
can tag you in anything. Once you are tagged, you and your friends will be able to see it (such as in News Feed or in
search).

You can choose whether a story you've been tagged in appears on your timeline. You can either approve each story
individually or approve all stories by your friends. If you approve a story and later change your mind, you can always
remove it from your timeline.

If you do not want someone to tag you, we encourage you to reach out to them and give them that feedback. If that does
 not work, you can block them. This will prevent them from tagging you going forward.

If you are tagged in a private space (such as a message or a group) only the people who can see the private space can
see the tag. Similarly, it you are tagged in a comment, only the people who can see the comment can see the tag.

Groups
Once you are in a Group, anyone in that Group can add you to a subgroup. When someone adds you to a Group, you
will be listed as “invited” until you visit the Group. You can always leave a Group, which will prevent others from
adding you to it again.

About Pages

Facebook Pages are public pages. Companies use Pages to share information about their products. Celebrities use Pages
to talk about their latest projects. And communities use pages to discuss topics of interest, everything from baseball to
the opera.

Because Pages are public, information you share with a Page is public information. This means, for example, that if you
post a comment on a Page, that comment may be used by the Page owner off Facebook, and anyone can see it.

When you "like" a Page, you create a connection to that Page. The connection is added to your timeline and your friends
may see it in their News Feeds. You may be contacted by or receive updates from the Page, such as in your News Feed
and your messages. You can remove the Pages you've "liked" through your timeline or on the Page.


                                                             8
                Case  3:18-md-02843-VC
                   Case   3:18-md-02843-VCDocumentDocument906-13    Filed 09/09/19
                                                              298 Filed    04/01/22 Page
                                                                                       Page 64
                                                                                            186ofof71193
Some Pages contain content that comes directly from the Page owner. Page owners can do this through online plugins,
such as an iframe, and it works just like the games and other applications you use through Facebook. Because this
content comes directly from the Page owner, that Page may be able to collect information about you, just like any
website.

Page administrators may have access to insights data, which will tell them generally about the people that visit their
Page (as opposed to information about specific people). They may also know when you’ve made a connection to their
Page because you’ve liked their Page or posted a comment.

III. Other websites and applications

About Facebook Platform

Facebook Platform (or simply Platform) refers to the way we help you share your information with the games,
applications, and websites you and your friends use. Facebook Platform also lets you bring your friends with you, so
you can connect with them off of Facebook. In these two ways, Facebook Platform helps you make your experiences
on the web more personalized and social.

Remember that these games, applications and websites are created and maintained by other businesses and developers
who are not part of Facebook, so you should always make sure to read their terms of service and privacy policies.

Controlling what information you share with applications

When you connect with a game, application or website - such as by going to a game, logging in to a website using your
Facebook account, or adding an app to your timeline - we give the game, application, or website (sometimes referred to
as just "Applications" or "Apps") your basic info, which includes your User ID, as well your friends' User IDs (or your
friend list) and your public information.

Your friend list helps the application make your experience more social because it lets you find your friends on that
application. Your User ID helps the application personalize your experience because it can connect your account on
that application with your Facebook account, and it can access your basic info, which includes your public information
and friend list. This includes the information you choose to make public, as well as information that is always publicly
available. If the application needs additional information, such as your stories, photos or likes, it will have to ask you
for specific permission.

The “Apps you use” setting lets you control the applications you use. You can see the permissions you have given these
applications, the last time an application accessed your information, and the audience on Facebook for your timeline
stories and activity the application posts on your behalf. You can also remove applications you no longer want, or turn
off all Platform applications. When you turn all Platform applications off, your User ID is no longer given to
applications, even when your friends use those applications. But you will no longer be able to use any games,
applications or websites through Facebook.

 When you first visit an app, Facebook lets the app know your language, your country, and whether you are under 18,
 between 18-20, or 21 and over. Age range lets apps provide you with age-appropriate content. If you install the app, it
 can access, store and update the information you’ve shared. Apps you’ve installed can update their records of your
 basic info, age range, language and country. If you haven’t used an app in a while, it won’t be able to continue to
 update the additional information you’ve given them permission to access. Learn more at:
 https://www.facebook.com/help/how-apps-work
 Sometimes a game console, mobile phone, or other device might ask for permission to share specific information with
 the games and applications you use on that device. If you say okay, those applications will not be able to access any
 other information about you without asking specific permission from you or your friends.
 Sites and apps that use Instant Personalization receive your User ID and friend list when you visit them.
 You always can remove apps you’ve installed by using your app settings at: https://www.facebook.com/settings/?
tab=applications. But remember, apps may still be able to access your information when the people you share with use
 them. And, if you’ve removed an application and want them to delete the information you’ve already shared with them,
                                                            9
                Case
                  Case3:18-md-02843-VC
                         3:18-md-02843-VCDocument
                                                Document  906-13      Filed 09/09/19
                                                              298 Filed     04/01/22 Page
                                                                                        Page 65
                                                                                              187ofof71193
you should contact the application and ask them to delete it. Visit the application’s page on Facebook or their own
website to learn more about the app.

Controlling what is shared when the people you share with use applications

Just like when you share information by email or elsewhere on the web, information you share on Facebook can be re-
shared. This means that if you share something on Facebook, anyone who can see it can share it with others, including
 the games, applications, and websites they use.

Your friends and the other people you share information with often want to share your information with applications to
make their experiences on those applications more personalized and social. For example, one of your friends might
want to use a music application that allows them to see what their friends are listening to. To get the full benefit of that
application, your friend would want to give the application her friend list – which includes your User ID – so the
application knows which of her friends is also using it. Your friend might also want to share the music you “like” on
Facebook. If you have made that information public, then the application can access it just like anyone else. But if
you’ve shared your likes with just your friends, the application could ask your friend for permission to share them.

You can control most of the information other people can share with applications they use from the “Ads, Apps and
Websites” settings page. But these controls do not let you limit access to your public information and friend list.

If you want to completely block applications from getting your information when your friends and others use them, you
 will need to turn off all Platform applications. This means that you will no longer be able to use any third-party
 Facebook-integrated games, applications or websites.

If an application asks permission from someone else to access your information, the application will be allowed to use
that information only in connection with the person that gave the permission and no one else.

Logging in to another site using Facebook

Facebook Platform lets you log into other applications and websites using your Facebook account. When you log in
using Facebook, we give the site your User ID (just like when you connect with any other application), but we do not
share your email address or password with that website through this process.

If you already have an account on that website, the site may also be able to connect that account with your Facebook
 account. Sometimes it does this using what is called an "email hash", which is similar to searching for someone on
 Facebook using an email address. Only the email addresses in this case are hashed so no email addresses are actually
 shared between Facebook and the website.

How it works
The website sends over a hashed version of your email address, and we match it with a database of email addresses that
we have also hashed. If there is a match, then we tell the website the User ID associated with the email address. This
way, when you log into the website using Facebook, the website can link your Facebook account to your account on
that website.

About social plugins

Social plugins are buttons, boxes, and stories (such as the Like button) that other websites can use to present Facebook
content to you and create more social and personal experiences for you. While you view these buttons, boxes, and
stories on other sites, the content comes directly from Facebook.

Sometimes plugins act just like applications. You can spot one of these plugins because it will ask you for permission to
access your information or to publish information back to Facebook. For example, if you use a registration plugin on a
website, the plugin will ask your permission to share your basic info with the website to make it easier for you to
register for the website. Similarly, if you use an Add To Timeline plugin, the plugin will ask your permission to publish
stories about your activities on that website to Facebook.
                                                            10
                Case  3:18-md-02843-VC
                   Case   3:18-md-02843-VCDocument
                                                Document 906-13    Filed 09/09/19
                                                            298 Filed    04/01/22 Page
                                                                                    Page 66
                                                                                         188ofof71193
If you make something public using a plugin, such as posting a public comment on a newspaper's website, then that
 website can access your comment (along with your User ID) just like everyone else.

If you post something using a social plugin and you do not see a sharing icon, you should assume that story is Public.
For example, if you post a comment through a Facebook comment plugin on a site, your story is Public and everyone,
including the website, can see your story.
Websites that use social plugins can sometimes tell that you have engaged with the social plugin. For example, they
may know that you clicked on a Like button in a social plugin.
We receive data when you visit a site with a social plugin. We keep this data for a maximum of 90 days. After that, we
remove your name or any other personally identifying information from the data, or combine it with other people's data
in a way that it is no longer associated with you. Learn more at: https://www.facebook.com/help/social-plugins

About instant personalization

Instant personalization is a way for Facebook to help partners (such as Bing and Rotten Tomatoes) on and off Facebook
 create a more personalized and social experience for logged in users than a social plugin can offer. When you visit a
 site or app using instant personalization, it will know some information about you and your friends the moment you
 arrive. This is because sites and apps using instant personalization can access your User ID, your friend list, and your
 public information.

The first time you visit a site or app using instant personalization, you will see a notification letting you know that the
site or app has partnered with Facebook to provide a personalized experience.

The notification will give you the ability to disable or turn off instant personalization for that site or app. If you do that,
that site or app is required to delete all of the information about you it received from Facebook as part of the instant
personalization program. In addition, we will prevent that site from accessing your information in the future, even when
your friends use that site.

If you decide that you do not want to experience instant personalization for all partner sites and apps, you can disable
 instant personalization from the “Ads, Apps and Websites” settings page.

If you turn off instant personalization, partner third party sites and apps will not be able to access your public
 information, even when your friends visit those sites.

If you turn off an instant personalization site or app after you have been using it or visited it a few times (or after you
have given it specific permission to access your data), it will not automatically delete your data received through
Facebook. But the site is contractually required to delete your data if you ask it to.

How it works
To join the instant personalization program, a potential partner must enter into an agreement with us designed to protect
your privacy. For example, this agreement requires that the partner delete your data if you turn off instant
personalization when you first visit the site or app. It also prevents the partner from accessing any information about
you until you or your friends visit its site.

Instant personalization partners sometimes use an email hash process to see if any of their users are on Facebook and get
 those users' User IDs. This process is similar to searching for someone on Facebook using an email address, except in
 this case the email addresses are hashed so no actual email addresses are exchanged. The partner is also contractually
 required not to use your User ID for any purpose (other than associating it with your account) until you or your friends
 visit the site.

When you visit a site or app using instant personalization, we provide the site or app with your User ID and your friend
list (as well as your age range, locale, and gender). The site or app can then connect your account with that partner with
your friends' accounts to make the site or app instantly social. The site can also access public information associated
with any of the User IDs it receives, which it can use to make them instantly personalized. For example, if the site is a

                                                             11
                  Case
                     Case3:18-md-02843-VC
                            3:18-md-02843-VCDocument
                                                   Document 906-13     Filed 09/09/19
                                                                298 Filed    04/01/22 Page
                                                                                         Page 67189ofof71193
music site, it can access your music interests to suggest songs you may like, and access your friends' music interests to
let you know what they are listening to. Of course it can only access your or your friends’ music interests if they are
public. If the site or app wants any additional information, it will have to get your specific permission.

Public search engines

Your public search setting controls whether people who enter your name on a public search engine may see your public
timeline (including in sponsored results). You can find your public search setting on the “Ads, Apps and Websites”
settings page.

This setting does not apply to search engines that access your information as an application using Facebook Platform.
If you turn your public search setting off and then search for yourself on a public search engine, you may still see a
preview of your timeline. This is because some search engines cache information for a period of time. You can learn
more about how to request a search engine to remove you from cached information at:
https://www.facebook.com/help/?faq=13323

IV. How advertising and Sponsored Stories work

Personalized ads

We do not share any of your information with advertisers (unless, of course, you give us permission). As described in
this policy, we may share your information when we have removed from it anything that personally identifies you or
combined it with other information so that it no longer personally identifies you.

We use the information we receive to deliver ads and to make them more relevant to you. This includes all of the things
you share and do on Facebook, such as the Pages you like or key words from your stories, and the things we infer from
your use of Facebook. Learn more at: https://www.facebook.com/help/?page=226611954016283

When an advertiser creates an ad, they are given the opportunity to choose their audience by location, demographics,
likes, keywords, and any other information we receive or can tell about you and other users. For example, an advertiser
can choose to target 18 to 35 year-old women who live in the United States and like basketball. An advertiser could
also choose to target certain topics or keywords, like “music” or even people who like a particular song or artist.

Try this tool yourself to see one of the ways advertisers target ads and what information they see at:
https://www.facebook.com/ads/create/

If the advertiser chooses to run the ad (also known as placing the order), we serve the ad to people who meet the criteria
 the advertiser selected, but we do not tell the advertiser who any of those people are. So, for example, if a person views
 or otherwise interacts with the ad, the advertiser might infer that the person is an 18-to-35-year-old woman who lives in
 the U.S. and likes basketball. But we would not tell the advertiser who that person is.

After the ad runs, we provide advertisers with reports on how their ads performed. For example we give advertisers
reports telling them how many users saw or clicked on their ads. But these reports are anonymous. We do not tell
advertisers who saw or clicked on their ads.

Advertisers sometimes place cookies on your computer in order to make their ads more effective. Learn more about
cookies, pixels and other system technologies.
Sometimes we allow advertisers to target a category of user, like a "moviegoer" or a "sci-fi fan." We do this by
bundling characteristics that we believe are related to the category. For example, if a person "likes" the "Star Trek"
Page and mentions "Star Wars" when they check into a movie theater, we may conclude that this person is likely to be a
sci-fi fan. Advertisers of sci-fi movies, for example, could ask us to target “sci-fi fans” and we would target that group,
which may include you. Or if you “like” Pages that are car-related and mention a particular car brand in a post, we
might put you in the “potential car buyer” category and let a car brand target to that group, which would include you.

Ads + social context
                                                           12
               Case
                  Case3:18-md-02843-VC
                         3:18-md-02843-VCDocumentDocument906-13     Filed 09/09/19
                                                             298 Filed     04/01/22 Page
                                                                                       Page 68190ofof71193
Facebook Ads are sometimes paired with social actions your friends have taken. For example, an ad for a sushi
restaurant may be paired with a news story that one of your friends likes that restaurant's Facebook page.

This is the same type of news story that could show up in your News Feed, only we place it next to a paid advertisement
to make that ad more relevant and interesting.

When you show up in one of these news stories, we will only pair it with ads shown to your friends. If you do not want
to appear in stories paired with Facebook Ads, you can opt out using your “Edit social ads” setting.

Learn what happens when you click "Like" on an advertisement or an advertiser's Facebook Page at:
https://www.facebook.com/help/?faq=19399
We may serve ads, including those with social context (or serve just social context), on other sites. These work just like
the ads we serve on Facebook - the advertisers do not receive any of your information. Only people that could see the
Facebook action (like on your timeline) would see it paired in this way.
Your “Show my social actions in Facebook Ads” setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.
Games, applications and websites can serve ads directly to you or help us serve ads to you or others if they have
information like your User ID or email address.

Sponsored stories

Many of the things you do on Facebook (like "liking" a Page) are posted to your timeline and shared in News Feed. But
there's a lot to read in News Feed. That's why we allow people to "sponsor" your stories to make sure your friends see
them. For example, if you RSVP to an event hosted by a local restaurant, that restaurant may want to make sure your
friends see it so they can come too.

If they do sponsor a story, that story will appear in the same place ads usually do or in your News Feed under the
 heading "Sponsored" or something similar. Only people that could originally see the story can see the sponsored story,
 and no personal information about you (or your friends) is shared with the sponsor.

Your “Show my social actions in Facebook Ads” setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.

Facebook content

We like to tell you about some of the features and tools your friends and others use on Facebook, to help you have a
better experience. For example, if your friend uses our friend finder tool to find more friends on Facebook, we may tell
you about it to encourage you to use it as well. This of course means your friend may similarly see suggestions based
on the things you do. But we will try to only show it to friends that could benefit from your experience.

Your “Show my social actions in Facebook Ads” setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.

V. Cookies, pixels and other similar technologies

Cookies are small pieces of data that are stored on your computer, mobile phone or other device. Pixels are small blocks
of code on webpages that do things like allow another server to measure viewing of a webpage and often are used in
connection with cookies.

We use technologies like cookies, pixels, and local storage (like on your browser or device, which is similar to a cookie
but holds more information) to provide and understand a range of products and services. Learn more at:
https://www.facebook.com/help/cookies

We use these technologies to do things like:

                                                           13
                 Case  3:18-md-02843-VC
                    Case   3:18-md-02843-VCDocument
                                                 Document 906-13   Filed 09/09/19
                                                             298 Filed   04/01/22 PagePage 69
                                                                                            191ofof71193
      make Facebook easier or faster to use;
      enable features and store information about you (including on your device or in your browser cache) and your use
       of Facebook;
      deliver, understand and improve advertising;
      monitor and understand the use of our products and services; and
      to protect you, others and Facebook.

For example, we may use them to know you are logged in to Facebook, to help you use social plugins and share buttons,
or to know when you are interacting with our advertising or Platform partners.

We may ask advertisers or other partners to serve ads or services to computers, mobile phones or other devices, which
may use a cookie, pixel or other similar technology placed by Facebook or the third party (although we would not share
any other information that identifies you with an advertiser).

Most companies on the web use cookies (or other similar technological tools), including our advertising and Platform
partners. For example, our Platform partners, advertisers or Page administrators may use cookies or similar
technologies when you access their apps, ads, Pages or other content.

Cookies and things like local storage help make Facebook work, like allowing pages to load faster because certain
content is stored on your browser or by helping us authenticate you to deliver personalized content.
To learn more about how advertisers generally use cookies and the choices advertisers provide, visit the Network
Advertising Initiative at http://www.networkadvertising.org/managing/opt_out.asp, the Digital Advertising Alliance at
http://www.aboutads.info/, the Internet Advertising Bureau (US) at http://www.iab.net or the Internet Advertising
Bureau (EU) at http://youronlinechoices.eu/.
You can remove or block cookies or other similar technologies or block or remove other data stored on your computer
or device (such as by using the various settings in your browser), but it may affect your ability to use Facebook or other
websites and apps.

VI. Some other things you need to know

Safe harbor
Facebook complies with the EU Safe Harbor framework as set forth by the Department of Commerce regarding the
collection, use, and retention of data from the European Union. To view our certification, visit the U.S. Department of
Commerce's Safe Harbor website at: https://safeharbor.export.gov/list.aspx. As part of our participation in the Safe
Harbor program, we agree to resolve disputes you have with us in connection with our policies and practices through
TRUSTe. If you would like to contact TRUSTe, visit:https://feedback-form.truste.com/watchdog/request

Contact us with questions or disputes
If you have questions or complaints regarding our Data Use Policy or practices, please contact us by mail at 1601
Willow Road, Menlo Park, CA 94025 if you reside in the U.S. or Canada, or at Facebook Ireland Ltd., Hanover Reach,
5-7 Hanover Quay, Dublin 2 Ireland if you live outside the U.S. or Canada. Anyone may also contact us through this
help page: https://www.facebook.com/help/contact_us.php?id=173545232710000

Responding to legal requests and preventing harm
We may access, preserve and share your information in response to a legal request (like a search warrant, court order or
subpoena) if we have a good faith belief that the law requires us to do so. This may include responding to legal requests
from jurisdictions outside of the United States where we have a good faith belief that the response is required by law in
that jurisdiction, affects users in that jurisdiction, and is consistent with internationally recognized standards. We may
also access, preserve and share information when we have a good faith belief it is necessary to: detect, prevent and
address fraud and other illegal activity; to protect ourselves, you and others, including as part of investigations; and to
prevent death or imminent bodily harm. Information we receive about you, including financial transaction data related
to purchases made with Facebook Credits, may be accessed, processed and retained for an extended period of time
when it is the subject of a legal request or obligation, governmental investigation, or investigations concerning possible
violations of our terms or policies, or otherwise to prevent harm.

                                                           14
                 Case  3:18-md-02843-VC
                    Case  3:18-md-02843-VCDocument
                                                Document 906-13   Filed 09/09/19
                                                            298 Filed   04/01/22 Page
                                                                                    Page 70 192ofof71193
Access requests
You can access and correct most of your personal data stored by Facebook by logging into your account and viewing
your timeline and activity log. You can also download a copy of your personal data by visiting your “Account
Settings”, clicking on “Download a copy of your Facebook data” and then clicking on the link for your expanded
archive. Learn more at: https://www.facebook.com/help/?faq=226281544049399

Notifications and Other Messages
We may send you notifications and other messages using the contact information we have for you, like your email
address. You can control most of the notifications you receive, including ones from Pages you like and applications you
use, using your “Notifications” settings.

Friend finder
We offer tools to help you upload your friends' contact information so that you and others can find friends on
Facebook, and invite friends who do not use Facebook to join. If you do not want us to store this information, visit this
help page at: https://www.facebook.com/contact_importer/remove_uploads.php

If you give us your password, we will delete it after you upload your friends' contact information.

Invitations
 When you invite a friend to join Facebook, we send a message on your behalf using your name, and up to two
 reminders. We may also include names and pictures of other people your friend might know on Facebook. The
 invitation will also give your friend the opportunity to opt out of receiving other invitations to join Facebook.

Memorializing accounts
We may memorialize the account of a deceased person. When we memorialize an account, we keep the timeline on
Facebook, but limit access and some features. You can report a deceased person's timeline at:
https://www.facebook.com/help/contact.php?show_form=deceased

We also may close an account if we receive a formal request that satisfies certain criteria.

Service Providers
We give your information to the people and companies that help us provide, understand and improve the services we
offer. For example, we may use outside vendors to help host our website, serve photos and videos, process payments,
analyze data, measure the effectiveness of ads, or provide search results. In some cases we provide the service jointly
with another company, such as the Facebook Marketplace. In all of these cases our partners must agree to only use your
information consistent with the agreement we enter into with them, as well as this Data Use Policy.

Security and bugs
We do our best to keep your information secure, but we need your help. For more detailed information about staying
safe on Facebook, visit the Facebook Security Page. We try to keep Facebook up, bug-free and safe, but can’t make
guarantees about any part of our services or products.

Change of Control
If the ownership of our business changes, we may transfer your information to the new owner so they can continue to
operate the service. But they will still have to honor the commitments we have made in this Data Use Policy.

Notice of Changes
If we make changes to this Data Use Policy we will notify you by publication here and on the Facebook Site
Governance Page. If the changes are material, we will provide you additional, prominent notice as appropriate under
the circumstances. You can make sure that you receive notice directly by liking the Facebook Site Governance Page.

Opportunity to comment and vote
Unless we make a change for legal or administrative reasons, or to correct an inaccurate statement, we will give you
seven (7) days to provide us with comments on the change. If we receive more than 7000 comments concerning a
particular change, we will put the change up for a vote. The vote will be binding on us if more than 30% of all active
                                                            15
                CaseCase3:18-md-02843-VC
                           3:18-md-02843-VCDocument       906-13
                                                    Document     Filed 09/09/19
                                                             298 Filed 04/01/22 Page
                                                                                Page 71
                                                                                     193ofof71193
registered users as of the date of the notice vote.

Information for users outside of the United States and Canada
 Company Information: The website under www.facebook.com and the services on these pages are being offered to
 users outside of the U.S. and Canada by Facebook Ireland Ltd., Hanover Reach, 5-7 Hanover Quay, Dublin 2 Ireland.
 The company Facebook Ireland Ltd. has been established and registered in Ireland as a private limited company,
 Company Number: 462932, and is the data controller responsible for your personal information.
 Directors: Cipora Herman (American), Theodore Ullyot (American).

Your California privacy rights
 California law permits residents of California to request certain details about what personal information a company
 shares with third parties for the third parties' direct marketing purposes. Facebook does not share your information with
 third parties for the third parties’ own and independent direct marketing purposes unless we receive your permission.
 Learn more about the information we receive and how it is used and other websites and applications. If you have
 questions about our sharing practices or your rights under California law, please write us at 1601 Willow Road, Menlo
 Park, CA 94025 or contact us through this help page: https://www.facebook.com/help/contact_us.php?
id=173545232710000




                                                           16
